       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 1 of 109




                IN THE UNITED STATES COURT OF FEDERAL CLAIMS

Teja Ravi, Individually and on Behalf of        :
All Others Similarly Situated                   :
                                                :             No. 20-1237C
       Plaintiff,                               :             Judge Firestone
                                                :
v.                                              :
                                                :
The United States of America                    :
                                                :
       Defendant.                               :



                           Plaintiff’s Supplemental Brief

                      Standing to Sue under 28 U.S.C. § 2502



       Mr. Ravi has standing to sue in the Court of Federal Claims as a citizen of

India. Under the Reciprocity Act, 28 U.S.C. § 2502, “[c]itizens or subjects of any

foreign government which accords to citizens of the United States the right to

prosecute claims against their government in its courts may sue the United States

in the United States Court of Federal Claims if the subject matter of the suit is

otherwise within such court’s jurisdiction.” Ultimately, Section 2502 grants foreign

plaintiffs the right to sue the United States in its courts if a reciprocal right is

afforded to an American citizens in the plaintiff's country. In this matter a

reciprocal right to sue the government for a breach of contract claim is afforded to

Americans in India, and thus, Mr. Ravi has standing to sue in the Court of Federal

claims as a citizen of India.



                                            1
        Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 2 of 109




       In India, the jurisdiction of suits filed by foreigner and foreign state is

governed by section 83 and 84 of the code of civil procedure. Alien friends may sue

in any Court of competent jurisdiction as if they were citizens of India. Alien friends

are foreigners whose government is not at war with India. Here the U.S. is not at

war at India, so it is considered a foreign friend. Under Section 83 and 84 of the

Indian Code of Civil Procedure, alien friends may sue in any Court of competent

jurisdiction as if they were citizens of India. Thus, reciprocity applies and Ravi has

standing the sue in Court of Federal Claims as a citizen of India.

       The government may sue or be sued by virtue of Article 300 of the Indian

Constitution. The government, in the name of the "Union of India" or "State", may

be sued inter alia in the following cases:

                   •   A breach of a contractual obligation by the government.
                   •   The executive action has been arbitrary, mala fide,
                       unreasonable, etc.
                   •   The governmental action has been prejudicial to "public
                       interest": financial losses to the exchequer, self-serving
                       actions, partiality, etc.
                   •   Fundamental rights have been infringed1

       According the caselaw in this Court, it appears that this Court will be

“open to foreign claimants on the basis of reciprocity given only the slightest

evidence upon which such a finding can be sustained.” See Nippon Hodo Co. v.

United States, Nippon Hodo Company v. United States, 285 F.2d 766 (Ct. Cl.


    1 India’s Section 9 of the Civil Procedure Code, 1908 confers jurisdiction over the civil courts
to adjudicate upon all suits of civil nature, except such suits the cognizance of which is either
expressly or implied barred. In other words whenever the object of the proceedings is the
enforcement of civil rights, a civil court would have jurisdiction to entertain the suit unless the
cognizance of the same is barred through a legislative instrument.


                                                  2
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 3 of 109




1961). In that case, the court further states that “[Section 2502] contemplates

only that Americans enjoy equal standing with foreigners in actions against the

foreign government and does not require that the scope of the actions for which

the respective countries render themselves liable shall be co-extensively

identical . . .” The court in that case decided that an American need only be able

to sue on some type of claim.

      Exhibit A is a letter from an expert in Indian Law outlining why Ravi has

standing to sue in the United States. Ultimately, as the Indian government can be

sued by both citizens and non-citizens for a breach of contract claim, and the

evidence presented demonstrates as such, the Court should find that it is open to

foreign complaints from Indian under 28 U.S.C. § 2502. Subject matter jurisdiction

is satisfied, because non-citizens can sue in India for a breach of contract matter

under Article 300 of the Indian Constitution.

      In Humphries vs. United States, the Court found that in order to meet the

burden of § 2502, the plaintiff could submit: (1) any statutes or caselaw on the

subject; (2) an affidavit . . . from an experienced Kenyan attorney or relevant

government official (i.e. the Kenyan equivalent to the United States Department of

Justice); or similarly probative evidence.” Humphries v. United States, 44 Fed. Cl.

81, 82 (1999). In this case, Plaintiff submits an affidavit from an experienced Indian

attorney and multiple statutes and caselaw on the subject. Thus, this Court should

find that Mr. Ravi has met his burden under the Reciprocity Act, 28 U.S.C. § 2502.



                                           3
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 4 of 109




                            Respectfully submitted,

                            By: /s/Amy E. Norris, Esq., (#1017140)
                            Amy@mwlc.org
                            202-830-1225
                            NORRIS LAW, PLLC
                            616 E Street N.W.
                            Suite 1156
                            Washington, DC 20004

                            Attorney for Teja Ravi




                               4
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 5 of 109
        Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 6 of 109




                                                                             Dated- May 21, 2021

To,

United States Court of Federal Claims
Howard T. Markey National Courts Building
717 Madison Place, NW
Washington, DC 20439



Subject: A letter explaining the Indian law on the question whether American citizens may

          bring claims against the government of India in the Indian court system




Hon ble Judge,


I, Anurag Bhaskar, am an Assistant Professor at Jindal Global Law School, O.P. Jindal Global

University, Sonipat — a leading law school in India.


Ms. Anna Nathanson, counsel appearing for one of the petitioners, in the class action suit, Teja

Ravi v. United States of America (filed on September 21, 2020), has apprised me with the facts of

the case. She has also informed me about your order regarding briefing about the law in India on

the question whether American citizens may bring claims against the government of India in the

Indian court system and enjoy standing to pursue those claims equal to that of Indian citizens.


I understand that the issue is governed by the Reciprocity Act, 28 U.S.C. § 2502, which provides

that [c]itizens or subjects of any foreign government which accords to citizens of the United States

the right to prosecute claims against their government in its courts may sue the United States in

the United States Court of Federal Claims if the subject matter of the suit is otherwise within such


                                                 1
        Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 7 of 109




court s jurisdiction. I have written this letter to explain the law and practice in India on the said

issue of locus standi of American citizens on the Indian soil.


I present this letter in my current role as an academic, teaching courses on Indian constitutional

law, interpretation of statutes, and professional ethics. I would also like to inform the honourable

court about my previous qualifications. Before starting my career as an academic, I pursued my

LL.M. (2018-19) from Harvard Law School, USA, and my undergraduate degree, B.A. LL.B.

(Hons.) from Dr. Ram Manohar Lohiya National Law University, India. Prior to my LLM, I

clerked for a year (2017-18) with Dr. Justice D.Y. Chandrachud, Judge, Supreme Court of India.

I am also affiliated with the Harvard Law School Center on the Legal Profession, USA, and have

been a recipient of Indian Equality Law Fellowship at Melbourne Law School, Australia. Recently,

for my scholarship on the Indian Constitution, I was conferred with the Bluestone Rising Scholar

Award 2021, established at the Brandeis University, Massachusetts, USA.


I submit that an American citizen has a right to sue the Indian government in its courts under the

existing constitutional as well as statutory scheme in India. In support of this position of law and

practice, I have referred to the text of the Indian Constitution, few statutes, and case laws.


The cases cited in this letter are delivered either by the Supreme Court of India or the High Courts.

The decision given by the Supreme Court of India on all matters is binding on all other courts,

including the High Courts. The decision of a High Court on all matters is binding on the courts

below, in its jurisdiction, and can also be relied upon by other High Courts. However, only the

Supreme Court of India and different High Courts are the constitutional courts under the

Constitution, i.e. a case related to constitutional issue can be adjudicated only by them.




                                                  2
         Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 8 of 109




                                          A. Constitutional Scheme


    1. The Indian Constitution guarantees certain fundamental rights to every person, including

        those who are not Indian citizens. Specifically, Article 21 provides No person shall be

        deprived of his life or personal liberty except according to procedure established by law .

        The Article uses the term person , instead of Indian citizen . The constitutional courts

        in India have read Article 21 in a broader manner, and have consistently held that it applies

        equally for protection of all foreign nationals.1 Similarly, Articles 142, 203, 224, and 235

        provide constitutional protection to all foreign nationals.


    2. Once lawfully entered the territory of India, the foreign nationals have certain immediate

        rights for enjoyment of ordinary private life.6 Even those who come to India merely as

        tourists or in any other official capacity are entitled to the protection of their lives under

        Article 21. In Chairman, Railway Board v. Mrs. Chandrima Das7, it was held: Just as the

        State is under an obligation to protect the life of every citizen in this country, so also the

        State is under an obligation to protect the life of the persons who are not citizens. This has


1
  Anwar v. State of Jammu & Kashmir, AIR 1971 SC 337; Louis De Raedt v.Union of India, (1991) 3 SCC 554;
The Chairman, Railway Board v. Mrs. Chandrima Das, AIR 2000 SC 988; See, Marie Andre Lecrec v. Delhi
(State Administration), (1984) 2 SCC 433.
2 Article 14 reads: Equality before law.—The State shall not deny to any person equality before the law or the

equal protection of the laws within the territory of India
3 Article 20(1) reads: No person shall be convicted of any offence except for violation of a law in force at the

time of the commission of the Act charged as an offence, nor be subjected to a penalty greater than that which
might have been inflicted under the law in force at the time of the commission of the offence.
4 Article 22(1) reads: No person who is arrested shall be detained in custody without being informed, as soon

as may be, of the grounds for such arrest nor shall he be denied the right to consult, and to be defended by, a
legal practitioner of his choice.
5 Article 23(1) reads: Traffic in human beings and begar and other similar forms of forced labour are prohibited

and any contravention of this provision shall be an offence punishable in accordance with law.
6 Sarbananda Sonowal v. Union of India, (2005) 5 SCC 665; Isaac Isanga Musumba v. State of Maharashtra,

(2014) 15 SCC 357.
7 AIR 2000 SC 988


                                                       3
         Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 9 of 109




        been reiterated in a recent judgment: The fundamental rights enshrined in the Constitution

        of India govern not only the Indian citizens but foreigners as well, as long as they are on

        Indian soil .8


    3. An American citizen, among all foreign nationals, may sue the Indian government, any

        state government, or any local authority, before the Supreme Court of India (under Article

        329) or any High Court (under Article 22610) on the ground that his/her/their right to life or

        personal liberty was violated by the State. Article 32 or Article 226 do not lay down any

        eligibility criteria based on citizenship of the seeker of the constitutional remedy. An

        American citizen can also challenge a law restricting the right to life under Article 21, on

        the ground that the procedure established by law is not fair, just, or reasonable .11


    4. If any of the employees of the central or state government commits a violation of

        fundamental rights (including Article 21), the              government, of which they are the

        employees, can be held vicariously liable in damages to the person wronged by those

        employees.12 In such cases, it has been held that the claim is based on the principle of strict



8
  Kamil Siedczynski v. Union of India, (2020) 3 CALLT 235 (HC).
9
  Article 32 reads: (1) The right to move the Supreme Court by appropriate proceedings for the enforcement of
the rights conferred by this Part is guaranteed.
          (2) The Supreme Court shall have power to issue directions or orders or writs, including writs in the
nature of habeas corpus, mandamus, prohibition, quo warranto and certiorari, whichever may be appropriate, for
the enforcement of any of the rights conferred by this Part.
10 Article 226(1) reads: Notwithstanding anything in article 32, every High Court shall have power, throughout

the territories in relation to which it exercises jurisdiction, to issue to any person or authority, including in
appropriate cases, any Government, within those territories directions, orders or [writs, including writs in the
nature of habeas corpus, mandamus, prohibition, quo warranto and certiorari, or any of them, for the enforcement
of any of the rights conferred by Part III and for any other purpose.]
11 Maneka Gandhi v. Union of India, AIR 1978 SC 597

12 Nilabati Behera v. State of Orissa, AIR 1993 SC 1960; N. Nagendra Rao v. State of Andhra Pradesh, AIR

1994 SC 2663; Achutrao Haribhau Khodwa v. State of Maharashtra, (1996) 2 SCC 634; D.K . Basu v. State of
West Bengal, AIR 1997 SC 610; Puli Raju v. Government of Andhra Pradesh, 2019 (2) ALD 657.

                                                       4
         Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 10 of 109




        liability to which defence of sovereign immunity is not available and the affected person

        must receive an amount of compensation from the State.13 This remedy of vicarious

        liability against the State is also available to foreign nationals.14


     5. For violation of the right to life under Article 21, the Supreme Court of India has granted

        compensation to Indian citizens15, and equally to foreign nationals.16 In Nilabati Behera v.

        State of Orissa17, the Court held: The right to compensation is some palliative for the

        unlawful acts of instrumentalities which act in the name of public interest and which

        present for their protection the powers of the state as shield .


     6. A foreign national also has a locus standi to file a public interest litigation case before the

        Supreme Court or High Courts.18


     7. Not even a presidential order declaring emergency under the Constitution can bar any

        person, including a foreign national, from moving to the Supreme Court or High Court for

        enforcement of his/her/their fundamental right under Articles 20 and 21.19 This has been

        reiterated in Justice K.S. Puttaswamy v. Union of India.20




13
   Nilabati Behera v. State of Orissa, AIR 1993 SC 1960.
14
   The Chairman, Railway Board v. Mrs. Chandrima Das, AIR 2000 SC 988.
15 S. Nambi Narayanan v. Siby Mathews, (2018) 10 SCC 804.

16 The Chairman, Railway Board v. Mrs. Chandrima Das, AIR 2000 SC 988
17 AIR 1993 SC 1960.
18 Francis Coralie Mullin v. The Administrator, Union Territory of Delhi, (1981) 1 SCC 608
19 Article 359(1) of the Indian Constitution reads: Where a Proclamation of Emergency is in operation, the

President may by order declare that the right to move any court for the enforcement of such of [the rights
conferred by Part III (except articles 20 and 21)] as may be mentioned in the order and all proceedings pending
in any court for the enforcement of the rights so mentioned shall remain suspended for the period during which
the Proclamation is in force or for such shorter period as may be specified in the order
20 (2017) 10 SCC 1


                                                      5
          Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 11 of 109




      8. It has been held that the conferment of certain fundamental rights and basic liberties on an

          individual, staying on Indian soil on a student visa, cannot be taken away by an

          unreasonable executive order.21 These liberties cover the right to life and personal liberty,

          along with all associated rights, including the right to have political views and participate

          in political activities.


      9. In Kamil Siedczynski v. Union of India22, a foreign student (Polish national) staying in India

          on a student visa till August 31, 2020, was issued a Leave India Notice dated February

          14, 2020. The notice was issued by Foreigners Regional Passport Office, Kolkata, acting

          on behalf of the Union government, on the ground that the foreign student participated in

          demonstrations criticizing a government decision. The Calcutta High Court struck down

          the notice and upheld the rights of the foreign student, by clearly holding that: Even

          foreign nationals, as long as they have the right to stay in India, by virtue of a visa issued

          to them (in the present case, which was also renewed), cannot be turned out of India only

          by an administrative order, without any rhyme or reason and without a prior hearing being

          given to the foreigner.


      10. For violation of other constitutional rights or legal rights by unreasonable or excessive

          administrative action, an American citizen (and all other foreign citizens) may directly

          approach the High Court having a particular territorial jurisdiction, under Article 226 of

          the Indian Constitution. The existence of a legal right is the foundation for a petition under




21
     Kamil Siedczynski v. Union of India, (2020) 3 CALLT 235 (HC).
22
     Ibid

                                                     6
        Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 12 of 109




        Article 226 and even a bare interest may give locus standi to a person to file a writ

        petition.23


     11. The judgment of Punjab & Haryana High Court, in Saeid Reza Moein v. Punjabi

        University, Patiala24, recognized the right of a foreign student to invoke the extraordinary

        writ jurisdiction under Article 226 of the Indian Constitution, for protection of his/her

        rights. In this case, an Iranian citizen, who finished his studies in an Indian University,

        approached the High Court, as the said University was not issuing marksheet and certificate

        to him. The Court allowed the writ and ordered the University to supply the requisite

        documents to the foreign student.


     12. In another case, V. Ravi Chandran v. Union of India25, the Supreme Court of India

        entertained a writ petition filed by an American citizen for the custody of his minor child

        (also an American citizen), who was unauthorizedly brought to India by his divorced wife.

        The Court dismissed the objection raised regarding the maintainability of habeas corpus

        petition under Article 32 of the Indian Constitution, on the ground that it was required

        under the facts of the case. The Court ruled in favour of the husband.




                                     B. Code of Civil Procedure


     1. Section 9 of the Civil Procedure Code (CPC), 1908 confers jurisdiction over the civil courts

        to adjudicate upon all suits of civil nature, except such suits the cognizance of which is



23 ERBIS Engineering Company Ltd. v. State of West Bengal, (2011) 2 C ALLT 450 (HC).
24
   AIR 1993 P&H 162.
25 (2010) 1 SCC 174.


                                                  7
         Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 13 of 109




        either expressly or implied barred.26 In other words, whenever the object and facts of the

        proceedings are of civil nature, a civil court would have jurisdiction to entertain the suit,

        unless the cognizance of the said suit is barred by a specific statute governing that particular

        jurisdiction.


     2. Section 79 of CPC provides that in a civil suit filed by or against the Government, the

        authority to be named as plaintiff or defendant shall be either Union of India (in the case

        of a suit by or against the Central Government) or the State (in the case of a suit by or

        against a State Government).27 This provision is similar to Article 300 of the Indian

        Constitution which provides that the Government of India may sue or be sued by the name

        of the Union of India and the Government of a State may sue or be sued by the name of the

        State.28


     3. Section 83 of CPC provides the right to an alien (foreign national) to sue anyone in India.29

        By virtue of the provision, alien friends may sue in any Court otherwise competent to try



26
   Section of CPC provides: Courts to try all civil suits unless barred.—The Courts shall (subject to the
provisions herein contained) have jurisdiction to try all suits of a civil nature excepting suits of which their
cognizance is either expressly or impliedly barred. [Explanation I].—A suit in which the right to property or to
an office is contested is a suit of a civil nature, notwithstanding that such right may depend entirely on the
decision of questions as to religious rites or ceremonies. [Explanation I].—For the purposes of this section, it is
immaterial whether or not any fees are attached to the office referred to in Explanation I or whether or not such
office is attached to a particular place.]
27 The text of Section 79 of CPC reads: In a suit by or against the Government, the authority to be named as

plaintiff or defendant, as the case may be, shall be— (a) in the case of a suit by or against the Central Government,
[the Union of India], and (b) in the case of a suit by or against a State Government, the State.]
28 Article 300(1) of the Constitution provides: The Government of India may sue or be sued by the name of the

Union of India and the Government of a State may sue or be sued by the name of the State...
29 Section 83 of CPC provides: When aliens may sue.—Alien enemies residing in India with the permission of

the Central Government, and alien friends, may sue in any Court otherwise competent to try the suit, as if they
were citizens of India, but alien enemies residing in India without such permission, or residing in a foreign
country, shall not sue in any such Court. Explanation. —Every person residing in a foreign country, the
Government of which is at war with India and carrying on business in that country without a licence in that

                                                         8
        Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 14 of 109




        the suit, as if they were citizens of India. Alien friends are foreigners whose government is

        not at war with India. Alien enemies residing in India with the permission of the Central

        Government may also sue in any court of competent jurisdiction. This position of law has

        been applied in several case laws.30 Foreign nationals have brought civil suits before a civil

        court in India for matters related to property31 and for the return of the money that they had

        paid in respect of a contract that has become void.32


    4. By a combined reading of Sections 9, 79, and 83, a foreign national, whose government is

        not at war with India, can sue the Indian government in a civil suit, as if he/she/they were

        an Indian citizen.




         C. Other Rights under criminal law, consumer protection law, accidents claims


    1. Under Section 482 of Criminal Procedure Code (CrPC), anyone can approach a High Court

        for quashing an FIR (First Information Report) on the ground that the person was falsely

        accused or arrested.33 In Konan Kodio Ganstone v. State of Maharashtra34, the Bombay

        High Court quashed the FIRs filed by the police against a total of 29 foreign nationals who



behalf granted by the Central Government, shall, for the purpose of this section, be deemed to be an alien enemy
residing in a foreign country.
30 Ibrahim v. Gulam Mohammad, AIR 1995 Raj 117; Nizamuddin v. Huseni, AIR 1960 MP 212; Abdul Hussain

v. Amir Uddin, 1998 (4) GLT 121; Feroza Begam v. Dewan Daulat Rai Kapoor, AIR 1975 Delhi 1; AK
Mukherjee v. Pradip Ranjan Sarbadhikary, (1987) 2 CHN 365.
31 Abdul Hussain v. Amir Uddin, 1998 (4) GLT 121; Feroza Begam v. Dewan Daulat Rai Kapoor, AIR 1975

Delhi 1; AK Mukherjee v. Pradip Ranjan Sarbadhikary, (1987) 2 CHN 365.
32 Messers Mannaseh Film Co. Ltd. v. Gemini Pictures Circuit, AIR 1944 Mad 239.
33 Section 482 of CrPC provides: Nothing in this Code shall be deemed to limit or affect the inherent powers of

the High Court to make such orders as may be necessary to give effect to any order under this Code, or to prevent
abuse of the process of any Court or otherwise to secure the ends of justice.
34 2020 (3) Bom CR (Cri) 185


                                                       9
           Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 15 of 109




           were booked under various provisions of Indian Penal Code, Epidemic Diseases Act, etc.

           for allegedly violating their Tourist Visa conditions by attending a religious congregation

           in contravention of COVID19 restrictions. The Court held that there was no prima facie

           case being made against the foreign nationals.


      2. A foreign national may also approach a consumer court (either the National Consumer

           Disputes Resolution Commission or the National Consumer Disputes Resolution

           Commission) under the consumer protection law.35 In the Consumer Protection Act, 2019,

           the definition of consumer (Section 2(7)) is broad enough to cover even a foreign

           national, and consumer rights (Section 2(9)) include the right to be protected against

           the marketing of goods, products or services which are hazardous to life and property and

            the right to seek redressal against… unscrupulous exploitation of consumers .


      3. The dependents of a foreign national, who died in a motor vehicle accident in India, can

           bring a suit for compensation under Motor Vehicles Act, 1988. In the case of United India

           Insurance Co. Ltd. v. Patricia Jean Mahajan36, the Motor Accident Claims Tribunal and

           later the Supreme Court (in appeal) dealt with a claim for compensation filed by dependents

           of an American national, who lost his life in a car accident in India.


      4. Ordinarily, where a breach of contract is complained of, the party complaining of such

           breach may sue for specific performance of the contract, if contract is capable of being

           specifically performed. Otherwise, the party may sue for damages under Section 73 of the

           Indian Contract Act, 1872.



35
     C.D. Fatel v. Canara Bank, 1997 (2) C.P.C. 706
36
     AIR 2002 SC 2607

                                                      10
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 16 of 109




In the light of the above discussion, I submit that the requirement under Reciprocity Act, 28 U.S.C.

§ 2502 is fulfilled. I hope the content of this letter is helpful to the honourable court on deciding

the locus standi of Mr. Teja Ravi.


I shall be available for any further assistance to the honourable court.




Yours sincerely,




(Anurag Bhaskar)

Email: abhaskar@llm19.law.harvard.edu
Address: Block C-211(SF),
Jindal Global City, Sector 35,
Sonipat (India)- 131001




                                                 11
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 17 of 109
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 18 of 109




    THE CONSTITUTION OF INDIA
                    [As on 9th December, 2020]




                              2020



                GOVERNMENT OF INDIA
         MINISTRY OF LAW AND JUSTICE
            LEGISLATIVE DEPARTMENT
    Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 19 of 109



     (2) All other resources of the exclusive economic zone of India shall also vest in the Union and be held
for the purposes of the Union.
    (3) The limits of the territorial waters, the continental shelf, the exclusive economic zone, and other
maritime zones, of India shall be such as may be specified, from time to time, by or under any law made by
Parliament.]
    1
     [298. Power to carry on trade, etc. The executive power of the Union and of each State shall extend
to the carrying on of any trade or business and to the acquisition, holding and disposal of property and the
making of contracts for any purpose:
    Provided that
        (a) the said executive power of the Union shall, in so far as such trade or business or such purpose is
    not one with respect to which Parliament may make laws, be subject in each State to legislation by the
    State; and
        (b) the said executive power of each State shall, in so far as such trade or business or such purpose is
    not one with respect to which the State Legislature may make laws, be subject to legislation by
    Parliament.]
    299. Contracts. (1) All contracts made in the exercise of the executive power of the Union or of a
State shall be expressed to be made by the President, or by the Governor2*** of the State, as the case may
be, and all such contracts and all assurances of property made in the exercise of that power shall be executed
on behalf of the President or the Governor1*** by such persons and in such manner as he may direct or
authorise.
    (2) Neither the President nor the Governor3*** shall be personally liable in respect of any contract or
assurance made or executed for the purposes of this Constitution, or for the purposes of any enactment
relating to the Government of India heretofore in force, nor shall any person making or executing any such
contract or assurance on behalf of any of them be personally liable in respect thereof.
    300. Suits and proceedings. (1) The Government of India may sue or be sued by the name of the
Union of India and the Government of a State may sue or be sued by the name of the State and may, subject
to any provisions which may be made by Act of Parliament or of the Legislature of such State enacted by
virtue of powers conferred by this Constitution, sue or be sued in relation to their respective affairs in the
like cases as the Dominion of India and the corresponding Provinces or the corresponding Indian States
might have sued or been sued if this Constitution had not been enacted.
    (2) If at the commencement of this Constitution
        (a) any legal proceedings are pending to which the Dominion of India is a party, the Union of India
    shall be deemed to be substituted for the Dominion in those proceedings; and
        (b) any legal proceedings are pending to which a Province or an Indian State is a party, the
    corresponding State shall be deemed to be substituted for the Province or the Indian State in those
    proceedings.
                                        4
                                         [CHAPTER IV.       RIGHT TO PROPERTY

    300A. Persons not to be deprived of property save by authority of law. No person shall be
deprived of his property save by authority of law.]


1. Subs. by the Constitution (Seventh Amendment) Act, 1956, s. 20 (w.e.f. 1-11-1956).
2. The ords or the Rajpram kh omitted b the Constitution (Seventh Amendment) Act, 1956, s. 29 and Sch., (w.e.f. 1-11-1956).
3. The ords nor the Rajpram kh omitted b ibid.
4. Ins. by the Constitution (Forty-fourth Amendment) Act, 1978, s. 34 (w.e.f. 20-6-1979).




                                                            126
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 20 of 109
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 21 of 109




    THE CONSTITUTION OF INDIA
                    [As on 9th December, 2020]




                              2020



                GOVERNMENT OF INDIA
         MINISTRY OF LAW AND JUSTICE
            LEGISLATIVE DEPARTMENT
    Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 22 of 109



    (4) Nothing in sub-clause (c) of the said clause shall affect the operation of any existing law in so far as
it imposes, or prevent the State from making any law imposing, in the interests of the sovereignty and
integrity of India or public order or morality, reasonable restrictions on the exercise of the right conferred by
the said sub-clause.
     (5) Nothing in 1[sub-clauses (d) and (e)] of the said clause shall affect the operation of any existing law
in so far as it imposes, or prevent the State from making any law imposing, reasonable restrictions on the
exercise of any of the rights conferred by the said sub-clauses either in the interests of the general public or
for the protection of the interests of any Scheduled Tribe.
     (6) Nothing in sub-clause (g) of the said clause shall affect the operation of any existing law in so far as
it imposes, or prevent the State from making any law imposing, in the interests of the general public,
reasonable restrictions on the exercise of the right conferred by the said sub-clause, and, in particular,
2
  [nothing in the said sub-clause shall affect the operation of any existing law in so far as it relates to, or
prevent the State from making any law relating to,
        (i) the professional or technical qualifications necessary for practising any profession or carrying on
    any occupation, trade or business, or
        (ii) the carrying on by the State, or by a corporation owned or controlled by the State, of any trade,
    business, industry or service, whether to the exclusion, complete or partial, of citizens or otherwise].
    20. Protection in respect of conviction for offences. (1) No person shall be convicted of any offence
except for violation of a law in force at the time of the commission of the Act charged as an offence, nor be
subjected to a penalty greater than that which might have been inflicted under the law in force at the time of
the commission of the offence.
    (2) No person shall be prosecuted and punished for the same offence more than once.
    (3) No person accused of any offence shall be compelled to be a witness against himself.
    21. Protection of life and personal liberty. No person shall be deprived of his life or personal liberty
except according to procedure established by law.
    3
     [21A. Right to education. The State shall provide free and compulsory education to all children of
the age of six to fourteen years in such manner as the State may, by law, determine.]
    22. Protection against arrest and detention in certain cases. (1) No person who is arrested shall be
detained in custody without being informed, as soon as may be, of the grounds for such arrest nor shall he be
denied the right to consult, and to be defended by, a legal practitioner of his choice.
    (2) Every person who is arrested and detained in custody shall be produced before the nearest magistrate
within a period of twenty-four hours of such arrest excluding the time necessary for the journey from the
place of arrest to the court of the magistrate and no such person shall be detained in custody beyond the said
period without the authority of a magistrate.
    (3) Nothing in clauses (1) and (2) shall apply
         (a) to any person who for the time being is an enemy alien; or
         (b) to any person who is arrested or detained under any law providing for preventive detention.
     (4) No law providing for preventive detention shall authorise the detention of a person for a longer
period than three months unless

1. Subs. by the Constitution (Forty-fourth Amendment) Act, 1978, s. 2 for s b-clauses (d), (e) and (f) (w.e.f. 20-6-1979).
2. Subs. by the Constitution (First Amendment) Act, 1951, s. 3, for certain words (w.e.f. 18-6-1951).
3. Ins. by the Constitution (Eighty-sixth Amendment) Act, 2002, s. 2 (w.e.f. 1-4-2010).
  On the commencement of s. 3 of the Constitution (Forty-fourth Amendment) Act, 1978, clause (4)of art. 22 shall stand amended as
  directed in s. 3 of that Act. For the text of that Act, see Appendix II. (date of enforcement yet to be notified).



                                                               28
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 23 of 109
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 24 of 109




    THE CONSTITUTION OF INDIA
                    [As on 9th December, 2020]




                              2020



                GOVERNMENT OF INDIA
         MINISTRY OF LAW AND JUSTICE
            LEGISLATIVE DEPARTMENT
    Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 25 of 109



             (i) any jagir, inam or muafi or other similar grant and in the States of 1[Tamil Nadu] and Kerala,
         any janmam right;

              (ii) any land held under ryotwari settlement;

             (iii) any land held or let for purposes of agriculture or for purposes ancillary thereto, including
         waste land, forest land, land for pasture or sites of buildings and other structures occupied by
         cultivators of land, agricultural labourers and village artisans;]

        (b) the e pression rights , in relation to an estate, shall incl de an rights esting in a proprietor,
    sub-proprietor, under-proprietor, tenure-holder, 2 [raiyat, under-raiyat] or other intermediary and any
    rights or privileges in respect of land revenue.]
    3
     [31B. Validation of certain Acts and Regulations. Without prejudice to the generality of the
provisions contained in article 31A, none of the Acts and Regulations specified in the Ninth Schedule nor
any of the provisions thereof shall be deemed to be void, or ever to have become void, on the ground that
such Act, Regulation or provision is inconsistent with, or takes away or abridges any of the rights conferred
by, any provisions of this Part, and notwithstanding any judgment, decree or order of any court or Tribunal
to the contrary, each of the said Acts and Regulations shall, subject to the power of any competent
Legislature to repeal or amend it, continue in force.]
    4
      [31C. Saving of laws giving effect to certain directive principles. Notwithstanding anything
contained in article 13, no law giving effect to the policy of the State towards securing 5[all or any of the
principles laid down in Part IV] shall be deemed to be void on the ground that it is inconsistent with, or takes
away or abridges any of the rights conferred by 6 [article 14 or article 19]; 7 [and no law containing a
declaration that it is for giving effect to such policy shall be called in question in any court on the ground
that it does not give effect to such policy]:

    Provided that where such law is made by the Legislature of a State, the provisions of this article shall not
apply thereto unless such law, having been reserved for the consideration of the President, has received his
assent.]
    8
   31D. [Saving of laws in respect of anti-national activities.]. Omitted by the Constitution (Forty-third
Amendment) Act, 1977, s. 2 (w.e.f. 13-4-1978).

                                            Right to Constitutional Remedies

   32. Remedies for enforcement of rights conferred by this Part. (1) The right to move the Supreme
Court by appropriate proceedings for the enforcement of the rights conferred by this Part is guaranteed.

    (2) The Supreme Court shall have power to issue directions or orders or writs, including writs in the
nature of habeas corpus, mandamus, prohibition, quo warranto and certiorari, whichever may be
appropriate, for the enforcement of any of the rights conferred by this Part.

    (3) Without prejudice to the powers conferred on the Supreme Court by clauses (1) and (2), Parliament


1. Subs. by the Madras State (Alteration of Name) Act, 1968 (53 of 1968), s. 4, for Madras (w.e.f. 14-1-1969).
2. Ins. by the Constitution (Fourth Amendment) Act, 1955, s. 3 (with retrospective effect).
3. Ins. by the Constitution (First Amendment) Act, 1951, s. 5 (w.e.f. 18-6-1951).
4. Ins. by the Constitution (Twenty-fifth Amendment) Act, 1971, s. 3. (w.e.f. 20-4-1972).
5. Subs. by the Constitution (Forty-second Amendment) Act, 1976, s. 4, for the principles specified in cla se (b) or clause (c) of
  article 39 ( .e.f. 3-1-1977). Section 4 has been declared invalid by the Supreme Court in Minerva Mills Ltd. and others Vs.
  Union of India and others (1980) s. 2, AIR 1980 SC 1789.
6. Subs. by the Constitution (Forty-fo rth Amendment) Act, 1978, s. 8 for article 14, article 19 or article 31 ( .e.f. 20-6-1979).
7. In Kesavananda Bharati Vs. the State of Kerala (1973). AIR 1973 SC 1461, the Supreme Court had held the provisions in italics
  to be invalid.
8. Ins. by the Constitution (Forty-second Amendment) Act, 1976, s. 5 (w.e.f. 3-1-1977).




                                                               32
    Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 26 of 109



may by law empower any other court to exercise within the local limits of its jurisdiction all or any of the
powers exercisable by the Supreme Court under clause (2).

   (4) The right guaranteed by this article shall not be suspended except as otherwise provided for by this
Constitution.
    1
    [32A.Constitutional validity of State laws not to be considered in proceedings under article 32.].
Omitted by the Constitution (Forty-third Amendment) Act, 1977, s. 3 (w.e.f. 13-4-1978).
    2
     [33. Power of Parliament to modify the rights conferred by this Part in their application to Forces,
etc. Parliament may, by law, determine to what extent any of the rights conferred by this Part shall, in their
application to,

         (a) the members of the Armed Forces; or

         (b) the members of the Forces charged with the maintenance of public order; or

        (c) persons employed in any bureau or other organisation established by the State for purposes of
    intelligence or counter intelligence; or

        (d) person employed in, or in connection with, the telecommunication systems set up for the
    purposes of any Force, bureau or organisation referred to in clauses (a) to (c),

be restricted or abrogated so as to ensure the proper discharge of their duties and the maintenance of
discipline among them.]

    34. Restriction on rights conferred by this Part while martial law is in force in any area.
Notwithstanding anything in the foregoing provisions of this Part, Parliament may by law indemnify any
person in the service of the Union or of a State or any other person in respect of any act done by him in
connection with the maintenance or restoration of order in any area within the territory of India where
martial law was in force or validate any sentence passed, punishment inflicted, forfeiture ordered or other act
done under martial law in such area.

   35. Legislation to give effect to the provisions of this Part.                        Notwithstanding anything in this
Constitution,

         (a) Parliament shall have, and the Legislature of a State shall not have, power to make laws

              (i) with respect to any of the matters which under clause (3) of article 16, clause (3) of article 32,
                  article 33 and article 34 may be provided for by law made by Parliament; and

              (ii) for prescribing punishment for those acts which are declared to be offences under this Part,

and Parliament shall, as soon as may be after the commencement of this Constitution, make laws for
prescribing punishment for the acts referred to in sub-clause (ii);

         (b) any law in force immediately before the commencement of this Constitution in the territory of
    India with respect to any of the matters referred to in sub-clause (i) of clause (a) or providing for
    punishment for any act referred to in sub-clause (ii) of that clause shall, subject to the terms thereof and
    to any adaptations and modifications that may be made therein under article 372, continue in force until
    altered or repealed or amended by Parliament.

    Explanation.       In this article, the expression law in force has the same meaning as in article 372.

1.Ins. by the Constitution (Forty-second Amendment) Act, 1976, s. 6 (w.e.f. 1-2-1977).
2.Subs. by the Constitution (Fiftieth Amendment) Act, 1984, s. 2 (w.e.f. 11-9-1984).



                                                                33
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 27 of 109
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 28 of 109




    THE CONSTITUTION OF INDIA
                    [As on 9th December, 2020]




                              2020



                GOVERNMENT OF INDIA
         MINISTRY OF LAW AND JUSTICE
            LEGISLATIVE DEPARTMENT
    Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 29 of 109



this Chapter,1[the National Judicial Appointments Commission on a reference made to it by the Chief Justice
of a High Court for any State, may with the previous consent of the President], request any person who has
held the office of a Judge of that Court or of any other High Court to sit and act as a Judge of the High Court
for that State, and every such person so requested shall, while so sitting and acting, be entitled to such
allowances as the President may by order determine and have all the jurisdiction, powers and privileges of,
but shall not otherwise be deemed to be, a Judge of that High Court:

    Provided that nothing in this article shall be deemed to require any such person as aforesaid to sit and act
as a Judge of that High Court unless he consents so to do.]

    225. Jurisdiction of existing High Courts. Subject to the provisions of this Constitution and to the
provisions of any law of the appropriate Legislature made by virtue of powers conferred on that Legislature
by this Constitution, the jurisdiction of, and the law administered in, any existing High Court, and the
respective powers of the Judges thereof in relation to the administration of justice in the Court, including any
power to make rules of Court and to regulate the sittings of the Court and of members thereof sitting alone or
in Division Courts, shall be the same as immediately before the commencement of this Constitution:
    2
     [Provided that any restriction to which the exercise of original jurisdiction by any of the High Courts
with respect to any matter concerning the revenue or concerning any act ordered or done in the collection
thereof was subject immediately before the commencement of this Constitution shall no longer apply to the
exercise of such jurisdiction.]
    3
     [226. Power of High Courts to issue certain writs. (1) Notwithstanding anything in article 324***,
every High Court shall have power, throughout the territories in relation to which it exercises jurisdiction, to
issue to any person or authority, including in appropriate cases, any Government, within those territories
directions, orders or 5[writs, including writs in the nature of habeas corpus, mandamus, prohibition, quo
warranto and certiorari, or any of them, for the enforcement of any of the rights conferred by Part III and for
any other purpose.]
    (2) The power conferred by clause (1) to issue directions, orders or writs to any Government, authority
or person may also be exercised by any High Court exercising jurisdiction in relation to the territories within
which the cause of action, wholly or in part, arises for the exercise of such power, notwithstanding that the
seat of such Government or authority or the residence of such person is not within those territories.
    6
     [(3) Where any party against whom an interim order, whether by way of injunction or stay or in any
other manner, is made on, or in any proceedings relating to, a petition under clause (1), without
        (a) furnishing to such party copies of such petition and all documents in support of the plea for such
    interim order; and
         (b) giving such party an opportunity of being heard,
makes an application to the High Court for the vacation of such order and furnishes a copy of such application
to the party in whose favour such order has been made or the counsel of such party, the High Court shall


1. Subs. by the Constitution (Ninety-ninth Amendment) Act, 2014, s. 9, for the Chief J stice of a High Court for any State may at
   an time, ith the pre io s consent of the President (w.e.f. 13-4-2015). This amendment has been struck down by the Supreme
   Court vide its order dated the 16th October, 2015 in the Supreme Court Advocates-on-Record Association and Another Vs. Union
   of India reported in AIR 2016 SC 117.
2. Ins. by the Constitution (Forty-fourth Amendment) Act, 1978, s. 29 (w.e.f. 20-6.1979). Original Proviso was omitted by the
   Constitution (Forty-second Amendment) Act, 1976, s. 37 (w.e.f. 1-2-1977).
3. Subs. by the Constitution (Forty-second Amendment) Act, 1976, s. 38 (w.e.f. 1-2-1977).
4. The ords, fig res and letters b t s bject to the pro isions of article 131A and article 226A omitted by the Constitution (Forty-
   third Amendment) Act, 1977, s. 7 (w.e.f. 13-4-1978).
5. Subs. by the Constitution (Forty-fo rth Amendment) Act, 1978, s. 30 for the portion beginning ith the ords rits in the nat re
   of habeas corp s, mandam s, prohibition, q o arranto and certiorari, or an of them and ending ith the ords s ch illegalit
   has res lted in s bstantial fail re of j stice (w.e.f. 1-8-1979).
6. Subs. by ibid., s. 30, for clauses (3), (4), (5) and (6).




                                                               87
    Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 30 of 109



dispose of the application within a period of two weeks from the date on which it is received or from the date
on which the copy of such application is so furnished, whichever is later, or where the High Court is closed on
the last day of that period, before the expiry of the next day afterwards on which the High Court is open; and if
the application is not so disposed of, the interim order shall, on the expiry of that period, or, as the case may be,
the expiry of the said next day, stand vacated.]
    1
     [(4)] The power conferred on a High Court by this article shall not be in derogation of the power conferred
on the Supreme Court by clause (2) of article 32.]
    2
        [226A. Constitutional validity of Central laws not to be considered in proceedings under article 226.]
     227. Power of superintendence over all courts by the High Court. 3[(1) Every High Court shall
have superintendence over all courts and tribunals throughout the territories in relation to which it exercises
jurisdiction.]
    (2) Without prejudice to the generality of the foregoing provision, the High Court may
           (a) call for returns from such courts;
        (b) make and issue general rules and prescribe forms for regulating the practice and proceedings of
    such courts; and
        (c) prescribe forms in which books, entries and accounts shall be kept by the officers of any such
    courts.
    (3) The High Court may also settle tables of fees to be allowed to the sheriff and all clerks and officers
of such courts and to attorneys, advocates and pleaders practising therein:
    Provided that any rules made, forms prescribed or tables settled under clause (2) or clause (3) shall not
be inconsistent with the provision of any law for the time being in force, and shall require the previous
approval of the Governor.
    (4) Nothing in this article shall be deemed to confer on a High Court powers of superintendence over
any court or tribunal constituted by or under any law relating to the Armed Forces.
    4
        (5)*                  *           *                         *                    *
    228. Transfer of certain cases to High Court. If the High Court is satisfied that a case pending in a
court subordinate to it involves a substantial question of law as to the interpretation of this Constitution the
determination of which is necessary for the disposal of the case, 5[it shall withdraw the case and 6*** may ]
           (a) either dispose of the case itself, or


        (b) determine the said question of law and return the case to the court from which the case has been
    so withdrawn together with a copy of its judgment on such question, and the said court shall on receipt
    thereof proceed to dispose of the case in conformity with such judgment.




1. Cl. (7) renumbered as cl. (4) by the Constitution (Forty-fourth Amendment) Act, 1978, s. 30 (w.e.f. 1-8-1979).
2. Ins. by the Constitution (Forty-second Amendment) Act, 1976, s. 39 (w.e.f. 1-2-1977).
3. Cl. (1) has been successively subs. by the Constitution (Forty-second Amendment) Act, 1976, s. 40 (w.e.f. 1-2-1977) and the
  Constitution (Forty-fourth Amendment) Act, 1978, s. 31 to read as above (w.e.f. 20-6-1979).
4. Cl. (5) was ins. by the Constitution (Forty-second Amendment) Act, 1976, s. 40 (w.e.f. 1-2-1977) and omitted by the Constitution
  (Forty-fourth Amendment) Act, 1978, s. 31 (w.e.f. 20-6-1979).
5 . Subs. by the Constitution (Forty-second Amendment) Act, 1976, s. 41, for it shall ithdra the case and ma
  (w.e.f. 1-2-1977).
6. The ords, fig res and letter s bject to the pro isions of article 131A, omittedby the Constitution (Forty-third Amendment) Act,
  1977, s. 9 (w.e.f.13-4-1978).



                                                               88
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 31 of 109
   Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 32 of 109




                                 THE CODE OF CIVIL PROCEDURE, 1908
                                                  ACT NO. 5 OF 19081
                                                                                                         [21st March, 1908.]
             An Act to consolidate and amend the laws relating to the procedure of the Courts of Civil
                                                          Judicature.
    WHEREAS it is expedient to consolidate and amend the laws relating to the procedure of the Courts
of Civil Judicature : It is hereby enacted as follows : —
                                                       PRELIMINARY
    1. Short title, commencement and extent.—(1) This Act may be cited as the Code of Civil
Procedure, 1908.
    (2) It shall come into force on the first day of January, 1909.




    1. This Act has been amended in its application to Assam by Assam Acts 2 of 1941 and 3 of 1953; to Tamil Nadu by
    Madras Act 34 of 1950, Madras A.O. 1950, and Tamil Nadu Act 15 of 1970; to Punjab by Punjab Act 7 of 1934; to Uttar
    Pradesh by U.P. Acts 4 of 1925, 35 of 1948, 24 of 1954, 17 of 1970, 57 of 1976 and 31 of 1978; to Karnataka by Mysore
    Act 14 of 1955; to Kerala by Kerala Act 13 of 1957; to Rajasthan by Rajasthan Act 19 of 1958; to Maharashtra by
    Maharashtra Act 22 of 1960 and 25 of 1970; It has been extended to Berar by the Berar Laws Act, 1941 (4 of 1941) and, by
    notification under ss. 5 and 5A of the Schedule Districts Act, 1874 (14 of 1874), also to the following Scheduled Districts :—
        (1) The district of Jalpaiguri, Cachar (excluding the North Cachar Hills Goalpara (including the Eastern Duars), Kamrup,
   Darrang, Nowgong (excluding the Mikir Hill Tracts) Sibsagar (excluding the Mikir Hill Tracts) and Lakhimpur
   (excluding the Dibrugarh Frontier Tracts) : Gazette of India, 1909, Pt. 1. p. 5 and ibid, 1914, Pt I, p. 1690.
        (2) The District of Darjeeling and the District of Hazaribagh, Ranchi, Palamau and Manbhum in Chota Nagpur : Calcutta
   Gazette, 1909, Pt. I, p. 25 and Gazette of India, 1909, Pt. I, p. 33.
        (3) The Province of Kumaon and Garhwal and the Tarai Parganas (with modifications) : U.P. Gazette, 1909, Pt. I, p. 3
   and Gazette of India, 1909, Pt. I, p. 31.
        (4) The Pargana of Jaunsar-Bawar in Dehradun and the Scheduled portion of the Mirzapur District : U.P. Gazette, 1909,
   Pt. I, p. 4 and Gazette of India, 1909, Pt. I, p. 32.
        (5) Coorg : Gazette of India, 1909, Pt. I, p. 32.
        (6) Scheduled Districts in the Punjab : Gazette of India, 1909, Pt. I, p. 33.
        (7) Sections 36 to 43 to all the Scheduled Districts in Madras, Gazette of India, 1909, Pt. I. p. 152.
        (8) Scheduled Districts in the C.P., except so much as is already in force and so much as authorizes the
   attachment and sale of immovable property in execution of a decree, not being a decree directing the sale of such
   property : Gazette of India, 1909, Pt. I, p. 239.
        (9) Ajmer-Merwara except ss. 1 and 155 to 158: Gazette of India, 1909, Pt. II, p. 480.
        (10) Pargana Dhalbhum, the Municipality of Chaibassa in the Kolhan and the Porahat Estate in the District
   of Singhbhum : Calcutta, Gazette of India, 1909, Pt. I, p. 453 and Gazette of India, 1909. Pt. I, p. 443.
        Under s. 3(3)(a) of the Sonthal Parganas Settlement Regulation (3 of 1872), ss. 38 to 42 and 156 and rules 4
   to 9 in Order XXI in the First Schedule have been declared to be in force in the Sonthal Parganas and the rest of
   the Code for the trial of suits referred to in s. 10 of the Sonthal Parganas Justice Regulation, 1893 (5 of 1893) :
   see Calcutta, Gazette, 1909, Pt. I, p. 45.
        It has been declared to be in force in Panth Piploda by the Panth Piploda Laws Regulation. 1929 (1 of
   1929), s. 2; in the Khondmals District by the Khondmals Laws Regulation, 1936 (4 of 1936), s. 3 and Sch. and
   in the Angul District by the Angul Laws Regulation, 1936 (5 of 1936), s. 3 and Sch.
      It has been extended to the District of Koraput and Ganjam Agency by Orissa Regulation, (5 of 1951) s.2.
      It has been extended to the State of Manipur (w.e.f. 1-1-1957) by Act 30 of 1950, s. 3 to the whole of the Union
   Territory of Lakshadweep (w.e.f. 1-10-1967) by Regulation 8 of 1965, s. 3 and Sch. : to Goa, Daman and Diu
   (w.e.f. 15-6-1966) by Act 30 of 1965, s. 3; to Dadra and Nagar Haveli (w.e.f. 1-7-1965) by Reg. 6 of 1963, s. 2
   and Sch. 1 and to the State of Sikkim (w.e.f. 1-9-1984), vide Notification No. S.O. 599 (E), dated 13-8-1984,
   Gazette of India Extraordinary., Part. II, s. 3.




                                                               8
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 33 of 109



    (2) Execution shall not be issued on any such decree unless it remains unsatisfied for the period of
three months computed from the date of 1[such decree].
       2
    [(3) The provisions of sub-sections (1) and (2) shall apply in relation to an order or award as they
apply in relation to a decree, if the order or award—
           (a) is passed or made against 3[the Union of India] or a State or a public officer in respect of any
       such act as aforesaid, whether by a Court or by any other authority; and
           (b) is capable of being executed under the provisions of this Code or of any other law for the time
       being in force as if it were a decree.]
           4
               [SUITS BY ALIENS AND BY OR AGAINST FOREIGN RULERS, AMBASSADORS AND ENVOYS]
     83. When aliens may sue.—Alien enemies residing in India with the permission of the Central
Government, and alien friends, may sue in any Court otherwise competent to try the suit, as if they were
citizens of India, but alien enemies residing in India without such permission, or residing in a foreign country,
shall not sue in any such Court.
    Explanation. —Every person residing in a foreign country, the Government of which is at war with India
and carrying on business in that country without a licence in that behalf granted by the Central Government,
shall, for the purpose of this section, be deemed to be an alien enemy residing in a foreign country.
       84. When foreign States may sue.—A foreign State may sue in any competent Court :
    Provided that the object of the suit is to enforce a private right vested in the Ruler of such State or in
any officer of such State in his public capacity.
    85. Persons specially appointed by Government to prosecute or defend on behalf of foreign
Rulers.—(1) The Central Government may, at the request of the Ruler of a foreign State or at the request of
any person competent in the opinion of the Central Government to act on behalf of such Ruler, by order,
appoint any persons to prosecute or defend any suit on behalf of such Ruler, and any persons so appointed
shall be deemed to be the recognized agents by whom appearances, acts and applications under this Code
may be made or done on behalf of such Ruler.
    (2) An appointment under this section may be made for the purpose of a specified suit or of several
specified suits, or for the purpose of all such suits as it may from time to time be necessary to prosecute or
defend on behalf of such Ruler.
   (3) A person appointed under this section may authorise or appoint any other persons to make
appearances and applications and do acts in any such suit or suits as if he were himself a party thereto.
    86. Suits against foreign Rulers, Ambassadors and Envoys.—(I) No. 5*** foreign State may be
sued in any Court otherwise competent to try the suit except with the consent of the Central Government
certified in writing by a Secretary to that Government :
        Provided that a person may, as a tenant of immovable property, sue without such consent as aforesaid
6
    [a foreign State] from whom he holds or claims to hold the property.
    (2) Such consent may be given with respect to a specified suit or to several specified suits or with
respect to all suits of any specified class or classes, and may specify, in the case of any suit or class of
suits, the Court in which 7[the foreign State] may be sued, but it shall not be given, unless it appears to the
Central Government that 7[the foreign State]—
       (a) has instituted a suit in the Court against the person desiring to sue 8[it], or


1. Subs. by Act 104 of 1976, s. 28, for “such report” (w.e.f. 1-2-1977).
2. Ins. by Act 32 of 1949, s. 2.
3. Subs. by the A.O. 1950, for “the Dominion of India”.
4. Subs. by Act 2 of 1951, s. 12, for the former heading and ss. 83 to 87.
5. The words “Ruler of a” omitted by Act 104 of 1976, s. 29 (w.e.f. 1-2-1977).
6. Subs. by s. 29, ibid., for “a Ruler” (w.e.f. 1-2-1977).
7. Subs. by s. 29, ibid., for “the Ruler (w.e.f. 1-2-1977).
8. Subs. by s. 29, ibid., for “him” (w.e.f. 1-2-1977).


                                                              32
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 34 of 109
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 35 of 109
                                            Anwar vs The State Of J. & K on 7 July, 1970

Supreme Court of India
Anwar vs The State Of J. & K on 7 July, 1970
Equivalent citations: 1971 AIR 337, 1971 SCR (1) 637
Author: I Dua
Bench: Dua, I.D.
                          PETITIONER:
         ANWAR

                     Vs.

         RESPONDENT:
         THE STATE OF J. & K.

         DATE OF JUDGMENT:
         07/07/1970

         BENCH:
         DUA, I.D.
         BENCH:
         DUA, I.D.

         CITATION:
          1971 AIR        337                    1971 SCR      (1) 637
          1970 SCC        (2) 411



         ACT:
         Constitution   of India Articles 19, 20      &   22--Habeas
         corpus--Claim by foreigners--If maintainable--Foreigner's
         Act, (31 of 1946) S. 3(2)--Order of deportation if can be
         passed by the State Government.




         HEADNOTE:
         The petitioner a Pakistani national, who had entered India
         illegally was detained for the purpose of expelling him from
         India.    Instead of making any representation against the
         detention order, he challenged his detention by filing a
         writ of habeas corpus in this Court. This Court directed
         rule nisi.     The state revoked the order of detention and
         ordered the deportation of the petitioner from India under
         section 3(2) of the Foreigners Act read with the Ministry of
         Home Affairs Notification issued under S.O. 590 dated April
         9, 1958. Dismissing the petition, this Court.--
         HELD : (i) The petitioner was a foreigner as defined in the
         Foreigners Act and not being a citizen, he was clearly not
         entitled to any fundamental right guaranteed by Article 19
         of the Constitution. His entry into this country was also
         without any right, he had thus no right to remain within the
         territories of India. The order of the deportation was
         consistent with the order of detention which was also made

Indian Kanoon - http://indiankanoon.org/doc/1085550/                                       1
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 36 of 109
                                            Anwar vs The State Of J. & K on 7 July, 1970

         with the object of expelling him from India. The order of
         his release, if made by this Court, would, not only result
         in his presence in a part of India in contravention of the
         statutory provisions but would in addition render         it
         somewhat difficult for the authorities to enforce compliance
         with the order of his expulsion. In these circumstances,
         the restraint on his personal liberty for the purpose of
         taking him to the border in order to expel him from India in
         accordance with the statutory provisions could by no means
         be considered to be an illegal custody justifying an order
         of release by this Court. [639 B-C, 644 H]
         (ii) Habeas corpus, though a writ of right, is not a writ of
         course.   Its scope has grown to achieve its purpose, of
         protecting individuals 'against erosion of the right to be
         free from wrongful restraint on their rightful liberty.
         But, when, as in the present, case, the, petitioner has no
         right to move about freely in this country without a proper
         legal sanction, the restraint exercised on him for expelling
         him 'from India could not be construed on the facts and
         circumstances of this case to amount to his custody being
         illegal so as to require this Court to direct his immediate
         release.   The constitutional protection against illegal
         deprivation of personal liberty construed in a practical way
         cannot entitle non-citizens like the petitioner to remain in
         India contrary to the provisions of the law governing
         foreigners. [645 D]
         (iii) The notification dated April 19, 1958 was a complete
         answer to the petitioner's contention that it was the
         Central Government alone which could make a lawful order of
         deportation under s. 3(2)(c) of the Foreigners Act.    Under
         the said rectifications the State was entrusted with the
         functions of the Central Government under s. 3(2) of the
         Foreigners Act. [641 G]
         638
         State of Punjab v. Ajaib Singli, [1953] S.C.R. 254; State of
         U.P. V. Abdul Samad, A.I.R. 1968 S.C, 1506 followed.




         JUDGMENT:


ORIGINAL JURISDICTION : Writ Petition No, 131 of 1970. Petition under Art. 32 of the
Constitution 'of India for a writ in the nature of habeas corpus.

H. K. Puri, for the petitioner.

S. P. Nayar for R. N. Sachthey, for the respondent. The Judgment of the Court was delivered by Dua,
J. The petitioner, Anwar alias Raldu son of Basawa Batwal, resident of Nathu Pora, District Sialkot,
(West Pakistan), forwarded to this Court his application dated March 11, 1970 from Central Jail,
Jammu where he was being detained, praying for a 'Writ in the nature of the habeas corpus for his
production in this Court to enable him to challenge his detention. In the application it was asserted

Indian Kanoon - http://indiankanoon.org/doc/1085550/                                                2
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 37 of 109
                                            Anwar vs The State Of J. & K on 7 July, 1970

inter alia that the petitioner had been brought from Pakistan to the State of Jammu & Kashmir by
his uncle Shri Dosa, son of Jumma who was working for Indian Intelligence. The petitioner had
crossed the cease-fire line and come to India for the purpose of taking to Pakistan the necessities of
life. His uncle who was inimical towards him got him arrested after he had crossed the cease-fire
line on the basis of the allegation that the petitioner was a smuggler and had opium on his person.
The petitioner was thereafter convicted and sentenced. His sentence expired in January, 1970. After
his release he was again arrested. His detention after his rearrest was challenged in this application.

In the return it was sworn by Shri A. K. Hamdani, Under Secretary, Home Department, Jammu &
Kashmir State that the petitioner had been detained on January 30, 1970 pursuant to an order dated
January 27, 1970. The petitioner was duly informed of the grounds of his detention and also of his
right to make a representation. He, however, made no representation. His case was referred to the
Advisory Board, and the opinion of the Board was being awaited. The petitioner, according to the
return, had been detained earlier and on the expiry of two years of detention he was re-arrested with
the object of making arrangements for his expulsion from the State of Jammu & Kashmir. On June
9, 1970 this case was heard by the Vacation Judge (Ray, J.) and time was granted to the petitioner
up to June 23, 1970 for filing a rejoinder to the return. On June 15, 1970 the State filed an
application stating that the order of the petitioner's detention had since been revoked and that the
petitioner had been ordered on June 9, 1970 to leave India within ten days. This application came
up for hearing on June 16, 1970 when the State took time for producing the orders of revocation of
the detention order and of the petitioner's deportation. The case was accordingly adjourned to June
18, 1970 when by means of a short order the writ petition was dismissed and the petitioner was
permitted to be sent out of India. I now proceed to give reasons for the order.

The petitioner is not a citizen of India. He is, therefore,, a foreigner as defined in the Foreigners Act.
Not being a citizen, he is clearly not entitled to any fundamental right guaranteed by Art. 19 of the
Constitution. He has thus no right to remain within the territories of India. His entry into this
country was also without any right and indeed he himself does not claim to have entered into India
in accordance with the provisions of the Foreigners Act and the Orders made thereunder. The only
rights which he can claim in the present proceedings are those contained in Arts. 20 to 22. The order
dated January 27, 1970 reads as under :

         "Whereas Anwar @ Raldu s/o Basawa Batwal r/o Nathupora District Sialkot
         presently in the State is a foreigner within the meaning of the Foreigners Act, 1946,
         and;

         Whereas the Government is satisfied that with a view to making arrangements for his
         expulsion from the State, it is necessary to do so;

         Now, therefore, in exercise of the powers conferred by section 3 (1) (b) read with
         section 5 of the Jammu & Kashmir Preventive Detention Act, 1964, the Government
         hereby direct that the said Anwar @ Raldu be detained in the Central Jail, Jammu
         subject to such conditions as to maintenance, discipline and punishment for breaches
         of discipline as have been specified in the Jammu & Kashmir Detenus (General)

Indian Kanoon - http://indiankanoon.org/doc/1085550/                                                     3
         Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 38 of 109
                                            Anwar vs The State Of J. & K on 7 July, 1970

            Order, 1968."

This order was made in exercise of the powers conferred by s. 3 (I) (b) read with s. 5 of the Jammu &
Kashmir Preventive Detention Act, 1964. The Government felt satisfied that the petitioner who was
a foreigner within the meaning of the Foreigners Act (Act 31 of 1946) should be expelled from the
State of Jammu & Kashmir and it was with a view to making arrangements for his expulsion that it
was considered necessary to detain him., I-, appears that in the opinion of the Authorities making
the order it was necessary to give to the petitioner an opportunity of making a representation to the
Government against the order of detention. In order to give this opportunity, on February 4, 1970
the grounds of detention were disclosed to the petitioner and he was further informed that if he so
desired he could make a representation to the Government. It may be recalled that according to the
return he was actually, detained on January 30, 1970 though the order of detention had been made
on the 27th of that month. The petitioner, without making any representation, apparently sent the
present application to this Court through the jail authorities at Jammu. On April 9, 1970 this Court
directed a rule nisi to issue in his case along with some other cases. Apparently, the State authorities
did not consider it proper to take any further steps for implementing the orders of the petitioner's
expulsion because this Court had been seized of the habeas corpus proceedings. According to the
application dated June 15, 1970 the order of detention was revoked on June 9, 1970 with the result
that the habeas corpus petition assailing that order must be considered to have become infructuous.
The question naturally arose it this Court should order the petitioner's release forthwith on account
of there vocation of the impugned order of detention or it should dismiss the writ petition as
infructuous and send the petitioner back to Jammu to be released from the detention under the
order dated January 27, 1970 and leave it to the Government to deal with the petitioner-in
accordance with law. The peti- tioner not being a citizen of India obviously had no right to remain in
Delhi and according to the order of deportation he was bound to leave India by June 19, 1970. The
order of deportation may at this stage be reproduced :

            "In exercise of the powers conferred by clause

            (c) of sub-section (2) of section 3 of the Foreigners Act, 1946 (Act No. XXXI of 1946),
            read with Ministry of Home Affairs Notification issued under s.o. 590 dated 19th of
            April, 1958, the Government of Jammu and Kashmir hereby direct that the persons
            named below who are foreigners shall not remain in India and shall leave India
            within ten days from the date of this order :-

            1.Anwar @ Raldu s/o Basawa Batwal r/o Nathpora District Sialkot.

.. ... ... ....

This order has to be read with the Ministry of Home Affairs Notification issued under S.O. 590
dated April 19, 1958. That notification is in the following terms "In exercise of the powers conferred
by cl. (1) of Art. 258 of the Constitution and all other powers enabling him in this behalf and in
supersession of all previous notifications on the subject in so far as they relate to the Act, rules and
orders hereinafter mentioned, the President with the consent of the State Government -concerned

Indian Kanoon - http://indiankanoon.org/doc/1085550/                                                   4
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 39 of 109
                                            Anwar vs The State Of J. & K on 7 July, 1970

hereby entrusts to the Government of each of the State of A.P., Assam, Bihar, Bombay, J & K,
Kerala, M.P., Madras, Mysore, Orissa, Punjab, Rajasthan, U.P. and West Bengal the functions of the
Central Government, (1) under s. 5 of the Indian Passports Act, 1920 (34 of 1920), (2) under rules 2
and 4 of the Indian Passports Rules, 1950, (3) under r. 3 of the Registration of Foreigners Rules,
1939, (4) in making orders of the nature specified in cls. (c), (cc), (d), (e) and (f ) of sub-s. (2) of s. 3
of the Foreigners Act, 1946 (31 of 1946) and (5) under the Foreigners Order, 1948 subject to the
following conditions, namely,

(a) that in the exercise of that function, the said State Government shall comply with such general or
special directions as the Central Government may from time to time issue, and

(b) that notwithstanding this entrustment the Central Government may itself exercise any of the
said functions should it deem fit to do so in any case.

I have reproduced this notification because Shri H. K. Puri, the learned counsel appearing amicus
curiae in support of the petitioners application for habeas corpus, had raised the point that it was
the Central Government alone which could make a lawful order of deportation under s. 3 (2) (c) of
the Foreigners Act. This notification is a complete answer to this objection because the President has
under Art. 258 lawfully entrusted inter alia to the Government of Jammu & Kashmir the function of
the Central Government under s. 2 (3 ) (c), (d), (e) and (f ) of the Foreigners Act. Reverting to the
fundamental right claimable by the peti- tioner who is not a citizen of India it is clear that Art. 20 of
the Constitution is not attracted to this case. Article 21 merely lays down that no person shall be
deprived of his life or personal Sup. C.I./70-12 liberty except according to procedure established by
law. Article 22 deals with detention of persons in certain cases. In the case in hand in January, 1970
an order of detention was made under s. 3 (I) (b) of the J & K Preventive Detention Act which clearly
empowers the Government to detain a foreigner within the meaning of the Foreigners Act with a
view to inter alia making arrangements for his expulsion from the State. The petitioner not being a
citizen of India is, as already stated, a foreigner and therefore liable to be so detained. The
Government, it appears, considered it incumbent to comply with the provisions of ss. 8 to I 1 of the J
& K Preventive Detention Act even when the petitioner was being detained for the purpose of
expelling him from India. The period fixed for the Advisory Board to submit its report had not yet
expired when the petitioner, without making any representation, applied to this Court on March 11,
1970 and initiated the present proceedings. After the present application for a writ of habeas corpus
was entertained by this Court,the orders in respect of his custody were subject to the control and
permission of this Court and the State authorities were naturally reluctant in taking any step
towards implementation of the order of expulsion,without this Court's permission. As soon as the
order of detention was revoked the State Government made an order under s. 3 (2)(c) of the
Foreigners Act read with the Ministry of Home Affairs Notification issued under S.O. 590 dated
April 19, 1958 directing the petitioner not to remain in India and to leave India within ten days from
June 9, 1970, the date of the order. Soon thereafter the State Government filed an application in this
Court stating all the relevant facts. The petitioner was informed of this ,order and Shri Puri the
learned Counsel appearing; as amicus curaie actually addressed this Court on its legality after
consulting the petitioner.This order appears to be consistent with the order of detentiondated
January 27, 1970 which was also made with the object of expelling the petitioner from India. Since

Indian Kanoon - http://indiankanoon.org/doc/1085550/                                                       5
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 40 of 109
                                            Anwar vs The State Of J. & K on 7 July, 1970

the order dated June 9, 1970 had to be complied with by June 19, one day earlier, as already noticed,
on June 18 this Court permitted the State authorities to take suitable steps for deporting the
petitioner from India. The question arises if in these circumstances it can be said that after the
revocation of the detention order the petitioner was deprived of his personal liberty illegally or
without procedure established by law so as to require this Court to order his immediate release. In
State of Punjab v. Ajaib Singh(') this Court held that physical restraint put upon an abducted woman
(abducted during the partition of the undivided Punjab in 1947) in the process of recovering and
taking her into custody without (1) [1953] S.C.R. 254.

any allegation or accusation of any actual or suspected or apprehended commission by her of any
offence of a criminal or quasicriminal nature or of any act prejudicial to the State or the public
interest and handing her over to the custody of the officer-incharge of the nearest camp under S. 4 of
the Abducted Persons (Recovery and Restoration) Act, 55 of 1949 could not be regarded as arrest
and detention within the meaning of Art. 22(1) and (2). In the State of U.P. v. Abdul Samad(1) two
persons (Mr. & Mrs. Abdul Samad) were in Pakistan in March, 1955. In September, 1955 they
obtained a Pakistani passport and came to India after securing a visa for temporary stay till
December 16, 1955. They secured repeated extension of the period of stay. In 1957 they
unsuccessfully applied for their registration as Indian citizens. Against refusal to register them as
Indian citizens their application under Art. 226 of the Constitution also failed in 1959. The State
Government then directed them to leave India. They secured several extensions of time for
complying with this order. Finally on July 7, 1960 they were required to leave India within 24 hours.
On their failure to do so they were taken into custody on July 21, 1960 and sent by train to Amritsar
for being deported to Pakistan. They were produced before a Magistrate at Amritsar who ordered
that they be kept in the Civil Lines Thana till further orders, Meanwhile an application was filed
before the Lucknow Bench of the Allahabad High Court under s. 491, I.P.C. on July 25, 1960. On
being informed that the two persons concerned having been sent to Amritsar were no longer within
its territorial jurisdiction, the High Court recorded an order that it had no jurisdiction in the matter
and that the proceedings be consigned to records. In the meantime a spurious telegram and a
spurious telephone message purporting to emanate from Saxena, Under Secretary, Home
Department, U.P. were received by the police at Amritsar stating that the High Court had issued
orders for Mr. & Mrs. Abdul Samad to be brought back to Lucknow to attend the case on July 25,
1960. Pursuant to this message Mr. & Mrs. Abdul Samad were taken to Lucknow and produced
before the Deputy Registrar of the High Court, but after the court had disposed of the habeas corpus
petition. They were produced before the Deputy Registrar who directed their production in the High
Court on July 26, at 10.15 a.m. An application was thereupon filed on behalf of Mr. & Mrs. Abdul
Samad on July 25, 1960 to revive their earlier habeas corpus petition. A fresh habeas corpus petition
was also filed on July 26, 1960 praying for their release. On Jully 27, 1960 the High Court passed an
interim order of their release on bail on the fresh habeas corpus petition. That application was
ultimately allowed and Mr. & Mrs. Abdul Samad were released on the ground that after their arrival
in Lucknow at I p.m. on July 25, 1960 they had not been produced before a (1) A.I.R. 1962 S.C. 1506.

Magistrate within 24 hours and this was in breach of the mandatory provisions contained in Art.
22(2) of the Constitution. On appeal by the State, the Supreme Court set aside the order of the High
Court and held that there was no violation of Art. 22(2). In this connection it was emphasised that

Indian Kanoon - http://indiankanoon.org/doc/1085550/                                                   6
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 41 of 109
                                            Anwar vs The State Of J. & K on 7 July, 1970

Mr. & Mrs. Abdul Samad had actually been produced before the High Court on July 26, 1960 within
24 hours of their arrival at Lucknow on July 25, 1960 and that they were again produced before the
High Court on July 27, 1960. On both occasions they had full opportunity of representing their case.
The view expressed in this decision would rule out the argument of non-compliance with Art. 22(2)
on the facts and circumstances of the present case.

As observed earlier the petitioner had no right to enter and remain within the territories of India
and indeed he was bound, .under the order dated June 9, 1970, to leave India by June 19, 1970.
According to cl. (3) of the Foreigners Order, 1948 no foreigner can enter into India :-

         (a) otherwise than at such port or other place of entry on the border of India as a
         Registration Officer having jurisdiction at that port or place may appoint in this
         behalf; either for foreigners generally or for any specified class or description of
         foreigners; or

         (b) without the leave of the civil authority having, jurisdiction at such port or place."

Under cl. (5) of this Order no foreigner can leave India

(a) otherwise than at such port or other recognised place of departure on the borders of India as the
Registration Officer having jurisdiction at that port or place may appoint in this behalf either for
foreigners generally or for any specified class or description of foreigners; or

(b) without the leave of the civil authority having jurisdiction at such port or place." It would thus be
seen that the petitioner who had illegally and clandestinely entered into India could not stay in any
part of its territory. Indeed, he had, to leave India by June 19, 1970 and this had to be done in
accordance with the statutory regulations. The order of his release by this Court would, therefore,
not only have resulted in his presence in a part of India in contravention of the statutory provisions
but would in addition have rendered it somewhat difficult for the authorities to enforce compliance
with the order of his expulsion. In these circumstances the res-

traint on his personal liberty for the purpose of taking him to the border in order to expel him from
India in accordance with the statutory provisions could by no means be considered to be an illegal
custody justifying an order of release by this Court. While dealing with cases like the present one
cannot ignore the historical fact of Pakistan's extremely hostile attitude towards the State of Jammu
& Kashmir and also the fact that from the borders of the State of Jammu & Kashmir adjoining those
of West Pakistan infiltrators have constantly been surreptitiously entering that part of the Indian
territory for unfriendly activities which endanger maintenance of public order and security of the
State. The petitioner had on his own showing crossed the cease-fire line secretly with the object of
taking out of India the necessities of life. Regulations governing the entry into and departure from
India as also the presence in this country of Pakistani infiltrators from across the cease-fire line on
the Jammu & Kashmir border demand strict enforcement and the claim to personal liberty made by
unlawful infiltrators from Pakistan cannot be placed above the security of the country and
maintenance of law and order. Habeas corpus, though a writ of right, is not a writ of course. Its

Indian Kanoon - http://indiankanoon.org/doc/1085550/                                                    7
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 42 of 109
                                            Anwar vs The State Of J. & K on 7 July, 1970

scope has grown to achieve its purpose of protecting individuals against erosion of the right to be
free from wrongful restraint on their rightfull liberty. But when, as in the present case, the petitioner
has no right to move about freely in this country without a proper legal sanction, the restraint
exercised on him for expelling him from India by June 19, 1970 cannot be construed on the facts and
circumstances of this case to amount to his custody being illegal so as to require this Court to direct
his immediate release. The constitutional protection against illegal, deprivation of personal liberty
construed in a practical way cannot entitle non-citizens like the petitioner to remain in India
contrary to the provisions of the law governing foreigners. It is accordingly difficult to hold that the
petitioner is being illegally deprived of his right to personal liberty to stay and move about in India
without restraint. The petition accordingly fails and is dismissed.

         Y.P.                                          Petition dismissed.




Indian Kanoon - http://indiankanoon.org/doc/1085550/                                                    8
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 43 of 109
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 44 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

Supreme Court of India
The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000
Author: S Ahmad
Bench: R.P.Sethi, S.Saghir Ahmad
                    PETITIONER:
         THE CHAIRMAN, RAILWAY BOARD & ORS.

                     Vs.

         RESPONDENT:
         MRS. CHANDRIMA DAS & ORS.

         DATE OF JUDGMENT:                    28/01/2000

         BENCH:
         R.P.Sethi, S.Saghir Ahmad




         JUDGMENT:


S.SAGHIR AHMAD, J.

Leave granted.

Mrs. Chandrima Das, a practising advocate of the Calcutta High Court, filed a petition under Article
226 of the Constitution against the Chairman, Railway Board; General Manager, Eastern Railway;
Divisional Railway Manager, Howrah Division; Chief Commercial Manager, Eastern Railway; State
of West Bengal through the Chief Secretary; Home Secretary, Government of West Bengal;
Superintendent of Police (Railways), Howrah; Superintendent of Police, Howrah; Director General
of Police, West Bengal and many other Officers including the Deputy High Commissioner, Republic
of Bangladesh; claiming compensation for the victim, Smt. Hanuffa Khatoon, a Bangladeshi national
who was gang-raped by many including employees of the Railways in a room at Yatri Niwas at
Howrah Station of the Eastern Railway regarding which G.R.P.S. Case No. 19/98 was registered on
27th February, 1998. Mrs. Chandrima Das also claimed several other reliefs including a direction to
the respondents to eradicate anti-social and criminal activities at Howrah Railway Station.

The facts as noticed by the High Court in the impugned judgment are as follows:-

"Respondents Railways and the Union of India have admitted that amongst the main accused you
are employees of the railways and if the prosecution version is proved in accordance with law, they
are perpetrators of the heinous crime of gang rape repeatedly committed upon the hapless victim
Hanufa Khatun. It is not in dispute that Hanufa came from Bangladesh. She at the relevant time was
the elected representative. She at the relevant time was the elected representative of the Union
Board. She arrived at Howrah Railway Station on 26th February, 1998 at about 14.00 hours to avail
Jodhpur Express at 23.00 Hours for paying a visit to Ajmer Sharif. With that intent in mind, she

Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        1
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 45 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

arrived at Calcutta on 24th February, 1998 and stayed at a hotel at 10, Sudder Street, Police Station
Taltola and came to Howrah Station on the date and time aforementioned. She had, however, a wait
listed ticket and so she approached a Train Ticket Examiner at the Station for confirmation of berth
against her ticket. The Train Ticket Examiner asked her to wait in the Ladies Waiting room. She
accordingly came to the ladies waiting room and rested there.

At about 17.00 hours on 26th February, 1998 two unknown persons (later identified as one Ashoke
Singh, a tout who posed himself as a very influential person of the Railway and Siya Ram Singh a
railway ticket broker having good acquaintance with some of the Railway Staff of Howrah Station)
approached her, took her ticket and returned the same after confirming reservation in Coach No.S-3
(Berth No.17) of Jodhpur Express. At about 20.00 hours Siya Ram Singh came again to her with a
boy named Kashi and told her to accompany the boy to a restaurant if she wanted to have food for
the night. Accordingly at about 21.00 hours she went to a nearby eating house with Kashi and had
her meal there. Soon after she had taken her meal, she vomitted and came back to the Ladies
Waiting room. At about 21.00 hours Ashoke Singh along with Rafi Ahmed a Parcel Supervisor at
Howrah Station came to the Ladies Niwas before boarding the train. She appeared to have some
doubt initially but on being certified by the lady attendants engaged on duty at the Ladies Waiting
Room about their credentials she accompanied them to Yatri Niwas. Sitaram Singh, a khalasi of
electric Department of Howrah Station joined them on way to Yatri Niwas. She was taken to room
No.102 on the first floor of Yatri Niwas. The room was booked in the name of Ashoke Singh against
Railway Card pass No. 3638 since 25th February, 1998. In room No.102 two other persons viz. one
Lalan Singh, Parcel Clerk of Howrah Railway Station and Awdesh Singh, Parcel Clearing Agent were
waiting. Hanufa Khatun suspected someting amiss when Ashoke Singh forced her into the room.
Awdesh Singh bolted the room from outside and stood on guard outside the room. The remaining
four persons viz. Ashoke, Lalan, Rafi and Sitaram took liquor inside the room and also forcibly
compelled her to consume liquor. All the four persons who were present inside the room brutally
violated, Hanufa Khatun, it is said, was in a state of shock and daze. When she could recover she
managed to escape from the room of Yatri Niwas and came back to the platform where again she
met Siya Ram Singh and found him talking to Ashoke Singh. Seeing her plight Siya Ram Singh
pretended to be her saviour and also abused and slapped Ashoke Singh. Since it was well past
midnight and Jodhpur Express had already departed, Siya Ram requested Hanufa Khatoon to
accompany him to his residence to rest for the night with his wife and children. He assured her to
help entrain Poorva Express on the following morning. Thereafter Siyaram accompanied by Ram
Samiram Sharma, a friend of Siyaram took her to the rented flat of Ram Samiram Sharma at 66,
Pathuriaghata Street, Police Station Jorabagan, Calcutta. There Siyaram raped Hanufa and when
she protested and resisted violently Siyaram and Ram Samiran Sharma gagged her mouth and
nostrils intending to kill her as a result Hanufa bled profusely. On being informed by the landlord of
the building following the hue and cry raised by Hanufa Khatun, she was rescued by Jorabagan
Police."

It was on the basis of the above facts that the High Court had awarded a sum of Rs.10 lacs as
compensation for Smt. Hanuffa Khatoon as the High Court was of the opinion that the rape was
committed at the building (Rail Yatri Niwas) belonging to the Railways and was perpetrated by the
Railway employees.

Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        2
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 46 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

In the present appeal, we are not concerned with many directions issued by the High Court. The
only question argued before us was that the Railways would not be liable to pay compensation to
Smt. Hanuffa Khatoon who was a foreigner and was not an Indian national. It is also contended that
commission of the offence by the person concerned would not make the Railway or the Union of
India liable to pay compensation to the victim of the offence. It is contended that since it was the
individual act of those persons, they alone would be prosecuted and on being found guilty would be
punished and may also be liable to pay fine or compensation, but having regard to the facts of this
case, the Railways, or, for that matter, the Union of India would not even be vicariously liable. It is
also contended that for claiming damages for the offence perpetrated on Smt. Hanuffa Khatoon, the
remedy lay in the domain of Private Law and not under Public Law and, therefore, no compensation
could have been legally awarded by the High Court in a proceeding under Article 226 of the
Constitution and, that too, at the instance of a practising advocate who, in no way, was concerned or
connected with the victim.

We may first dispose of the contention raised on behalf of the appellants that proceedings under
Article 226 of the Constitution could not have been legally initiated for claiming damages from the
Railways for the offence of rape committed on Smt. Hanuffa Khatoon and that Smt. Hanuffa
Khatoon herself should have approached the Court in the realm of Private Law so that all the
questions of fact could have been considered on the basis of the evidence adduced by the parties to
record a finding whether all the ingredients of the commission of "tort" against the person of Smt.
Hanuffa Khatoon were made out, so as to be entitled to the relief of damages. We may also consider
the question of locus standi as it is contended on behalf of the appellants that Mrs. Chandrima Das,
who is a practicing Advocate of the High Court of Calcutta, could not have legally instituted these
proceedings.

The distinction between "Public Law" and "Private Law" was considered by a Three-Judge Bench of
this Court in Common Cause, A Regd. Society vs. Union of India & Ors. (1999) 6 SCC 667 = AIR
1999 SC 2979 = (1999) 5 JT 237, in which it was, inter alia, observed as under :

"Under Article 226 of the Constitution, the High Court has been given the power and jurisdiction to
issue appropriate Writs in the nature of Mandamus, Certiorari, Prohibition, Quo-Warranto and
Habeas Corpus for the enforcement of Fundamental Rights or for any other purpose. Thus, the High
Court has jurisdiction not only to grant relief for the enforcement of Fundamental Rights but also
for "any other purpose" which would include the enforcement of public duties by public bodies. So
also, the Supreme Court under Article 32 has the jurisdiction to issue prerogative Writs for the
enforcement of Fundamental Rights guaranteed to a citizen under the Constitution.

Essentially, under public law, it is the dispute between the citizen or a group of citizens on the one
hand and the State or other public bodies on the other, which is resolved. This is done to maintain
the rule of law and to prevent the State or the public bodies from acting in an arbitrary manner or in
violation of that rule. The exercise of constitutional powers by the High Court and the Supreme
Court under Article 226 or 32 has been categorised as power of "judicial review". Every executive or
administrative action of the State or other statutory or public bodies is open to judicial scrutiny and
the High Court or the Supreme Court can, in exercise of the power of judicial review under the

Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        3
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 47 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

Constitution, quash the executive action or decision which is contrary to law or is violative of
Fundamental Rights guaranteed by the Constitution. With the expanding horizon of Article 14 read
with other Articles dealing with Fundamental Rights, every executive action of the Govt. or other
public bodies, including Instrumentalities of the Govt., or those which can be legally treated as
"Authority" within the meaning of Article 12, if arbitrary, unreasonable or contrary to law, is now
amenable to the writ jurisdiction of this Court under Article 32 or the High Courts under Article 226
and can be validly scrutinised on the touchstone of the Constitutional mandates."

The earlier decision, namely, Life Insurance Corporation of India vs. Escorts Limited & Ors. 1985
Supp. (3) SCR 909 = (1986) 1 SCC 264 = AIR 1986 SC 1370, in which it was observed as under:

"Broadly speaking, the Court will examine actions of State if they pertain to the pubic law domain
and refrain from examining them if they pertain to the private law field. The difficulty will lie in
demarcating the frontier between the public law domain and the private law field. It is impossible to
draw the line with precision and we do not want to attempt it. The question must be decided in each
case with reference to the particular action, the activity in which the State or the instrumentality of
the State is engaged when performing the action, the public law or private law character of the
action and a host of other relevant circumstances."

was relied upon.

Various aspects of the Public Law field were considered. It was found that though initially a petition
under Article 226 of the Constitution relating to contractual matters was held not to lie, the law
underwent a change by subsequent decisions and it was noticed that even though the petition may
relate essentially to a contractual matter, it would still be amenable to the writ jurisdiction of the
High Court under Article 226. The Public Law remedies have also been extended to the realm of
tort. This Court, in its various decisions, has entertained petitions under Article 32 of the
Constitution on a number of occasions and has awarded compensation to the petitioners who had
suffered personal injuries at the hands of the officers of the Govt. The causing of injuries, which
amounted to tortious act, was compensated by this Court in many of its decisions beginning from
Rudul Sah vs. State of Bihar 1983(3) SCR 508 = (1983) 4 SCC 141 = AIR 1983 SC 1086. [See also :
Bhim Singh vs. State of Jammu & Kashmir (1985) 4 SCC 577 = AIR 1986 SC 494; People's Union for
Democratic Rights vs. State of Bihar, 1987 (1) SCR 631 = (1987) 1 SCC 265 = AIR 1987 SC 355;
People's Union for Democratic Rights Thru. Its Secy. vs. Police Commissioner, Delhi Police
Headquarters, (1989) 4 SCC 730 = 1989 (1) SCALE 599; SAHELI, A Woman's Resources Centre vs.
Commissioner of Police, Delhi (1990) 1 SCC 422 = 1989 (Supp.) SCR 488 = AIR 1990 SC 513;
Arvinder Singh Bagga vs. State of U.P. (1994) 6 SCC 565 = AIR 1995 SC 117; P. Rathinam vs. Union
of India (1989) Supp. 2 SCC 716; In Re: Death of Sawinder Singh Grower (1995) Supp. (4) SCC 450
= JT (1992) 6 SC 271 = 1992 (3) SCALE 34; Inder Singh vs. State of Punjab (1995) 3 SCC 702 = AIR
1995 SC 1949; D.K. Basu vs. State of West Bengal (1997) 1 SCC 416 = AIR 1997 SC 610].

In cases relating to custodial deaths and those relating to medical negligence, this Court awarded
compensation under Public Law domain in Nilabati Behera vs. State of Orissa (1993) 2 SCC 746 =
1993 (2) SCR 581 = AIR 1993 SC 1960; State of M.P. vs. Shyam Sunder Trivedi (1995) 4 SCC 262 =

Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        4
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 48 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

1995 (3) SCALE 343; People's Union for Civil Liberties vs. Union of India (1997) 3 SCC 433 = AIR
1997 SC 1203 and Kaushalya vs. State of Punjab (1996) 7 SCALE (SP) 13; Supreme Court Legal Aid
Committee vs. State of Bihar (1991) 3 SCC 482; Dr. Jacob George vs. State of Kerala (1994) 3 SCC
430 = 1994 (2) SCALE 563; Paschim Bangal Khet Mazdoor Samity vs. State of West Bengal & Ors.
(1996) 4 SCC 37 = AIR 1996 SC 2426; and Mrs. Manju Bhatia vs. N.D.M.C. (1997) 6 SCC 370 = AIR
1998 SC 223 = (1997) 4 SCALE 350.

Having regard to what has been stated above, the contention that Smt. Hanuffa Khatoon should
have approached the civil court for damages and the matter should not have been considered in a
petition under Article 226 of the Constitution, cannot be accepted. Where public functionaries are
involved and the matter relates to the violation of Fundamental Rights or the enforcement of public
duties, the remedy would still be available under the Public Law notwithstanding that a suit could be
filed for damages under Private Law.

In the instant case, it is not a mere matter of violation of an ordinary right of a person but the
violation of Fundamental Rights which is involved. Smt. Hanuffa Khatoon was a victim of rape. This
Court in Bodhisatwa vs. Ms. Subdhra Chakroborty (1996) 1 SCC 490 has held "rape" as an offence
which is violative of the Fundamental Right of a person guaranteed under Article 21 of the
Constitution. The Court observed as under :

"Rape is a crime not only against the person of a woman, it is a crime against the entire society. It
destroys the entire psychology of a woman and pushes her into deep emotional crisis. Rape is
therefore the most hated crime. It is a crime against basic human rights and is violative of the
victims most cherished right, namely, right to life which includes right to live with human dignity
contained in Article 21."

Rejecting, therefore, the contention of the learned counsel for the appellants that the petition under
Public Law was not maintainable, we now proceed to his next contention relating to the locus standi
of respondent, Mrs. Chandrima Das, in filing the petition.

The main contention of the learned counsel for the appellants is that Mrs. Chandrima Das was only
a practising advocate of the Calcutta High Court and was, in no way, connected or related to the
victim, Smt. Hanuffa Khatoon and, therefore, she could not have filed a petition under Article 226
for damages or compensation being awarded to Smt. Hanuffa Khatoon on account of the rape
committed on her. This contention is based on a misconception. Learned counsel for the appellants
is under the impression that the petition filed before the Calcutta High Court was only a petition for
damages or compensation for Smt. Hanuffa Khatoon. As a matter of fact, the reliefs which were
claimed in the petition included the relief for compensation. But many other reliefs as, for example,
relief for eradicating anti-social and criminal activities of various kinds at Howrah Railway Station
were also claimed. The true nature of the petition, therefore, was that of a petition filed in public
interest.

The existence of a legal right, no doubt, is the foundation for a petition under Article 226 and a bare
interest, may be of a minimum nature, may give locus standi to a person to file a Writ Petition, but

Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        5
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 49 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

the concept of "Locus Standi" has undergone a sea change, as we shall presently notice. In Dr.
Satyanarayana Sinha vs. S. Lal & Co. Pvt. Ltd., AIR 1973 SC 2720 = (1973) 2 SCC 696, it was held
that the foundation for exercising jurisdiction under Article 32 or Article 226 is ordinarily the
personal or individual right of the petitioner himself. In writs like Habeas Corpus and Quo
Warranto, the rule has been relaxed and modified.

In S.P. Gupta & Ors. vs. Union of India & Ors., AIR 1982 SC 149 = (1981) Supp. SCC 87, the law
relating to locus standi was explained so as to give a wider meaning to the phrase. This Court laid
down that "practising lawyers have undoubtedly a vital interest in the independence of the judiciary;
they would certainly be interested in challenging the validity or constitutionality of an action taken
by the State or any public authority which has the effect of impairing the independence of the
judiciary." It was further observed that "lawyer's profession was an essential and integral part of the
judicial system; they could figuratively be described as priests in the temple of justice. They have,
therefore, a special interest in preserving the integrity and independence of the judicial system; they
are equal partners with the Judges in the administration of justice. The lawyers, either in their
individual capacity or as representing some Lawyers' Associations have the locus standi to challenge
the circular letter addressed by the Union Law Minister to the Governors and Chief Ministers
directing that one third of the Judges of the High Court should, as far as possible, be from outside
the State."

In the context of Public Interest Litigation, however, the Court in its various Judgments has given
widest amplitude and meaning to the concept of locus standi. In People's Union for Democratic
Rights and Ors. vs. Union of India & Ors., AIR 1982 SC 1473 = (1982) 3 SCC 235, it was laid down
that Public Interest Litigation could be initiated not only by filing formal petitions in the High Court
but even by sending letters and telegrams so as to provide easy access to Court. (See also: Bandhua
Mukti Morcha vs. Union of India & Ors., AIR 1984 SC 802 = 1984 (2) SCR 67 = (1984) 3 SCC 161
and State of Himachal Pradesh vs. Student's Parent Medical College, Shimla & Ors., AIR 1985 SC
910 = (1985) 3 SCC 169 on the right to approach the Court in the realm of Public Interest Litigation).
In Bangalore Medical Trust vs. B.S. Muddappa and Ors., AIR 1991 SC 1902 = 1991 (3) SCR 102 =
(1991) 4 SCC 54, the Court held that the restricted meaning of aggrieved person and narrow outlook
of specific injury has yielded in favour of a broad and wide construction in the wake of Public
Interest Litigation. The Court further observed that public-spirited citizens having faith in the rule
of law are rendering great social and legal service by espousing causes of public nature. They cannot
be ignored or overlooked on technical or conservative yardstick of the rule of locus standi or absence
of personal loss or injury. There has, thus, been a spectacular expansion of the concept of locus
standi. The concept is much wider and it takes in its stride anyone who is not a mere "busy-body".

Having regard to the nature of the petition filed by respondent Mrs. Chandrima Das and the relief
claimed therein it cannot be doubted that this petition was filed in public interest which could
legally be filed by the respondent and the argument that she could not file that petition as there was
nothing personal to her involved in that petition must be rejected.

It was next contended by the learned counsel appearing on behalf of the appellants, that Smt.
Hanuffa Khatoon was a foreign national and, therefore, no relief under Public Law could be granted

Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        6
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 50 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

to her as there was no violation of the Fundamental Rights available under the Constitution. It was
contended that the Fundamental Rights in Part III of the Constitution are available only to citizens
of this country and since Smt. Hanuffa Khatoon was a Bangladeshi national, she cannot complain of
the violation of Fundamental Rights and on that basis she cannot be granted any relief. This
argument must also fail for two reasons; first, on the ground of Domestic Jurisprudence based on
Constitutional provisions and secondly, on the ground of Human Rights Jurisprudence based on the
Universal Declaration of Human Rights, 1948, which has the international recognition as the "Moral
Code of Conduct" having been adopted by the General Assembly of the United Nations. We will
come to the question of Domestic Jurisprudence a little later as we intend to first consider the
principles and objects behind Universal Declaration of Human Rights, 1948, as adopted and
proclaimed by the United Nations General Assembly Resolution of 10th December, 1948. The
preamble, inter alia, sets out as under:

"Whereas recognition of the INHERENT DIGNITY and of the equal and inalienable rights of all
members of the human family is the foundation of freedom, justice and peace in the world.

Whereas disregard and contempt for human rights have resulted in barbarous acts which have
outraged the conscience of mankind, and the advent of a world in which human beings shall enjoy
freedom of speech and belief and freedom from fear and want has been proclaimed as the highest
aspiration of the common people.

Whereas it is essential to promote the development of friendly relations between nations.

Whereas the people of the United Nations have in the Charter affirmed their faith in fundamental
human rights, IN THE DIGNITY AND WORTH OF THE HUMAN PERSON AND IN THE EQUAL
RIGHTS OF MEN AND WOMEN and have determined to promote social progress and better
standards of life in larger freedom. Whereas Member States have pledged themselves to achieve, in
cooperation with the United Nations, the promotion of universal respect for and observance of
human rights and fundamental freedoms.

Whereas a common understanding of these rights and freedoms is of the greatest importance for the
full realization of this pledge."

Thereafter, the Declaration sets out, inter alia, in various Articles, the following:

"Article 1 -- All human beings are born free and equal in dignity and rights. They are endowed with
reason and conscience and should act towards one another in a spirit of brotherhood.

Article 2 -- Every one is entitled to all the rights and freedoms set forth in this Declaration, without
distinction of any kind, such as race, colour, sex, language, religion, political or other opinion,
NATIONAL OR SOCIAL ORIGIN, PROPERTY, BIRTH OR OTHER STATUS.

Furthermore, NO DISTINCTION SHALL BE MADE ON THE BASIS OF THE POLITICAL,
JURISDICTIONAL OR INTERNATIONAL STATUS OF THE COUNTRY OR TERRITORY to which a

Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        7
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 51 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

person belongs, whether it be independent, trust, non-self governing or under any other limitation
of sovereignty.

Article 3 -- Everyone has the right to life, liberty and security of person.

Article 5 -- No one shall be subjected to torture or to cruel, inhuman or degrading treatment or
punishment.

Article 7 -- All are equal before the law and are entitled without any discrimination to equal
protection of the law. All are entitled to equal protection against any discrimination in violation of
this Declaration and against any incitement to such discrimination.

Article 9 -- No one shall be subjected to arbitrary arrest, detention or exile."

Apart from the above, the General Assembly, also while adopting the Declaration on the Elimination
of Violence against Women, by its Resolution dated 20th December, 1993, observed in Article 1 that,
"violence against women" means any act of gender-based violence that results in, or is likely to
result in, physical, sexual or psychological harm or suffering to women, including threats of such
acts, coercion or arbitrary deprivation of liberty, whether occurring in public or in private life." In
Article 2, it was specified that, "violence against women shall be understood to encompass, but not
be limited to:

(a) Physical, sexual and psychological violence occurring in the family including battering, sexual
abuse of female children in the household, dowry-related violence, marital rape, female genital
mutilation and other traditional practices harmful to women, non-spousal violence and violence
related to exploitation;

(b) Physical, sexual and psychological violence occurring within the general community, including
rape, sexual abuse, sexual harassment and intimidation at work, in educational institutions and
elsewhere, trafficking in women and forced prostitution;

(c) Physical, sexual and psychological violence perpetrated or condoned by the State, wherever it
occurs."

In Article 3, it was specified that "women are entitlted to the equal enjoyment and protection of all
human rights, which would include, inter alia,:

(a) the right to life, (b) the right to equality, and

(c) the right to liberty and security of person.

The International Covenants and Declarations as adopted by the United Nations have to be
respected by all signatory States and the meaning given to the above words in those Declarations
and Covenants have to be such as would help in effective implementation of those Rights. The

Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        8
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 52 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

applicability of the Universal Declaration of Human Rights and principles thereof may have to be
read, if need be, into the domestic jurisprudence. Lord Diplock in Salomon v. Commissioners of
Customs and Excise [1996] 3 All ER 871 said that there is a, prima facie, presumption that
Parliament does not intend to act in breach of international law, including specfic treaty obligations.
So also, Lord Bridge in Brind v. Secretary of State for the Home Department [1991] 1 All ER 720,
observed that it was well settled that, in construing any provision in domestic legislation which was
ambiguous in the sense that it was capable of a meaning which either conforms to or conflicts with
the International Convention, the courts would presume that Parliament intended to legislate in
conformity with the Convention and not in conflict with it.

The domestic application of international human rights and norms was considered by the Judicial
Colloquia (Judges and Lawyers) at Bangalore in 1988. It was later affirmed by the Colloquia that it
was the vital duty of an independent judiciary to interpret and apply national constitutions in the
light of those principles. Further Colloquia were convened in 1994 at Zimbabwe, in 1996 at Hong
Kong and in 1997 at Guyana and in all those Colloquia, the quetion of domestic application of
international and regional human rights specially in relation to women, was considered. The
Zimbabwe Declaration 1994, inter alia, stated :

"Judges and lawyers have duty to familiarise themselves with the growing international
jurisprudence of human rights and particularly with the expanding material on the protection and
promotion of the human rights of women."

But this situation may not really arise in our country.

Our Constitution guarantees all the basic and fundamental human rights set out in the Universal
Declaration of Human Rights, 1948, to its citizens and other persons. The chapter dealing with the
Fundamental Rights is contained in Part III of the Constitution. The purpose of this Part is to
safeguard the basic human rights from the vicissitudes of political controversy and to place them
beyond the reach of the political parties who, by virtue of their majority, may come to form the Govt.
at the Centre or in the State.

The Fundamental Rights are available to all the "citizens" af the country but a few of them are also
available to "persons". While Article 14, which guarantees equality before law or the equal protection
of laws within the territory of India, is applicable to "person" which would also include the "citizen"
of the country and "non- citizen" both, Article 15 speaks only of "citizen" and it is specifically
provided therein that there shall be no discrimination against any "citizen" on the ground only of
religion, race, caste, sex, place of birth or any of them nor shall any citizen be subjected to any
disability, liability, restriction or condition with regard to access to shops, public restaurants, hotels
and places of public entertainment, or the use of wells, tanks, bathing ghats, roads and places of
public resort on the aforesaid grounds. Fundamental Right guaranteed under Article 15 is, therefore,
restricted to "citizens". So also, Article 16 which guarantees equality of opportunity in matters of
public employment is applicable only to "citizens". The Fundamental Rights contained in Article 19,
which contains the right to "Basic Freedoms", namely, freedom of speech and expression; freedom
to assemble peaceably and without arms; freedom to form associations or unions; freedom to move

Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        9
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 53 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

freely throughout the territory of India; freedom to reside and settle in any part of the territory of
India and freedom to practise any profession, or to carry on any occupation, trade or business, are
available only to "citizens" of the country. The word "citizen" in Article 19 has not been used in a
sense different from that in which it has been used in Part II of the Constitution dealing with
"citizenship". [See: State Trading Corporation of India Ltd. vs. The Commercial Tax Officer and
Others, AIR 1963 SC 1811 = 1964 (4) SCR 99]. It has also been held in this case that the words "all
citizens" have been deliberately used to keep out all "non-citizens" which would include "aliens". It
was laid down in Hans Muller of Nurenburg vs. Superintendent Presidency Jail Calcutta, AIR 1955
SC 367 (374) = 1955 (1) SCR 1284, that this Article applies only to "citizens". In another decision in
Anwar vs. State of J & K, AIR 1971 SC 337 = 1971 (1) SCR 637 = (1971) 3 SCC 104, it was held that
non-citizen could not claim Fundamental Rights under Article

19. In Naziranbai vs. State, AIR 1957 M.B. 1 and Lakshmi Prasad & Anr. vs. Shiv Pal & Others, AIR
1974 Allahabad 313, it was held that Article 19 does not apply to a "foreigner". The Calcutta High
Court in Sk. Md. Soleman vs. State of West Bengal and Another, AIR 1965 Calcutta 312, held that
Article 19 does not apply to a Commonwealth citizen.

In Anwar vs. State of J & K, AIR 1971 SC 337 = 1971 (1) SCR 637 = (1971) 3 SCC 104 (already referred
to above), it was held that the rights under Articles 20, 21 and 22 are available not only to "citizens"
but also to "persons" which would include "non-citizens".

Article 20 guarantees right to protection in respect of conviction for offences. Article 21 guarantees
right to life and personal liberty while Article 22 guarantees right to protection against arbitrary
arrest and detention. These are wholly in consonance with Article 3, Article 7 and Article 9 of the
Universal Declaration of Human Rights, 1948.

The word "LIFE" has also been used prominently in the Universal Declaration of Human Rights,
1948. [See: Article 3 quoted above]. The Fundamental Rights under the Constitution are almost in
consonance with the Rights contained in the Universal Declaration of Human Rights as also the
Declaration and the Covenants of Civil and Political Rights and the Covenants of Economic, Social
and Cultural Rights, to which India is a party having ratified them, as set out by this Court in Kubic
Darusz vs. Union of India & Ors. (1990) 1 SCC 568 = AIR 1990 SC 605. That being so, since "LIFE"
is also recognised as a basic human right in the Universal Declaration of Human Rights, 1948, it has
to have the same meaning and interpretation as has been placed on that word by this Court in its
various decisions relating to Article 21 of the Constitution. The meaning of the word "life" cannot be
narrowed down. According to the tenor of the language used in Article 21, it will be available not
only to every citizen of this country, but also to a "person" who may not be a citizen of the country.

Let us now consider the meaning of the word "LIFE" interpreted by this Court from time to time. In
Kharak Singh vs. State of U.P., AIR 1963 SC 1295 = 1964 (1) SCR 332, it was held that the term "life"
indicates something more than mere animal existence. [See also : State of Maharashtra vs.
Chandrabhan Tale, AIR 1983 SC 803 = 1983 (3) SCR 337 = (1983) 3 SCC 387]. The inhibitions
contained in Article 21 against its deprivation extends even to those faculties by which life is
enjoyed. In Bandhua Mukti Morcha vs. U.O.I., AIR 1984 SC 802 = 1984 (2) SCR 67 = (1984) 3 SCC

Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        10
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 54 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

161, it was held that the right to life under Article 21 means the right to live with dignity, free from
exploitation. [See also: Maneka Gandhi vs. U.O.I., AIR 1978 SC 597 = 1978 (2) SCR 621 = (1978) 1
SCC 248 and Board of Trustees of the Port of Bombay vs. Dilip Kumar Raghavendranath Nadkarni,
AIR 1983 SC 109 = 1983 (1) SCR 828 = (1983) 1 SCC 124].

On this principle, even those who are not citizens of this country and come here merely as tourists or
in any other capacity will be entitled to the protection of their lives in accordance with the
Constitutional provisions. They also have a right to "Life" in this country. Thus, they also have the
right to live, so long as they are here, with human dignity. Just as the State is under an obligation to
protect the life of every citizen in this country, so also the State is under an obligation to protect the
life of the persons who are not citizens.

The Rights guaranteed under Part III of the Constitution are not absolute in terms. They are subject
to reasonable restrictions and, therefore, in case of non- citizen also, those Rights will be available
subject to such restrictions as may be imposed in the interest of the security of the State or other
important considerations. Interest of the Nation and security of the State is supreme. Since 1948
when the Universal Declaration was adopted till this day, there have been many changes - political,
social and economic while terrorism has disturbed the global scenario. Primacy of the interest of
Nation and the security of State will have to be read into the Universal Declaration as also in every
Article dealing with Fundamental Rights, including Article 21 of the Indian Constitution.

It has already been pointed out above that this Court in Bodhisatwa's case (supra) has already held
that "rape" amounts to violation of the Fundamental Right guaranteed to a woman under Article 21
of the Constitution.

Now, Smt. Hanuffa Khatoon, who was not the citizen of this country but came here as a citizen of
Bangladesh was, nevertheless, entitled to all the constitutional rights available to a citizen so far as
"Right to Life" was concerned. She was entitled to be treated with dignity and was also entitled to
the protection of her person as guaranteed under Article 21 of the Constitution. As a national of
another country, she could not be subjected to a treatment which was below dignity nor could she be
subjected to physical violence at the hands of Govt. employees who outraged her modesty. The Right
available to her under Article 21 was thus violated. Consequently, the State was under the
Constitutional liability to pay compensation to her. The judgment passed by the Calcutta High
Court, therefore, allowing compensation to her for having been gang-raped, cannot be said to suffer
from any infirmity.

Learned counsel for the appellants then contended that the Central Govt. cannot be held vicariously
liable for the offence of rape committed by the employees of the Railways. It was contended that the
liability under the Law of Torts would arise only when the act complained of was performed in the
course of official duty and since rape cannot be said to be an official act, the Central Govt. would not
be liable even under the Law of Torts. The argument is wholly bad and is contrary to the law settled
by this Court on the question of vicarious liability in its various decisions.




Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        11
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 55 of 109
                       The Chairman, Railway Board & Ors vs Mrs. Chandrima Das & Ors on 28 January, 2000

In State of Rajasthan vs. Mst. Vidhyawati AIR 1962 SC 933, it was held that the Govt. will be
vicariously liable for the tortious act of its employees. This was a case where a claim for damages was
made by the heirs of a person who died in an accident caused by the negligence of the driver of a
Govt. vehicle. Reference may also be made to the decisions of this Court in State of Gujarat vs.
Memon Mahomed Haji Hasan AIR 1967 SC 1885 and Smt. Basava Kom Dyamogouda Patil vs. State
of Mysore AIR 1977 SC 1749. These principles were reiterated in N. Nagendra Rao & Co. vs. State of
A.P. AIR 1994 SC 2663 = (1994) 6 SCC 205 and again in State of Maharashtra vs. Kanchanmala
Vijaysing Shirke, 1995 ACJ 1021 (SC) = (1995) 5 SCC 659 = JT 1995 (6) SC 155. Reliance placed by
the counsel for the appellants on the decision of this Court in Kasturi Lal Ralia Ram Jain vs. State of
U.P. AIR 1965 SC 1039 = 1965 (1) SCR 375 cannot help him as this decision has not been followed by
this Court in the subsequent decisions, including the decisions in State of Gujarat vs. Memon
Mahomed Haji Hasan and Smt. Basava Kom Dyamogouda Patil vs. State of Mysore (supra). The
decision in Kasturi Lal's case was also severely criticised by Mr. Seervai in his prestigious book

- Constitutional Law of India. A Three- Judge Bench of this Court in Common Cause, A Regd.
Society vs. Union of India (1999) 6 SCC 667 also did not follow the decision in Kasturi Lal's case
(supra) and observed that the efficacy of this decision as a binding precedent has been eroded.

The theory of Sovereign power which was propounded in Kasturi Lal's case has yielded to new
theories and is no longer available in a welfare State. It may be pointed out that functions of the
Govt. in a welfare State are manifold, all of which cannot be said to be the activities relating to
exercise of Sovereign powers. The functions of the State not only relate to the defence of the country
or the administration of justice, but they extend to many other spheres as, for example, education,
commercial, social, economic, political and even marital. These activities cannot be said to be
related to Sovereign power.

Running of Railways is a commercial activity. Establishing Yatri Niwas at various Railway Stations
to provide lodging and boarding facilities to passengers on payment of charges is a part of the
commercial activity of the Union of India and this activity cannot be equated with the exercise of
Sovereign power. The employees of the Union of India who are deputed to run the Railways and to
manage the establishment, including the Railway Stations and Yatri Niwas, are essential
components of the Govt. machinery which carries on the commercial activity. If any of such
employees commits an act of tort, the Union Govt., of which they are the employees, can, subject to
other legal requirements being satisfied, be held vicariously liable in damages to the person wronged
by those employees. Kasturi Lal's decision, therefore, cannot be pressed in aid. Moreover, we are
dealing with this case under Public Law domain and not in a suit instituted under Private Law
domain against persons who, utilising their official position, got a room in the Yatri Niwas booked in
their own name where the act complained of was committed.

No other point was raised before us. The appeal having no merit is dismissed with the observation
that the amount of compensation shall be made over to the High Commissioner for Bangladesh in
India for payment to the victim, Smt. Hanuffa Khatoon. The payment to the High Commissioner
shall be made within three months. There will be no order as to costs.



Indian Kanoon - http://indiankanoon.org/doc/113663/                                                        12
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 56 of 109
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 57 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

Supreme Court of India
Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981
Equivalent citations: 1981 AIR 746, 1981 SCR (2) 516
Author: P Bhagwati
Bench: Bhagwati, P.N.
                    PETITIONER:
         FRANCIS CORALIE MULLIN

                      Vs.

         RESPONDENT:
         THE ADMINISTRATOR, UNION TERRITORY OF DELHI & ORS.

         DATE OF JUDGMENT13/01/1981

         BENCH:
         BHAGWATI, P.N.
         BENCH:
         BHAGWATI, P.N.
         FAZALALI, SYED MURTAZA

         CITATION:
          1981 AIR 746                           1981 SCR (2) 516
          1981 SCC (1) 608                       1981 SCALE (1)79
          CITATOR INFO :
          RF         1981 SC2041               (9)
          D          1982 SC 710               (92,93)
          D          1982 SC1029               (14)
          MV         1982 SC1325               (16,36,75)
          R          1982 SC1473               (11)
          E&D        1985 SC1618               (9)
          R          1986 SC 180               (39,42)
          RF         1986 SC 847               (12)
          RF         1987 SC 990               (16)
          R          1991 SC 101               (239)
          RF         1991 SC1902               (24)
          RF         1992 SC1858               (10)



         ACT:
              Right of the detenu under Conservation of Foreign
         Exchange & Prevention of Smuggling Activities Act, to have
         interview with a lawyer and the members of his family-
         Section 3(b)(i) & (ii) read with rule 559A and 550 of the
         Punjab Manual of the Superintendence and Management of
         Jails-Whether violates    Articles 14    and   21   of   the
         Constitution   and    hence   invalid-Distinction    between
         preventive detention with punitive detention-Constitution of
         India 1950 Article 21, scope of.




Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         1
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 58 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

         HEADNOTE:
              Allowing the writ petition, the Court
         ^
              HELD : (1) While considering the question of validity
         of conditions of detention courts must necessarily bear in
         mind the vital distinction between preventive detention and
         punitive detention.    Punitive detention is intended to
         inflict punishment on a person, who is found by the judicial
         process to have committed an offence, while preventive
         detention is not by way of punishment at all, but it is
         intended to pre-empt a person from indulging in conduct
         injurious to the society. [523 A-B]
              (2) The    power of    preventive detention has been
         recognised as a necessary evil and is tolerated in a free
         society in the larger interest of security of the State and
         maintenance of public order. It is a drastic power to detain
         a person without trial and in many countries it is not
         allowed to    be exercised    except in times of war or
         aggression. The Indian Constitution does recognise the
         existence of this power, but it is hedged-in by various
         safeguards set out in Articles 21 and 22. Article 22 in
         clauses (4) to (7) deals specifically with safeguards
         against preventive detention and enjoins that any law of
         preventive detention    or action    by way of preventive
         detention taken under such law must be in conformity with
         the restrictions laid down by those clauses on pain of
         invalidation, Article 21 also lays down restrictions on the
         power of preventive detention. [523 B-D]
              Article 21 as interpreted in Maneka Gandhi's case
         requires that no one shall be deprived of his life or
         personal liberty except by procedure established by law and
         this procedure must be reasonable, fair and just and not
         arbitrary, whimsical or fanciful and it is for the Court to
         decide in the exercise of its constitutional power or
         judicial review whether the deprivation of life or personal
         liberty in    a given    case is by procedure, which is
         reasonable, fair and just or it is otherwise. The law of
         preventive detention must, therefore, pass the test not only
         of Article 22 but also of Article 21. But, despite these
         safeguards laid down by the Constitution and creatively
         evolved by the Courts. the power of preventive detention is
         a frightful and awesome power with drastic consequences
         affecting personal liberty, which is the most cherished
         517
         and prized possession of man in a civilised society. It is a
         power to be exercised with the greatest care and caution and
         the courts have to be ever vigilant to see that this power
         is not abused or misused, inasmuch as the preventive
         detention is qualitatively different from punitive detention
         and their purposes are different. In case of punitive
         detention, the person has fullest opportunity to defend
         himself, while    in case    of preventive detention, the
         opportunity that he has for contesting the action of the

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         2
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 59 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

         Executive is very limited. Therefore, the "restrictions
         placed on a person preventively detained must, consistently
         with the effectiveness of detention, be minimal". [524A-G]
              Maneka Gandhi v. Union of India, [1979] 1 SCC 248; M.O.
         Hoscot v. State of Maharashtra, [1979] 1 SCR 192; Hussainara
         Khatoon v. State of Bihar, [1980] 1 SCC 81; Sunil Batra (I)
         v. Delhi Administration, [1979] 1 SCR 392; Sunil Batra (II)
         v. Delhi Administration, [1980] 2 SCR 557, referred to.
              Sampat Prakash v. State of Jammu and Kashmir, [1969] 3
         SCR 574, followed.
              3. The prisoner or detenu has all the fundamental
         rights and other legal rights available to a free person,
         save those which are incapable of enjoyment by reason of
         incarceration. A prisoner or detenu is not stripped of his
         fundamental or other legal rights, save those which are
         inconsistent with his incarceration, and if any of these
         rights are violated, the Court will immediately spring into
         action and run to his rescue. [525 B-C, 526 G-H, 527 A]
              Sunil Batra (I) v. Delhi Administration, [1979] 1 SCR
         392; Sunil Batra (II) v. Delhi Administration, [1980] 2 SCR
         557, State of Maharashtra v. Prabhakar Sanzgire [1966] 1 SCR
         702; D. B. Patnaik v. State of Andhra Pradesh      , [1975] 2 SCR
         24, followed.
              Eve Pall's Case, 417 US 817: 41 Lawyers Edition 2nd
         495; Charles Wolffs Case, 41 Lawyers Edition 2nd 935, quoted
         with approval.
              (4) While arriving at the proper meaning and content of
         the right to life, the attempt of the court should always be
         to expand the reach and ambit of the fundamental right
         rather than    to attenuate its meaning and content. A
         constitutional provision must be construed, not in a narrow
         and constricted sense, but in a wide and liberal manner so
         as to anticipate and take account of changing conditions and
         purposes so that the constitutional provision does not get
         atrophied or fossilized but remains flexible enough to meet
         the newly emerging problems and challenges. This principle
         applies with greater force in relation to a fundamental
         right enacted by the Constitution. The fundamental right to
         life which is the most precious human right and which forms
         the ark of all other rights must therefore be interpreted in
         a broad and expansive spirit so as to invest it with
         significance and vitality which may endure for years to come
         and enhance the dignity of the individual and the worth of
         the human person. [527 C-D, 528 A-C]
              Weems v. U.S. 54 Lawyers Edition 801, quoted with
         approval.
              (5) The right to life enshrined in Article 21 cannot be
         restricted to mere animal existence. It means something much
         more than just physical survival.
         518
         Every limb or faculty through which life is enjoyed is thus
         protected by Article 21 and a fortiorari, this would include
         the faculties of thinking and feeling. Now deprivation which

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         3
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 60 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

         is inhibited by Article may be total or partially neither
         any limb or faculty can be totally destroyed nor can it be
         partially damaged. Moreover it is every kind of deprivation
         that is hit by Article 21, whether such deprivation be
         permanent or temporary and, furthermore, deprivation is not
         an act which is complete once and for all: it is a
         continuing act and so long as it lasts, it must be in
         accordance with procedure established by law. Therefore any
         act which damages or injures or interferes with the use of
         any limb or faculty of a person either permanently or even
         temporarily, would be within the inhibition of Article 21.
         [528 D, G-H, 529 A]
              Kharak Singh v. State of Uttar Pradesh, [1964] 1 SCR
         232, followed.
              Munn v. Illinois [1877] 94 US 133, referred to.
              Sunil Batra v. Delhi Administration, [1980] 2 SCR 557,
         applied.
              (6) The right to life includes the right to live with
         human dignity and all that goes along with it, namely, the
         bare necessaries     of life such as adequate nutrition,
         clothing and shelter and facilities for reading, writing and
         expressing oneself in diverse forms, freely moving about and
         mixing and     commingling with fellow human beings. The
         magnitude and content of the components of this right would
         depend upon the extent of the economic development of the
         country, but it must, in any view of the matter, include the
         right to the basic necessities of life and also the right to
         carry on such functions and activities as constitute the
         bare minimum expression of the human self. Every act which
         offends against or impairs human dignity would constitute
         deprivation pro tanto of this right to live and it would
         have to be in accordance with reasonable, fair and just
         procedure established by law which stands the test of other
         fundamental rights. Therefore, any form of torture or cruel,
         inhuman or degrading treatment would be offensive to human
         dignity and constitute an inroad into this right to live and
         it would, on this view, be prohibited by Article 21 unless
         it is in accordance with procedure prescribed by law, but no
         law which authorises and no procedure which leads to such
         torture or cruelty, inhuman or degrading treatment can ever
         stand the test of reasonableness and non-arbitrariness: it
         would plainly     be unconstitutional   and void as being
         violative of Article 14 and 21. [529 B-F]
              (7) There is implicit in Article 21 the right to
         protection against torture or cruel, inhuman or degrading
         treatment which is enunciated in Article 5 of the Universal
         Declaration of Human Rights and guaranteed by Article 7 of
         the international Covenant on Civil and Political Rights.
         This right to live which is comprehended within the broad
         connotation of the right to life can concededly be abridged
         according to procedure established by law and therefore,
         when a person is lawfully imprisoned, this right to live is
         bound to suffer attenuation to the extent to which it is

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         4
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 61 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

         incapable of enjoyment by reason of incarceration. The
         prisoner or detenu obviously cannot move about freely by
         going outside the prison walls nor can be socialise at his
         free will with persons outside the jail. But, as part of the
         right to live with human dignity and therefore, as a
         necessary component of the right to life, he would be
         entitled to have interviews with the members of his family
         and friends and no prison regulation or procedure laid down
         by prison regulation regulating the right to have interviews
         with the members of the family and
         519
         friends can be upheld as constitutionally valid under
         Article 14 and 21, unless it is reasonable, fair and just.
              Considered from the point of view also of the right to
         personal liberty enshrined in Article 21, the right to have
         interviews with members of the family and friends is clearly
         part of personal liberty guaranteed under that Article. The
         expression "personal liberty" occurring in Article 21 is of
         the widest amplitude and it covers a variety of rights which
         go to constitute the personal liberty of a man and it also
         includes rights which "have been raised to the status of
         distinct Fundamental Rights and given additional protection
         under Article 19". Therefore, personal liberty would include
         the right to socialise with members of the family and
         friends subject, of course, to any valid prison regulations
         and under Articles 14 and 21, such prison regulations must
         be reasonable and non-arbitrary. If any prison regulation or
         procedure laid down by it regulating the right to have
         interviews with members of the family and friends is
         arbitrary or unreasonable, it would be liable to be struck
         down as invalid as being violative of Articles 14 and 21.
         [530 B-E]
              Maneka Gandhi v. Union of India, [1979] 1 SCC 248,
         applied.
              (8) Sub-clause (ii) of clause 3(b) of the Conditions of
         Detention Order is violative of Articles 14 and 21 in so far
         as it permits only one interview in a month to a detenu.
         When an under-trial prisoner is granted the facility of
         interviews with relatives and friends twice in a week under
         Rule 559A and a convicted prisoner is permitted to have
         interviews with his relatives and friends, once in a week
         under Rule 550, sub-clause (ii) of clause 3(b) of the
         Conditions of Detention Order, which restricts the interview
         only to one in a month in case of a detenu, is unreasonable
         and arbitrary, particularly when a detenu stands on a
         highest pedestal than an under-trial prisoner or a convict.
         A detenu must be permitted to have at least two interviews
         in a week with relatives and friends and it should be
         possible for relative or friend to have interview with the
         detenu at any reasonable hour on obtaining permission from
         the Superintendent of the Jail and it should not be
         necessary to seek the permission of the District Magistrate,
         Delhi, as the latter procedure would be cumbrous and

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         5
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 62 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

         unnecessary from the point of view of security and hence
         unreasonable. Even independently of Rules 550 and 559A, of
         the Punjab Manual for the Superintendence and Management of
         Jails, the present norm of two interviews in a week for
         prisoners   furnishes   a   reasonable   and   non-arbitrary
         criterion. [530 F-H, 531 A-B]
              Sampath Prakash v. State of Jammu and Kashmir, [1969] 3
         SCR 574, applied.
              (9) Sub-clause (i) of clause 3(b) of the Conditions of
         Detention Order regulating the right of a detenu to have
         interview with a legal adviser of his choice is violative of
         Article 14 and 21 and therefore unconstitutional and void,
         It would be quite reasonable if a detenu were to be entitled
         to have interview with his legal adviser at any reasonable
         hour during the day after taking appointment from the
         Superintendent of the Jail, which appointment should be
         given by the Superintendent without any avoidable delay. The
         interview need not necessarily take place in the presence of
         a nominated officer of Customs/ Central Excise/Enforcement
         but if the presence of such officer can be conveniently
         secured at the time of the interview without involving any
         postponement of the interview, than such officer and if his
         presence cannot be so secured,
         520
         then any other Jail official may, if thought necessary,
         watch the interview but in a month to a detenu. When an
         under-trial prisoner is granted the facility [532C-F]
              (10) The right of a detenu to consult a legal adviser
         of his choice for any purpose not necessarily limited to
         defence in a criminal proceeding but also for securing
         release from preventive detention or filling a writ petition
         or prosecuting any claim or proceeding, civil or criminal is
         obviously included in the right to live with human dignity
         and is also part of personal liberty and the detenu cannot
         be deprived of this right nor can this right of the detenu
         be interfered with except in accordance with reasonable,
         fair and just procedure established by a valid law. [531C-E]




         JUDGMENT:


ORIGINAL JURISDICTION: Writ Petition No. 3042 of 1980. (Under Article 32 of the Constitution.)
N. M. Ghatate (Dr.) and S. V. Deshpande for the Petitioner.

Hardayal Hardy and M. N. Shroff for the Respondents Nos. 1-2.

The Judgment of the Court was delivered by BHAGWATI, J. This petition under Article 32 of the
Constitution raises a question in regard of the right of a detenu under the Conservation of Foreign
Exchange & Prevention of Smuggling Activities Act (hereinafter referred to as COFEPOSA Act) to
have interview with a lawyer and the members of his family. The facts giving rise to the petition are

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         6
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 63 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

few and undisputed and may be briefly stated as follows:

The petitioner, who is a British national, was arrested and detained in the Central Jail, Tihar under
an Order dated 23rd November 1979 issued under section 3 of the COFEPOSA Act. She preferred a
petition in this Court for a writ of habeas corpus challenging her detention, but by a judgment
delivered by this Court on 27th February 1980, her petition was rejected with the result that she
continued to remain under detention in the Tihar Central Jail. Whilst under detention, the
petitioner experienced considerable difficulty in having interview with her lawyer and the members
of her family. Her daughter aged about five years and her sister, who was looking after the daughter,
were permitted to have interview with her only once in a month and she was not allowed to meet her
daughter more often, though a child of very tender age. It seems that some criminal proceeding was
pending against the petitioner for attempting to smuggle hashish out of the country and for the
purpose of her defence in such criminal proceeding, it was necessary for her to consult her lawyer,
but even her lawyer found it difficult to obtain an interview with her because in order to arrange an
interview, he was required to obtain prior appointment from the District Magistrate, Delhi and the
interview could take place only in the presence of a Customs Officer nominated by the Collector of
Customs. This procedure for obtaining interview caused considerable hardship and inconvenience
and there were occasions when, even after obtaining prior appointment from the District
Magistrate, Delhi, her lawyer could not have an interview with her since no Customs Officer
nominated by the Collector of Customs remained present at the appointed time. The petitioner was
thus effectively denied the facility of interview with her lawyer and even her young daughter 5 years
old could not meet her except once in a month. This restriction on interviews was imposed by the
Prison Authorities by virtue of clause 3(b) sub-clauses (i) and

(ii) of the Conditions of Detention laid down by the Delhi Administration under an Order dated 23rd
August 1975 issued in exercise of the powers conferred under section 5 of the COFEPOSA Act. These
two sub-clauses of clause 3(b) provided inter alia as under:

         "3. The conditions of detention in respect of classification and interviews shall be as
         under:-

         (a) ..........

         (b) Interviews: Subject to the direction issued by the Administrator from time to
         time, permission for the grant of interviews with a detenu shall be granted by the
         District Magistrate, Delhi as under:-

         (i) Interview with legal adviser:

         Interview with legal adviser in connection with defence of a detenu in a criminal case
         or in regard to writ petitions and the like, may be allowed by prior appointment, in
         the presence of an officer of Customs/Central Excise/ Enforcement to be nominated
         by the local Collector of Customs/Central Excise or Deputy Director of Enforcement
         who sponsors the case for detention.

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         7
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 64 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

         (ii) Interview with family members:

         A monthly interview may be permitted for members of the family consisting of wife,
         children or parents of the detenu .........."

The petitioner, therefore, preferred a petition in this Court under Article 32 challenging the
constitutional validity of sub-clauses (i) and (ii) of clause 3(b) of the Conditions of Detention Order
and praying that the Administrator of the Union Territory of Delhi and the Superintendent of Tihar
Central Jail be directed to permit her to have interview with her lawyer and the members of her
family without complying with the restrictions laid down in those sub-clauses.

The principal ground on which the constitutional validity of sub-clauses (i) and (ii) of clause 3(b) of
the Conditions of Detention Order was challenged was that these provisions were violative of
Articles 14 and 21 of the Constitution inasmuch as they were arbitrary and unreasonable. It was
contended on behalf of the petitioner that allowing interview with the members of the family only
once in a month was discriminatory and unreasonable, particularly when under-trial prisoners were
granted the facility of interview with relatives and friends twice in a week under Rule 559A and
convicted prisoners were permitted to have interview with their relatives and friends once in a week
under Rule 550 of the Rules set out in the Manual for the Superintendence and Management of Jails
in the Punjab. The petitioner also urged that a detenu was entitled under Article 22 of the
Constitution to consult and be defended by a legal practitioner of his choice and she was, therefore
entitled to the facility of interview with a lawyer whom he wanted to consult or appear for him in a
legal proceeding and the requirement of prior appointment for interview and of the presence of a
Customs or Excise Officer at the interview was arbitrary and unreasonable and therefore violative of
Articles 14 and 21. The respondents resisted the contentions of the petitioner and submitted that
sub- clauses (i) and (ii) of clause 3(b) were not violative of Articles 14 and 21, since the restrictions
imposed by them were reasonable, fair and just, but stated that they would have no objection if
instead of a monthly interview, the petitioner was granted the facility of interview with her daughter
and sister twice in a week as in the case of under- trial prisoners and so far as interview with the
lawyer is concerned, they would not insist on the presence of a customs or excise officer at the
interview. Though these two concessions were made on behalf of the respondents at the hearing of
the petition before us, the question still remains whether sub-clause (i) and (ii) of cl. 3(b) are valid
and it is necessary that we should examine this question in the context of our constitutional values,
since there are a large number of detenus under the COFEPOSA Act and the conditions of their
detention in regard to interviews must be finally settled by this Court.

Now it is necessary to bear in mind the distinction between 'preventive detention' and punitive
detention', when we are considering the question of validity of conditions of detention. There is a
vital distinction between these two kinds of detention. 'Punitive detention' is intended to inflict
punishment on a person, who is found by the judicial process to have committed an offence, while
'preventive detention' is not by way of punishment at all, but it is intended to pre-empt a person
from indulging in conduct injurious to the society. The power of preventive detention has been
recognised as a necessary evil and is tolerated in a free society in the larger interest of security of the
State and maintenance of public order. It is a drastic power to detain a person without trial and

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         8
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 65 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

there are many countries where it is not allowed to be exercised except in times of war or aggression.
Our Constitution does recognise the existence of this power, but it is hedged-in by various
safeguards set out in Articles 21 and 22. Art. 22 in clauses (4) to (7), deals specifically with
safeguards against preventive detention and any law of preventive detention or action by way of
preventive detention taken under such law must be in conformity with the restrictions laid down by
those clauses on pain of invalidation. But apart from Art. 22, there is also Art. 21 which lays down
restrictions on the power of preventive detention. Until the decision of this Court in Maneka
Gandhi. v. Union of India, a very narrow and constricted meaning was given to the guarantee
embodied in Art. 21 and that article was understood to embody only that aspect of the rule of law,
which requires that no one shall be deprived of his life or personal liberty without the authority of
law. It was construed only as a guarantee against executive action unsupported by law. So long as
there was some law, which prescribed a procedure authorising deprivation of life or personal liberty,
it was supposed to meet the requirement of Art. 21. But in Maneka Gandhi's case (supra), this Court
for the first time opened-up a new dimension of Art. 21 and laid down that Art. 21 is not only a
guarantee against executive action unsupported by law, but is also a restriction on law making. It is
not enough to secure compliance with the prescription of Article 21 that there should be a law
prescribing some semblance of a procedure for depriving a person of his life or personal liberty, but
the procedure prescribed by the law must be reasonable, fair and just and if it is not so, the law
would be void as violating the guarantee of Art. 21. This Court expanded the scope and ambit of the
right to life and personal liberty enshrined in Art. 21 and sowed the seed for future development of
the law enlarging this most fundamental of Fundamental Rights. This decision in Maneka Gandhi's
case became the starting point-the-spring-board-for a most spectacular evolution the law
culminating in the decisions in M. O. Hoscot v.

State of Maharashtra,, Hussainara Khatoon's case, the first Sunil Batra's case and the second Sunil
Batra's case. The position now is that Art. 21 as interpreted in Maneka Gandhi's case (supra)
requires that no one shall be deprived of his life or personal liberty except by procedure established
by law and this procedure must be reasonable, fair and just and not arbitrary, whimsical or fanciful
and it is for the Court to decide in the exercise of its constitutional power of judicial review whether
the deprivation of life or personal liberty in a given case is by procedure, which is reasonable, fair
and just or it is otherwise. The law of preventive detention has therefore now to pass the test not
only of Art. 22, but also of Art. 21 and if the constitutional validity of any such law is challenged, the
Court would have to decide whether the procedure laid down by such law for depriving a person of
his personal liberty is reasonable, fair and just. But despite these safeguards laid down by the
Constitution and creatively evolved by the Courts, the power of preventive detention is a frightful
and awesome power with drastic consequences affecting personal liberty, which is the most
cherished and prized possession of man in a civilised society. It is a power to be exercised with the
greatest care and caution and the courts have to be ever vigilant to see that this power is not abused
or misused. It must always be remembered that preventive detention is qualitatively different from
punitive detention and their purposes are different. In case of punitive detention, the person
concerned is detained by way of punishment after he is found guilty of wrong doing as a result of
trial where he has the fullest opportunity to defend himself, while in case of preventive detention, he
is detained merely on suspicion with a view to preventing him from doing harm in future and the
opportunity that he has for contesting the action of the Executive is very limited. Having regard to

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         9
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 66 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

this distinctive character of preventive detention, which aims not at punishing an individual for a
wrong done by him, but at curtailing his liberty with a view to pre-empting his injurious activities in
future, it has been laid down by this Court in Sampat Prakash v. State of Jammu and Kashmir "that
the restrictions placed on a person preventively detained must, consistently with the effectiveness of
detention, be minimal."

The question which then arises is whether a person preventively detained in a prison has any rights
which he can enforce in a Court of law. Once his freedom is curtailed by incarceration in a jail, does
he have any fundamental rights at all or does he leave them behind, when he enters the prison gate ?
The answer to this question is no longer res integra. It has been held by this Court in the two Sunil
Batra cases that "fundamental rights do not flee the person as he enters the prison although they
may suffer shrinkage necessitated by incarceration." The prisoner or detenu has all the fundamental
rights and other legal rights available to a free person, save those which are incapable of enjoyment
by reason of incarceration. Even before the two Sunil Batra cases, this position was impliedly
accepted in State of Maharashtra v. Prabhakar Sanzgiri and it was spelt-out clearly and in no
uncertain terms by Chandrachud, J. as he then was, in D. B. Patnaik v. State of Andhra Pradesh :

         "Convicts are not, by mere reason of the conviction, denuded of all the fundamental
         rights which they otherwise possess. A compulsion under the authority of law,
         following upon a conviction, to live in a prison-house entails to by its own force the
         deprivation of fundamental freedoms like the right to move freely throughout the
         territory of India or the right to "practise" a profession. A man of profession would
         thus stand stripped of his right to hold consultations while serving out his sentence.
         But the Constitution guarantees other freedoms like the right to acquire, hold and
         dispose of property for the exercise of which incarceration can be no impediment.
         Likewise, even a convict is entitled to the precious right guaranteed by Art. 21 of the
         Constitution that he shall not be deprived of his life or personal liberty except
         according to procedure established by law."

This statement of the law was affirmed by a Bench of five Judges of this Court in the first Sunil Batra
case (supra) and by Krishna Iyer, J. speaking on behalf of the Court in the second Sunil Batra case
(supra). Krishna Iyer, J. in the latter case proceeded to add in his characteristic style; "The
jurisdictional reach and range of this Court's writ to hold prison caprice and cruelty in constitutional
leash is incontestable" and concluded by observing; "Thus it is now clear law that a prisoner wears
the armour of basic freedom even behind bars and that on breach thereof by lawless officials the law
will respond to his distress signals through 'writ' aid. The Indian human has a constant
companion-the Court armed with the Constitution."

It is interesting to note that the Supreme Court of the United States has also taken the same view in
regard to rights of prisoners. Mr. Justice Douglas struck a humanistic note when he said in Eve
Pall's case :

         "Prisoners are still persons entitled to all constitutional rights unless their liberty has
         been constitutionally curtailed by procedures that satisfy all the requirements of due

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         10
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 67 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

         process."

So also in Charles Wolff's case, Mr. Justice White made the same point in emphatic terms.

         "But, though his rights may be diminished by environment, a prisoner is not wholly
         stripped off constitutional protections, when he is imprisoned for crime. There is no
         iron curtain drawn between the Constitution and the prisons of this country."

Mr. Justice Douglas reiterated his thesis when he asserted:

         "Every prisoner's liberty i.e. of courses, circumscribed by the very fact of his
         confinement, but his interest in the limited liberty left to him is then only the more
         substantial. Conviction of a crime does not render one a non-person whose rights are
         subject to the whim of the prison administration, and therefore, the imposition of any
         serious punishment within the system requires procedural safeguards."

Mr. Justice Marshall also expressed himself clearly and explicitly in the same terms:

         "I have previously stated my view that a prisoner does not shed his basic
         constitutional rights at the prison gate, and I fully support the court's holding that the
         interest of inmates in freedom from imposition of serious discipline is a 'liberty'
         entitled to due process protection."

What is stated by these learned Judges in regard to the rights of a prisoner under the Constitution of
the United States applies equally in regard to the rights of a prisoner or detenu under our
constitutional system. It must, therefore, now be taken to be well-settled that a prisoner or detenu is
not stripped of his fundamental or other legal rights, save those which are inconsistent with his
incarceration, and if any of these rights are violated, the Court which is to use the words of Krishna
Iyer, J., "not a distant abstraction omnipotent in the books but an activist institution which is the
cynosure of public hope," will immediately spring into action and run to his rescue.

We must therefore proceed to consider whether any of the Fundamental Rights of the detenu are
violated by sub- clauses (i) and (ii) of clause 3(b) so as to result in their invalidation wholly or in
part. We will first take up for consideration the Fundamental Right of the detenu under Article 21
because that is a Fundamental Right which has, after the decision in Maneka Gandhi's case (supra),
a highly activist magnitude and it embodies a constitutional value of supreme importance in a
democratic society. It provides that no one shall be deprived of his life or personal liberty except
according to procedure established by law and such procedure shall be reasonable fair, and just.
Now what is the true scope and ambit of the right to life guaranteed under this Article ? While
arriving at the proper meaning and content of the right to life, we must remember that it is a
constitutional provision which we are expounding and moreover it is a provision enacting a
Fundamental right and the attempt of the court should always be to expand the reach and ambit of
the Fundamental right rather than to attenuate its meaning and content. The luminous guideline in
the interpretation of a constitutional provision is provided by the Supreme Court of United States in

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         11
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 68 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

Weems v. U. S. 54 Lawyers Edition 801.

         "Legislation, both statutory and constitutional is enacted, it is true, from an
         experience of evils, but- its general language should not, therefore, be necessarily
         confined to the form that evil had, therefore taken. Time works changes, brings into
         existence new conditions and purposes. Therefore, a principle, to be vital, must be
         capable of wider application than mischief which gave it birth. This is peculiarly true
         of constitutions. They are not ephemeral enactments designed to meet passing
         occasions. They are, to use the words of Chief Justice Marshall, "designed to
         approach immorality as nearly as human institutions can approach it" The future is
         their care, and provisions for events of good and bad tendencies of which no
         prophecy can be made. In the application of a constitution, therefore, our
         contemplation cannot be only of what has been, but of what may be. Under any other
         rule a constitution would indeed be as easy of application as it would be deficient in
         efficacy and power. Its general principles would have little value, and be converted by
         precedent into important and lifeless formulas. Rights declared in the words might be
         lost in reality. And this has been recognised. The meaning and vitality of the
         Constitution have developed against narrow and restrictive construction."

This principle of interpretation which requires that a Constitutional provision must be construed,
not in a narrow and constricted sense but in a wide and liberal manner so as to anticipate and take
account of changing conditions and purposes so that the Constitutional provision does not get
atrophied or fossilized but remains flexible enough to meet the newly emerging problems and
challenges, applies with greater force in relation to a fundamental right enacted by the Constitution.
The fundamental right to life which is the most precious human right and which forms the ark of all
other rights must therefore be interpreted in a broad and expansive spirit so as to invest it with
significance and vitality which may endure for years to come and enhance the dignity of the
individual and the worth of the human person.

Now obviously, the right to life enshrined in Article 21 can not be restricted to mere animal
existence. It means something much more than just physical survival. In Kharak Singh v. State of
Uttar Pradesh Subba Rao J. quoted with approval the following passage from the judgment of Field
J. in Munn v. Illinois to emphasize the quality of life covered by Article 21:

         "By the term "life" as here used something more is meant than mere animal
         existence. The inhibition against its deprivation extends to all those limbs and
         faculties by which life is enjoyed. The provision equally prohibits the mutilation of
         the body or amputation of an arm or leg or the putting out of an eye or the
         destruction of any other organ of the body through which the soul communicates
         with the outer world."

and this passage was again accepted as laying down the correct law by the Constitution Bench of this
Court in the first Sunil Batra case (supra). Every limb or faculty through which life is enjoyed is thus
protected by Article 21 and a fortiorari, this would include the faculties of thinking and feeling. Now

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         12
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 69 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

deprivation which is inhibited by Article 21 may be total or partial, neither any limb or faculty can be
totally destroyed nor can it be partially damaged. Moreover it is every kind of deprivation that is hit
by Article 21, whether such deprivation be permanent or temporary and, furthermore, depriva-

tion is not an act which is complete once and for all: it is a continuing act and so long as it lasts, it
must be in accordance with procedure established by law. It is therefore clear that any act which
damages or injures or interferes with the use of, any limb or faculty of a person, either permanently
or even temporarily, would be within the inhibition of Article 21.

But the question which arises is whether the right to life is limited only to protection of limb or
faculty or does it go further and embrace something more. We think that the right to life includes
the right to live with human dignity and all that goes along with it, namely, the bare necessaries of
life such as adequate nutrition, clothing and shelter and facilities for reading, writing and expressing
one-self in diverse forms, freely moving about and mixing and commingling with fellow human
beings. Of course, the magnitude and content of the components of this right would depend upon
the extent of the economic development of the country, but it must, in any view of the matter,
include the right to the basic necessities of life and also the right to carry on such functions and
activities as constitute the bare minimum expression of the human-self. Every act which offends
against or impairs human dignity would constitute deprivation protanto of this right to live and it
would have to be in accordance with reasonable, fair and just procedure established by law which
stands the test of other fundamental rights. Now obviously, any form of torture or cruel, inhuman or
degrading treatment would be offensive to human dignity and constitute an inroad into this right to
live and it would, on this view, be prohibited by Article 21 unless it is in accordance with procedure
prescribed by law, but no law which authorises and no procedure which leads to such torture or
cruel, inhuman or degrading treatment can ever stand the test of reasonableness and
non-arbitrariness: it would plainly be unconstitutional and void as being violative of Articles 14 and
21. It would thus be seen that there is implicit in Article 21 the right to protection against torture or
cruel, inhuman or degrading treatment which is enunciated in Article 5 of the Universal Declaration
of Human Rights and guaranteed by Article 7 of the International Covenant on Civil and Political
Rights. This right to live which is comprehended within the broad connotation of the right to life can
concededly be abridged according to procedure established by law and therefore when a person is
lawfully imprisoned, this right to live is bound to suffer attenuation to the extent to which it is
incapable of enjoyment by reason of incarceration. The prisoner or detenu obviously cannot move
about freely by going outside the prison walls nor can he socialise at his free will with persons
outside the jail. But, as part of the right to live with human dignity and therefore as a necessary
component of the right to life, he would be entitled to have interviews with the members of his
family and friends and no prison regulation or procedure laid down by prison regulation regulating
the right to have interviews with the members of the family and friends can be upheld as
constitutionally valid under Articles 14 and 21, unless it is reasonable, fair and just.

The same consequence would follow even if this problem is considered from the point of view of the
right to personal liberty enshrined in Article 21, for the right to have interviews with members of the
family and friends is clearly part of personal liberty guaranteed under that Article. The expression
'personal liberty' occurring in Article 21 has been given a broad and liberal interpretation in Maneka

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         13
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 70 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

Gandhi's case (supra) and it has been held in that case that the expression 'personal liberty used in
that Article is of the widest amplitude and it covers a variety of rights which go to constitute the
personal liberty of a man and it also includes rights which "have been raised to the status of distinct
Fundamental Rights and given additional protection under Article 19". There can therefore be no
doubt that 'personal liberty would include the right to socialise with members of the family and
friends subject, of course, to any valid prison regulations and under Articles 14 and 21, such prison
regulations must be reasonable and non-arbitrary. If any prison regulation or procedure laid down
by it regulating the right to have interviews with members of the family and friends is arbitrary or
unreasonable, it would be liable to be struck down as invalid as being violative of Articles 14 and 21.

Now obviously when an under-trial prisoner is granted the facility of interviews with relatives and
friends twice in a week under Rule 559A and a convicted prisoner is permitted to have interviews
with his relatives and friends once in a week under Rule 550, it is difficult to understand how
sub-clause (ii) of Clause 3(b) of the Conditions of Detention Order, which restricts the interview only
to one in a month in case of a detenu, can possibly be regarded as reasonable and non-arbitrary,
particularly when a detenu stands on a higher pedestal than an under-trial prisoner or a convict and,
as held by this Court in Sampath Prakash's case (supra) restrictions placed on a detenu must
"consistent with the effectiveness of detention, be minimal." We would therefore unhesitatingly hold
sub-clause

(ii) of clause 3(b) to be violative of Articles 14 and 21 in so far as it permits only one interview in a
month to a detenu. We are of the view that a detenu must be permitted to have atleast two
interviews in a week with relatives and friends and it should be possible for a relative or friend to
have interview with the detenu at any reasonable hour on obtaining permission from the
Superintendent of the Jail and it should not be necessary to seek the permission of the District
Magistrate, Delhi, as the latter procedure would be cumbrous and unnecessary from the point of
view of security and hence unreasonable. We would go so far as to say that even independently of
Rules 550 and 559A, we would regard the present norm of two interviews in a week for prisoners as
furnishing a criterion of what we would consider reasonable and non-arbitrary.

The same reasoning must also result in invalidation of sub-clause (i) of clause 3(b) of the Conditions
of Detention Order which prescribes that a detenu can have interview with a legal adviser only after
obtaining prior permission of the District Magistrate, Delhi and the interview has to take place in
the presence of an officer of Customs/Central Excise/Enforcement to be nominated by the local
Collector of Customs/Central Excise or Deputy Director of Enforcement who has sponsored the case
for detention. The right of a detenu to consult a legal adviser of his choice for any purpose not
necessarily limited to defence in a criminal proceeding but also for securing release from preventive
detention of filing a writ petition or prosecuting any claim or proceeding, civil or criminal, is
obviously included in the right to live with human dignity and is also part of personal liberty and the
detenu cannot be deprived of this right nor can this right of the detenu be interfered with except in
accordance with reasonable, fair and just procedure established by a valid law. A prison regulation
may, therefore, regulate the right of a detenu to have interview with a legal adviser in a manner
which is reasonable, fair and just but it cannot prescribe an arbitrary or unreasonable procedure for
regulating such an interview and if it does so, it would be violative of Articles 14 and 21. Now in the

Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         14
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 71 of 109
                              Francis Coralie Mullin vs The Administrator, Union ... on 13 January, 1981

present case the legal adviser can have interview with a detenu only by prior appointment after
obtaining permission of the District Magistrate, Delhi. This would obviously cause great hardship
and inconvenience because the legal adviser would have to apply to the District Magistrate, Delhi
well in advance and then also the time fixed by the District Magistrate, Delhi may not be suitable to
the legal adviser who would ordinarily be a busy practitioner and, in that event, from a practical
point of view the right to consult a legal adviser would be rendered illusory. Moreover, the interview
must take place in the presence of an officer of Customs/Central Excise/Enforcement to be
nominated by the local Collector of Customs/Central Excise or Deputy Director of Enforcement who
has sponsored the detention and this too would seem to be an unreasonable procedural requirement
because in order to secure the presence of such officer at the interview, the District Magistrate, Delhi
would have to fix the time for the interview in consultation with the Collector of Customs/Central
Excise or the Deputy Director of Enforcement and it may become difficult to synchronise the time
which suits the legal adviser with the time convenient to the concerned officer and furthermore if
the nominated officer does not, for any reason, attend at the appointed time, as seems to have
happened on quite a few occasions in the case of the petitioner, the interview cannot be held at all
and the legal adviser would have to go back without meeting the detenu and the entire procedure for
applying for an appointment to the District Magistrate, Delhi would have to be gone through once
again. We may point out that no satisfactory explanation has been given on behalf of the
respondents disclosing the rationale of this requirement.

We are therefore of view that sub-clause (i) of clause 3(b) regulating the right of a detenu to have
interview with a legal adviser of his choice is violative of Arts. 14 and 21 and must be held to be
unconstitutional and void. We think that it would be quite reasonable if a detenu were to be entitled
to have interview with his legal adviser at any reasonable hour during the day after taking
appointment from the Superintendent of the Jail, which appointment should be given by the
Superintendent without any avoidable delay. We may add that the interview need not necessarily
take place in the presence of a nominated officer of Customs/Central Excise/Enforcement but if the
presence of such officer can be conveniently secured at the time of the interview without involving
any postponement of the interview, then such officer and if his presence cannot be so secured, then
any other Jail official may, if thought necessary, watch the interview but not as to be within hearing
distance of the detenu and the legal adviser.

We accordingly allow the writ petition and grant relief to the extent indicated above.

         V.D.K.                                                            Petition allowed.




Indian Kanoon - http://indiankanoon.org/doc/78536/                                                         15
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 72 of 109
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 73 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

Supreme Court of India
V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009
Author: R Lodha
Bench: Tarun Chatterjee, R.M. Lodha, B.S. Chauhan
                                                                                                             Reportable

                                  IN THE SUPREME COURT OF INDIA
                                CRIMINAL ORIGINAL JURISDICTION

                                WRIT PETITION (CRL.) NO.112/2007



         Dr. V. Ravi Chandran                                                                     ..Petitioner

                                                       Versus

         Union of India & Ors.                                                            ..Respondents




                                                 JUDGMENT


R.M. LODHA, J.

Adithya is a boy of seven, born on July 1, 2002, in the United States of America. He is a foreign
national. The petition before us is by the father - Dr. V . Ravi Chandran--praying for a writ of habeas
corpus for the production of his minor son Adithya and for handing over the custody and his
passport to him.

2. On August 28, 2009, this Court passed an order requesting Director, Central Bureau of
Investigation (CBI) to trace minor Adithya and produce him before this Court. The necessity of such
order arose as despite efforts made by the police officers and officials of different states, Adithya and
his mother - respondent no. 6--Vijayasree Voora--could not be traced and their whereabouts could
not be found for more than two years since the notice was issued by this Court. In pursuance of the
order dated August 28, 2009, CBI issued look out notices on all India basis through heads of police
of States, Union Territories and Metropolitan Cities and also alert notices through Deputy Director,
Bureau of Immigration (Immigration), Ministry of Home Affairs, New Delhi and flashed
photographs of the child Adithya and his mother Vijayasree Voora. Ultimately with its earnest
efforts, CBI traced Adithya and his mother Vijayashree Voora in Chennai on October 24, 2009 and
brought them to Delhi and produced the child along with his mother at the residential office of one
of us (Tarun Chatterjee, J.) on October 25, 2009. On that day, the CBI authorities were directed to
keep the child under their custody and produce him before the Court on October 27, 2009.
Respondent no. 6 was also directed to be produced on that date. On October 27, 2009, the matter
was adjourned for November 4, 2009 since respondent no.6 wanted to engage a lawyer and file a
counter affidavit. On November 4, 2009, matter was adjourned to November 10, 2009 and then to
November 12, 2009. The petitioner was permitted to meet the child for one hour on November 10,
2009 and November 12, 2009. In the meanwhile, respondent no. 6 has filed counter affidavit in

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                                       1
         Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 74 of 109
                                         V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

opposition to the habeas corpus petition and petitioner has filed rejoinder affidavit to the counter
affidavit filed by respondent no.6.

3. We heard Ms. Pinky Anand, learned senior counsel for the petitioner and Mr. T.L.V. Iyer, learned
senior counsel for respondent no. 6. Now since minor Adithya has been produced, the only question
that remains to be considered is with regard to the prayer made by the petitioner for handing over
the custody of minor Adithya to him with his passport.

4. But before we do that, it is necessary to notice few material facts. Dr. V. Ravi Chandran -
petitioner - is an American citizen. He and respondent no. 6 got married on December 14, 2000 at
Tirupathi, Andhra Pradesh according to Hindu rites. On July 1, 2002, Adithya was born in United
States of America. In the month of July 2003, respondent no. 6 approached the New York State
Supreme Court for divorce and dissolution of marriage. A consent order governing the issues of
custody and guardianship of minor Adithya was passed by the New York State Supreme Court on
April 18, 2005. The Court granted joint custody of the child to the petitioner and respondent no. 6
and it was stipulated in the order to keep the other party informed about the whereabouts of the
child. On July 28, 2005, a Separation Agreement was entered between the petitioner and
respondent no.6 for distribution of marital property, spouse maintenance and child support. As
regards custody of the minor son Adithya and parenting time, the petitioner and respondent no. 6
consented to the order dated April 18, 2005. On September 8, 2005, the marriage between the
petitioner and respondent no.6 was dissolved by the New York State Supreme Court. Child custody
order dated April 18, 2005 was incorporated in that order.

5. Upon the petition for modification of custody filed by the petitioner and the petition for
enforcement filed by him and upon the petition for enforcement filed by respondent no.6 before the
Family Court of the State of New York, on June 18, 2007, upon the consent of both parties, inter -
alia, the following order came to be passed:

"ORDERED, the parties shall share joint legal and physical custody of the minor child; and it is
further ORDERED, that commencing during August 2007, Adithya shall reside in Allen, Texas; and
it is further ORDERED, that the parties acknowledge that it is the intention of the parties to reside
within the same community. As such, it is the mother's current intention to relocate to Texas, within
a forty (40) mile radius of the father's residence. If the mother does relocate to a forty (40) mile
radius of the father's residence (which shall be within a twenty (20) mile radius from the child's
school),, the parties shall equally share physical custody of Adithya. The parties shall alternate
physical custody on a weekly basis, with the exchange being on Friday, at the end of the School day,
or at the time when school would ordinarily let out in the event that there is no school on Friday;
................ ..................................................................... .....................................................................

ORDERED, that in the event that the mother does not relocate within forty (40) miles from the
father's residence located in Allen, Texas (and within twenty (20) miles of Adithya's school), the
mother shall have custodial time with the minor child, as follows:




Indian Kanoon - http://indiankanoon.org/doc/376248/                                                                                                       2
         Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 75 of 109
                                           V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

A. On Alternating weekends from Friday, at the end of the school day until Monday, prior to the
beginning of school, commencing during the first week of September, 2007. Such periods of
custodial time shall take place within forty (40) miles from the father's residence located in Allen,
Texas. In the event that there is no school on the Friday of the mother's weekend, she shall have
custodial time with the child beginning at 7.00 a.m. on Friday morning, and, in the event that there
is no school on Monday of the mother's custodial weekend, she shall have custodial time until 5.00
p.m. on Monday, and B. For ten (10) consecutive days during Spring vacation from school; and C.
For the entirety of the Christmas recess from School, except for Christmas Eve and Christmas day,
which shall be with the father. In the event that the school recess is prior to Christmas Eve, the
mother shall have the right to have custodial time during those recessed days to long as she
produces the child at the father's residence for Christmas Eve and Christmas day ; and D. During the
following holidays:

i) Mother's birthday, which is on April 25;

ii) Mother's Day;

iii) Hindu Festival of Diwali and Deepavali;

iv) Adithya's birthday (July 1) in alternating years;

v) Thanks giving in alternating years (so that the mother has custodial time during even -

numbered years and the father has custodial time during odd - numbered years);

vi) New Year's Day in alternating years (so that the mother has custodial time during even -

numbered years and the father has custodial time during odd -numbered years) ;............ .................

............................................................

ORDERED, that the parties shall share the summer recess from school so that the mother has
custodial time for a total of up to fifty (50) days on a schedule so that each party has custodial time
for 4 consecutive weeks, with the mother's custodial time commencing on the Monday following the
final day of school..........

ORDERED, for the summer of 2007, the mother shall have custodial time from June 18 until June
20; the father shall have custodial time from June 20 until June 24; the mother shall have custodial
time from June 25 until July 1; the father shall have custodial time from July 1 until July 6; and the
mother shall then have custodial time from July 6 until August 3 and she shall be solely responsible
for transporting the child to the father's residence in Allen, Texas on August 3. The father shall have
custodial time until the commencement of school. Thereafter the father shall continue to have
custodial time until such time as the mother either a) returns from India and/or begins her
alternating weekly schedule as set froth herein, or b) moves within 40 miles of the father's residence

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                            3
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 76 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

in Allen, Texas and commences her custodial time during alternating weeks;....................................
............................................................. .............................................................

ORDERED, that each party agrees that they shall provide the other parent with a phone number and
address where the child will be located at all time, and that the other parent shall have reasonable
and regular telephone communication with the minor child; and it is further ORDERED, that each
party agrees to provide the other party with the child's passport during each custodial exchange of
the minor child, and that each party shall sign and deliver to the other, whatever written
authorization may be necessary for travel with the child within the Continental United States or
abroad;"..............................................

6. On June 28, 2007 respondent no.6 brought minor Adithya to India informing the petitioner that
she would be residing with her parents in Chennai. On August 08, 2007, the petitioner filed the
petition for modification (Custody) and Violation Petition (Custody) before the Family Court of the
State of New York on which a show cause notice came to be issued to respondent no.6. On that very
day, the petitioner was granted temporary sole legal and physical custody of Adithya and respondent
no. 6 was directed to immediately turn over the minor child and his passport to the petitioner and
further her custodial time with the minor child was suspended and it was ordered that the issue of
custody of Adithya shall be heard in the jurisdiction of the United States Courts, specifically, the
Albany County Family Court.

7. It transpires that the Family Court of the State of New York has issued child abuse non-bailable
warrants against respondent no.6.

8. In the backdrop of the aforenoticed facts, we have to consider--now since the child has been
produced--what should be the appropriate order in the facts and circumstances keeping in mind the
interest of the child and the orders of the courts of the country of which the child is a national.

9. In re B--'s Settlement,1 Chancery Division was concerned with an application for custody by the
father of an infant who had been made a ward of court. The father was a Belgian national and the
mother a British national who took Belgian nationality on marriage to him. The infant was born in
Belgium. The mother was granted a divorce by a judgment of the Court in Belgium, but the
judgment was reversed and the father became entitled to custody by the common {1940} Ch. 54 law
of Belgium. The mother, who had gone to live in England, visited Belgium and was by arrangement
given the custody of the infant for some days. She took him to England and did not return him. The
infant had been living with mother in England for nearly two years. The father began divorce
proceedings in Belgium, and the Court appointed him guardian. Pending the proceedings, the Court
gave him the custody and ordered the mother to return the infant within twenty-four hours of
service of the order on her. She did not return the infant. The Correctional Court in Brussels fined
her for disobedience and sentenced her to imprisonment should the fine be not paid. The
Correctional Court also confirmed the custody order. In the backdrop of these facts, the summons
taken out by the father that custody of the infant be given to him came up before Morton, J. who
after hearing the parties and in view of the provisions of the Guardianship of Infants Act, 1925
observed thus:

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                                      4
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 77 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

         "...At the moment my feeling is very strong that, even assuming in the father's favour
         that there is nothing in his character or habits which would render him unfitted to
         have the custody of the child, the welfare of the child requires, in all the
         circumstances as they exist, that he should remain in England for the time
         being..............................

In the present case the position is that nearly two years ago, when the child was already in England,
an interlocutory order was made by the Divorce Court in Belgium giving the custody of the child to
the father I do not know how far, if at all, the matter was considered on the footing of what was best
for the child at that time, or whether it was regarded as a matter of course that the father, being the
guardian by the common law of Belgium and the applicant in the divorce proceedings and the only
parent in Belgium, should be given the custody. I cannot regard that order as rendering it in any way
improper or contrary to the comity of nations if I now consider, when the boy has been in this
country for nearly two years, what is in the best interests of the boy. I do not think it would be right
for the Court, exercising its jurisdiction over a ward who is in this country, although he is a Belgian
national, blindly to follow the order made in Belgium on October 5, 1937. I think the present case
differs from Nugent v. Vetzera {FN10}, the case that was before Page Wood V.-C., and it is to be
observed that even in that case, and in the special circumstances of that case, the Vice-Chancellor
guarded himself against anything like abdication of the control of this Court over its wards. It does
not appear what the Vice-Chancellor's view would have been if there had been evidence, for
example, that it would be most detrimental to the health and well-being of the children if they were
removed from England and sent to Austria.................................................. ........I ought to give due
weight to any views formed by the Courts of the country whereof the infant is a national. But I desire
to say quite plainly that in my view this Court is bound in every case, without exception, to treat the
welfare of its ward as being the first and paramount consideration, whatever orders may have been
made by the Courts of any other country.".................. .................. .............

10. In Mark T. Mc.Kee vs. Eyelyn McKee2, the Privy Council was concerned with an appeal from the
Supreme Court of Canada. That was a case where the parents of the infant were American {1951}
A.C. 352 citizens. They were married in America and to whom a son was born in California in July
1940. They separated in December 1940 and on September 4, 1941, executed an agreement which
provided, inter- alia, that neither of them should remove the child out of the United States without
the written permission of the other. By a judgment of December 17, 1942, in divorce proceedings
before the Superior Court of the State of California, the custody of the child was awarded to the
father. On August 1, 1945, following applications by the father and the mother, the previous order as
to custody was modified to provide full custody of the child to the mother with right of reasonable
visitation to the father. Thereafter, and without the consent or knowledge of the mother, the father
went from the United States of America with the child into the Province of Ontario. The mother
thereupon instituted habeas corpus proceedings in the Supreme Court of Ontario seeking to have
the child delivered to her. Wells, J., before whom the matter came held that infant's best interests
would be served in the custody of his father. The Court of Appeal for Ontario dismissed the appeal
preferred by the mother. However, the Supreme Court of Canada by majority judgment allowed the
appeal of the mother and set aside the order of custody of child to the father. On appeal from the
Supreme Court of Canada at the instance of the father, the Privy Council held as follows:

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                                 5
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 78 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

         "..........For, after reaffirming "the well established general rule that in all questions
         relating to the custody of an infant the paramount consideration is the welfare of the
         infant", he observed that no case had been referred to which established the
         proposition that, where the facts were such as he found them to exist in the case, the
         salient features of which have been stated, a parent by the simple expedient of taking
         the child with him across the border into Ontario for the sole purpose of avoiding
         obedience to the judgment of the court, whose jurisdiction he himself invoked,
         becomes "entitled as of right to have the whole question retried in our courts and to
         have them reach a anew and independent judgment as to what is best for the infant".
         and it is, in effect, because he held that the father had no such right that the judge
         allowed the appeal of the mother, and that the Supreme Court made the order
         already referred to.

But with great respect to the judge, this was not the question which had to be determined. It is
possible that a case might arise in which it appeared to a court, before which the question of custody
of an infant came, that it was in the best interests of that infant that it should not look beyond the
circumstances in which its jurisdiction was invoked and for that reason give effect to the foreign
judgment without further inquiry. But it is the negation of the proposition, from which every
judgment in this case has proceeded, namely, that the infant's welfare is the paramount
consideration, to say that where the trial judge has in his discretion thought fit not to take the
drastic course above indicated, but to examine all the circumstances and form an independent
judgment, his decision ought for that reason to be overruled. Once it is conceded that the court of
Ontario had jurisdiction to entertain the question of custody and that it need not blindly follow an
order made by a foreign court, the consequence cannot be escaped that it must form an independent
judgment on the question, though in doing so it will give proper weight to the foreign judgment.
What is the proper weight will depend on the circumstances of each case. It may be that, if the
matter comes before the court of Ontario within a very short time of the foreign judgment and there
is no new circumstance to be considered, the weight may be so great that such an order as the
Supreme Court made in this case could be justified. But if so, it would be not because the court of
Ontario, having assumed jurisdiction, then abdicated it, but because in the exercise of its
jurisdiction it determined what was for the benefit of the infant.

It cannot be ignored that such consequences might follow as are suggested by Cartwright, J. The
disappointed parent might meet stratagem by stratagem and, taking the child into the Province of
Manitoba, invoke the protection of its courts, whose duty it would then be to determine the question
of custody. That is a consideration which, with others, must be weighed by the trial judge. It is not,
perhaps, a consideration which in the present case should have weighed heavily.

It has been said that the weight or persuasive effect of a foreign judgment must depend on the
circumstances of each case. In the present case there was ample reason for the trial judge, in the first
place, forming the opinion that he should not take the drastic course of following it without
independent inquiry and, in the second place, coming to a different conclusion as to what was for
the infant's benefit."...................................



Indian Kanoon - http://indiankanoon.org/doc/376248/                                                    6
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 79 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

11. The aforesaid two cases came up for consideration in Harben vs. Harben3, wherein Sachs J.
observed as follows:

         "It has always been the practice of this court to ensure that a parent should not gain
         advantage by the use of fraud or force in relation to the kidnapping of children from
         the care of the other spouse, save perhaps where there is some quite overwhelming
         reason in the children's interest why the status quo should not be restored by the
         court before deciding further issues. In the present case I am concerned with three
         young children, two of whom are girls and the youngest is aged only three. It is a
         particularly wicked thing to snatch such children from the care of a mother, and, in
         saying that, I have in mind not merely the mother's position but the harm that can be
         done {1957} 1. W.L.R. 261 to the children. No affidavit of the husband tendering
         either his regrets or any vestige of excuse for his action has been proffered. Further,
         as I have already mentioned, when first I asked Mr. Syms what was the nature of the
         case which he might wish to make, if so minded, for depriving these children of a
         mother's care, he only spoke of her association with a certain man and never
         suggested that she had in any way whatsoever failed to look after the children
         properly."

12. In Kernot vs. Kernot4 , the facts were thus: In May 1961, the plaintiff mother, an Italian lady,
married an English man in Italy where both were residents. A boy was born there on March 29,
1962. On October 19, 1963, they obtained in Italian Court a separation order by consent providing
therein that custody of the child would remain with father, with rights of access to the mother . On
October 29, 1963, the father brought the infant to England with intention to make England his
home. The mother commenced wardship proceedings in which she brought a motion for an order
that the father return the infant to her in Italy. She also prayed for restraint order against him from
taking the infant out of her care. Buckley, J. in these facts held thus:

         "So that even where a foreign court has made an order on the merits - which is not
         the present case, because the only order which has been made was a consent order
         without any investigation of the merits by the Italian court - that domestic court
         before whom the matter comes (the Ontario {1965} Ch.217 court in the case to which
         I have just referred, or this court in the case before me) is bound to consider what is
         in the best interests of the infant; and although the order of the foreign court will be
         attended to as one of the circumstances to be taken into account it is not conclusive
         one way or the other. How much stronger must the duty of this court be to entertain
         the case where the foreign court has not made any order based on any investigation
         of the case on its merits."

13. In re H. (Infants)5, the Court of Appeal was concerned with two American boys whose divorced
parents were both citizens of United States of America. On December 11, 1964, the Supreme Court of
New York State made a consent order directing that the two boys whose custody had been given to
the mother should be maintained in her apartment in New York and not be removed from a 50
miles' radius of Peekskill without the prior written consent of the father. However, the mother in

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                   7
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 80 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

March 1965 brought these boys to England and bought a house for herself and children in June
1965. On June 15, 1965, the New York Court ordered the children to be returned to New York. The
mother started wardship proceedings in the English court. The father took out motion asking the
mother that the two children should be delivered into his care, that he should be at liberty to convey
them to New York and that the wardship of the children should be discharged. The Trial Judge held
(1966) 1 W.L.R. 381 = (1966) 1 All.E.R. 886 that the justice of the case required the children to be
returned without delay to the jurisdiction of the New York court, so that the question of where and
with whom they should live might be decided as soon as possible by that court. The mother appealed
to the Court of Appeal. Willmer L.J. and Harman L.J. by their separate judgments affirmed the view
of the Trial Judge and held that the proper order was to send these two boys back to their State of
New York, where they belong (and where the Supreme Court is already seized of their case), and
more especially so having regard to the fact that they have been kept in flagrant contempt of New
York Court's order. Willmer L.J. agreed with the remark of Cross J. where he said:

         "The sudden and unauthorized removal of children from one country to another is far
         too frequent nowadays, and as it seems to me it is the duty of all courts in all
         countries to do all they can to ensure that the wrongdoer does not gain an advantage
         by his wrongdoing."

Willmer L.J. went on to hold:

         "The judge took the view (and I think it was the right view) that in a case such as the
         present it was not necessary to go into all the disputed questions between the
         parents, but that he ought to send these boys back to their own country to be dealt
         with by the court of their own country, provided that he was satisfied (as he was
         satisfied, having seen the father himself, and having had the benefit of the view
         expressed on behalf of the Official Solicitor) that they would come to no harm if the
         father took them back to the United States; and that this was so, even though it might
         subsequently turn out, after all the merits of the case had been thoroughly thrashed
         out in the court in New York, that it would perhaps be better after all for the boys to
         reside in England and see little or nothing of their father."

Harman L.J. in his separate judgment held thus:

         ".......But if he chose to take the course which the judge here took in the interests of
         the children , as he thought, of sending them back to the United States with no more
         inquiry into the matter than to ensure, so far as he could, that there was no danger to
         their moral or physical health in taking that course, I am of opinion that he was
         amply justified, and that that was the right way in which to approach the issue.

         These children had been the subject of an order (it is true made by consent) made in
         the courts of their own country in December, 1964. It was only three months later
         that the mother flouted that order, deceived her own advisers and deceived the court ,
         and brought the children here with the object of taking them right out of their father's

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                  8
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 81 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

         life and depriving him altogether of their society. The interval is so short that it seems
         to me that the court inevitably was bound to view the matter through those
         spectacles; that is to say, that the order having been made so shortly before, and there
         being no difference in the circumstances in the three months which had elapsed ,
         there was no justification for the course which the mother had taken, and that she
         was not entitled to seek to bolster her own wrong by seeking the assistance of this
         court in perpetuating that position, and seeking to change the situation to the father's
         disadvantage."

14. In re. L (minors)6, the Court of Appeal was concerned with the custody of the foreign children
who were removed from foreign jurisdiction by one parent. That was a case where a German
national domiciled and resident in Germany married an English woman. Their matrimonial home
(1974) 1 All ER 913 was Germany and the two children were born out of the wedlock and brought up
in Germany. The lady became unhappy in her married life and in August, 1972, she brought her
children to England with an intention of permanently establishing herself and the children in
England. She obtained residential employment in the school in England and the children were
accommodated at the school. The children not having returned to Germany, the father came to
England to find them. On October 25, 1972, the mother issued an originating summons making
them wards of court. The trial judge found that the children should be brought up by their mother
and treating the case as a `kidnapping' class of case, approached the matter by observing that in
such a case where the children were foreign children, who had moved in a foreign home, their life
should continue in what were their natural surroundings, unless it appeared to the court that it
would be harmful to the children if they were returned. He concluded that in view of the
arrangements which their father could make for them, the children would not be harmed by being
returned. He, accordingly, ordered that they be returned to Germany and that they remain in their
father's custody until further order. The mother appealed, contending that in every case the welfare
of the child was the first and paramount consideration and that the welfare of the children would be
best served by staying with their mother in England. Buckley, LJ in his detailed consideration of the
matter, wherein he referred to the aforenoticed decisions and few other decisions as well, held as
follows :

         ".......Where the court has embarked on a full-scale investigation of that facts, the
         applicable principles, in my view, do not differ from those which apply to any other
         wardship case. The action of one party in kidnapping the child is doubtless one of the
         circumstances to be taken into account, any may be a circumstance of great weight;
         the weight to be attributed to it must depend on the circumstances of the particular
         case. The court may conclude that notwithstanding the conduct of the `kidnapper'
         the child should remain in his or her care (McKee v. McKee, Re E (an infant) and Re.
         T.A. (infants), where the order was merely interim); or it may conclude that the child
         should be returned to his or her native country or the jurisdiction from which he or
         she has been removed. Where a court makes a summary order for the return of a
         child to a foreign country without investigating the merits, the same principles, in my
         judgment apply, but the decision must be justified on somewhat different grounds.



Indian Kanoon - http://indiankanoon.org/doc/376248/                                                   9
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 82 of 109
                                        V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

         ..............................................................................

...........The judge may well be persuaded that it would be better for the child that those merits should
be investigated in a court in his native country than that he should spend in this country the period
which must necessarily elapse before all the evidence can be assembled for adjudication here.
Anyone who has had experience of the exercise of this delicate jurisdiction knows what
complications can result from a child developing roots in new soil, and what conflicts this can
occasion in the child's own life. Such roots can grow rapidly. An order that the child should be
returned forthwith to the country from which he has been removed in the expectation that any
dispute about his custody will be satisfactorily resolved in the courts of that country may well be
regarded as being in the best interests of the child......"

15. In re. L. (minors)6, the Court of Appeal has made a distinction between cases, where the court
considers the facts and fully investigates the merits of a dispute, in a wardship matter in which the
welfare of the child concerned is not the only consideration but is the first and paramount
consideration, and cases where the court do not embark on a full-scale investigation of the facts and
make a summary order for the return of a child to a foreign country without investigating the merits.
In this regard, Buckley, L.J. noticed what was indicated by the Privy Council in McKee v. McKee2
that there may be cases in which it is proper for a court in one jurisdiction to make an order
directing that a child be returned to a foreign jurisdiction without investigating the merits of the
dispute relating to the care of the child on the ground that such an order is in the best interest of the
child.

16. This Court in Smt. Surinder Kaur Sandhu v. Harbax Singh Sandhu and Another7 was concerned
with the custody of a child-- British citizen by birth--to the parents of Indian citizens, who after
(1984) 3 SCC 698 their marriage settled in England. The child was removed by the husband from
the house when the wife was in the factory where she was working and brought him to India. The
wife obtained an order under Section 41(English) Supreme Court Act, 1981 whereby the husband
was directed to handover the custody of the boy to her. The said order was later on confirmed by the
High Court in England. The wife then came to India and filed a writ petition under Article 226 in the
High Court praying for production and custody of the child. The High Court dismissed her writ
petition against which the wife appealed before this Court. Y.V. Chandrachud, C.J. (as he then was)
speaking for the Court held thus :

         "The modern theory of Conflict of Laws recognises and, in any event, prefers the
         jurisdiction of the State which has the most intimate contact with the issues arising in
         the case. Jurisdiction is not attracted by the operation or creation of fortuitous
         circumstances such as the circumstance as to where the child, whose custody is in
         issue, is brought or for the time being lodged. To allow the assumption of jurisdiction
         by another State in such circumstances will only result in encouraging
         forum-shopping.

Ordinarily, jurisdiction must follow upon functional lines. That is to say, for example, that in
matters relating to matrimony and custody, the law of that place must govern which has the closest

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                    10
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 83 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

concern with the well-being of the spouses and the welfare of the offsprings of marriage. The
spouses in this case had made England their home where this boy was born to them. The father
cannot deprive the English Court of its jurisdiction to decide upon his custody by removing him to
India, not in the normal movement of the matrimonial home but, by an act which was gravely
detrimental to the peace of that home. The fact that the matrimonial home of the spouses was in
England, establishes sufficient contacts or ties with that State in order to make it reasonable and just
for the courts of that State to assume jurisdiction to enforce obligations which were incurred therein
by the spouses. (See International Shoe Company v. State of Washington which was not a
matrimonial case but which is regarded as the fountainhead of the subsequent developments of
jurisdictional issues like the one involved in the instant case.) It is our duty and function to protect
the wife against the burden of litigating in an inconvenient forum which she and her husband had
left voluntarily in order to make their living in England, where they gave birth to this unfortunate
boy."

17. In Mrs. Elizabeth Dinshaw v. Arvand M. Dinshaw and Another8, this Court held that it was the
duty of courts in all countries to see that a parent doing wrong by removing children out of the
country does not gain any advantage by his or her wrongdoing. In para 9 of the report, this Court
considered the decision of the Court of Appeal in re H.5 and approved the same in the following
words:

         "9. In Re H. (infants) [(1966) 1 All ER 886] the Court of Appeal in England had
         occasion to consider a somewhat similar question. That case concerned the abduction
         to England of two minor boys who were American citizens. The father was a natural-
         born American citizen and the mother, though of Scottish origin, had been resident
         for 20 years in the United States of America. They were divorced in 1953 by a decree
         in Mexico, which embodied provisions entrusting the custody of the two boys to the
         mother with liberal access to the father. By an amendment made in that order in
         December 1964, a provision was incorporated that the boys should reside at all times
         in the State of New York and should at all times be under the control and jurisdiction
         of the State of New York. In March 1965, the mother removed the boys to England,
         without having obtained the approval of the New York court, and without having
         consulted the father; she purchased a house in England with the intention of
         remaining there permanently and of cutting off all contacts with the father. She
         ignored an order made in June 1965, by the Supreme Court of New York State to
         return the boys there. On a motion on notice given by the father in the Chancery
         Division of the Court in England, the trial Judge Cross, J.

directed that since the children were American children and the (1987) 1 SCC 42 American court was
the proper court to decide the issue of custody, and as it was the duty of courts in all countries to see
that a parent doing wrong by removing children out of their country did not gain any advantage by
his or her wrongdoing, the court without going into the merits of the question as to where and with
whom the children should live, would order that the children should go back to America. In the
appeal filed against the said judgment in the Court of Appeal, Willmer, L.J. while dismissing the
appeal extracted with approval the following passage from the judgment of Cross, J. [(1965) 3 All ER

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                    11
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 84 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

at p. 912. (Ed. : Source of the second quoted para could not be traced.)]:

         "The sudden and unauthorised removal of children from one country to another is far
         too frequent nowadays, and as it seems to me, it is the duty of all courts in all
         countries to do all they can to ensure that the wrongdoer does not gain an advantage
         by his wrongdoing.

         The courts in all countries ought, as I see it, to be careful not to do anything to
         encourage this tendency. This substitution of self-help for due process of law in this
         field can only harm the interests of wards generally, and a Judge should, as I see it,
         pay regard to the orders of the proper foreign court unless he is satisfied beyond
         reasonable doubt that to do so would inflict serious harm on the child."

10. With respect we are in complete agreement with the aforesaid enunciation of the principles of
law to be applied by the courts in situations such as this."

18. In the case of Dhanwanti Joshi v. Madhav Unde9, this Court was again concerned with the
matter relating to removal of a child from one country to another contrary to custody order of the
court from where the child was removed. This court considered English decisions, inter alia, McKee
v. McKee2 and H. (infants), re.5 and also noticed the decision of this Court in Mrs. Elizabeth
Dinshaw8 and observed as follows :

(1998) 1 SCC 112 "28. The leading case in this behalf is the one rendered by the Privy Council in
1951, in McKee v. McKee [(1951) AC 352]. In that case, the parties, who were American citizens,
were married in USA in 1933 and lived there till December 1946. But they had separated in
December 1940. On 17-12-1941, a decree of divorce was passed in USA and custody of the child was
given to the father and later varied in favour of the mother. At that stage, the father took away the
child to Canada. In habeas corpus proceedings by the mother, though initially the decisions of lower
courts went against her, the Supreme Court of Canada gave her custody but the said Court held that
the father could not have the question of custody retried in Canada once the question was
adjudicated in favour of the mother in the USA earlier. On appeal to the Privy Council, Lord
Simonds held that in proceedings relating to custody before the Canadian Court, the welfare and
happiness of the infant was of paramount consideration and the order of a foreign court in USA as to
his custody can be given due weight in the circumstances of the case, but such an order of a foreign
court was only one of the facts which must be taken into consideration. It was further held that it
was the duty of the Canadian Court to form an independent judgment on the merits of the matter in
regard to the welfare of the child. The order of the foreign court in US would yield to the welfare of
the child. "Comity of courts demanded not its enforcement, but its grave consideration". This case
arising from Canada which lays down the law for Canada and U.K. has been consistently followed in
latter cases. This view was reiterated by the House of Lords in J v. C (1970 AC 668). This is the law
also in USA (see 24 American Jurisprudence, para 1001) and Australia. (See Khamis v. Khamis
[(1978) 4 Fam LR 410 (Full Court) (Aus)].




Indian Kanoon - http://indiankanoon.org/doc/376248/                                                 12
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 85 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

29. However, there is an apparent contradiction between the above view and the one expressed in H.
(infants), Re[(1966) 1 All ER 886] and in E. (an infant), Re [(1967) 1 All ER 881] to the effect that
the court in the country to which the child is removed will send back the child to the country from
which the child has been removed. This apparent conflict was explained and resolved by the Court of
Appeal in 1974 in L. (minors) (wardship : jurisdiction), Re [(1974) 1 All ER 913, CA] and in R.
(minors) (wardship : jurisdiction), Re [(1981) 2 FLR 416 (CA)]. It was held by the Court of Appeal in
L., Re [(1974) 1 All ER 913, CA] that the view in McKee v. McKee [1951 A.C. 352 : (1951) All ER 942]
is still the correct view and that the limited question which arose in the latter decisions was whether
the court in the country to which the child was removed could conduct (a) a summary inquiry or (b)
an elaborate inquiry on the question of custody. In the case of (a) a summary inquiry, the court
would return custody to the country from which the child was removed unless such return could be
shown to be harmful to the child. In the case of (b) an elaborate inquiry, the court could go into the
merits as to where the permanent welfare lay and ignore the order of the foreign court or treat the
fact of removal of the child from another country as only one of the circumstances. The crucial
question as to whether the Court (in the country to which the child is removed) would exercise the
summary or elaborate procedure is to be determined according to the child's welfare. The summary
jurisdiction to return the child is invoked, for example, if the child had been removed from its native
land and removed to another country where, maybe, his native language is not spoken, or the child
gets divorced from the social customs and contacts to which he has been accustomed, or if its
education in his native land is interrupted and the child is being subjected to a foreign system of
education, -- for these are all acts which could psychologically disturb the child. Again the summary
jurisdiction is exercised only if the court to which the child has been removed is moved promptly
and quickly, for in that event, the Judge may well be persuaded that it would be better for the child
that those merits should be investigated in a court in his native country on the expectation that an
early decision in the native country could be in the interests of the child before the child could
develop roots in the country to which he had been removed. Alternatively, the said court might think
of conducting an elaborate inquiry on merits and have regard to the other facts of the case and the
time that has lapsed after the removal of the child and consider if it would be in the interests of the
child not to have it returned to the country from which it had been removed. In that event, the
unauthorised removal of the child from the native country would not come in the way of the court in
the country to which the child has been removed, to ignore the removal and independently consider
whether the sending back of the child to its native country would be in the paramount interests of
the child. (See Rayden & Jackson, 15th Edn., 1988, pp. 1477-79; Bromley, Family law, 7th Edn.,
1987.) In R. (minors) (wardship : jurisdiction), Re [(1981) 2 FLR 416 (CA)] it has been firmly held
that the concept of forum conveniens has no place in wardship jurisdiction.

30. We may here state that this Court in Elizabeth Dinshaw v. Arvand M. Dinshaw [(1987) 1 SCC 42
: 1987 SCC (Crl.) 13] while dealing with a child removed by the father from USA contrary to the
custody orders of the US Court directed that the child be sent back to USA to the mother not only
because of the principle of comity but also because, on facts, -- which were independently
considered -- it was in the interests of the child to be sent back to the native State. There the removal
of the child by the father and the mother's application in India were within six months. In that
context, this Court referred to H. (infants), Re which case, as pointed out by us above has been
explained in L. Re as a case where the Court thought it fit to exercise its summary jurisdiction in the

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                    13
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 86 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

interests of the child. Be that as it may, the general principles laid down in McKee v. McKee and J v.
C and the distinction between summary and elaborate inquiries as stated in L. (infants), Re are
today well settled in UK, Canada, Australia and the USA. The same principles apply in our country.
Therefore nothing precludes the Indian courts from considering the question on merits, having
regard to the delay from 1984 -- even assuming that the earlier orders passed in India do not operate
as constructive res judicata."

However, in view of the fact that the child had lived with his mother in India for nearly twelve years,
this Court held that it would not exercise a summary jurisdiction to return the child to United States
of America on the ground that its removal from USA in 1984 was contrary to orders of U.S. Courts.
It was also held that whenever a question arises before a court pertaining to the custody of a minor
child, matter is to be decided not on considerations of the legal rights of the parties but on the sole
and predominant criterion of what would best serve the interest of the minor.

19. In the case of Sarita Sharma v. Sushil Sharma10, this Court was seized with a matter where the
mother had removed the children from U.S.A. despite the order of the American Court. It was held :

(2000) 3 SCC 14 "6. Therefore, it will not be proper to be guided entirely by the fact that the
appellant Sarita had removed the children from U.S.A. despite the order of the Court of that
country. So also, in view of the facts and circumstances of the case, the decree passed by the
American Court though a relevant factor, cannot override the consideration of welfare of the minor
children. We have already stated earlier that in U.S.A. respondent Sushil is staying along with his
mother aged about 80 years. There is no one else in the family. The respondent appears to be in the
habit of taking excessive alcohol. Though it is true that both the children have American citizenship
and there is a possibility that in U.S.A they may be able to get better education, it is doubtful if the
respondent will be in a position to take proper care of the children when they are so young. Out of
them, one is a female child. She is aged about 5 years. Ordinarily, a female child should be allowed
to remain with the mother so that she can be properly looked after. It is also not desirable that two
children are separated from each other. If a female child has to stay with the mother, it will be in the
interest of both the children that they both stay with the mother. Here in India also proper care of
the children is taken and they are at present studying in good schools. We have not found the
appellant wanting in taking proper care of the children. Both the children have a desire to stay with
the mother. At the same time it must be said that the son, who is elder then the daughter, has good
feelings for his father also. Considering all the aspects relating to the welfare of the children, we are
of the opinion that in spite of the order passed by the Court in U.S.A. it was not proper for the High
Court to have allowed the habeas corpus writ petition and directed the appellant to hand over
custody of the children to the respondent and permit him to take them away to U.S.A. What would
be in the interest of the children requires a full and thorough inquiry and, therefore, the High Court
should have directed the respondent to initiate appropriate proceedings in which such an inquiry
can be held. Still there is some possibility of the mother returning to U.S.A. in the interest of the
children. Therefore, we do not desire to say anything more regarding entitlement of the custody of
the children. The chances of the appellant returning to U.S.A. with the children would depend upon
the joint efforts of the appellant and the respondent to get the arrest warrant cancelled by explaining
to the Court in U.S.A. the circumstances under which she had left U.S.A. with the children without

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                    14
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 87 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

taking permission of the Court. There is a possibility that both of them may thereafter be able to
approach the Court which passed the decree to suitably modify the order with respect to the custody
of the children and visitation rights."

20. While dealing with a case of custody of a child removed by a parent from one country to another
in contravention to the orders of the court where the parties had set up their matrimonial home, the
court in the country to which child has been removed must first consider the question whether the
court could conduct an elaborate enquiry on the question of custody or by dealing with the matter
summarily order a parent to return custody of the child to the country from which the child was
removed and all aspects relating to child's welfare be investigated in a court in his own country.
Should the court take a view that an elaborate enquiry is necessary, obviously the court is bound to
consider the welfare and happiness of the child as the paramount consideration and go into all
relevant aspects of welfare of child including stability and security, loving and understanding care
and guidance and full development of the child's character, personality and talents. While doing so,
the order of a foreign court as to his custody may be given due weight; the weight and persuasive
effect of a foreign judgment must depend on the circumstances of each case. However, in a case
where the court decides to exercise its jurisdiction summarily to return the child to his own country,
keeping in view the jurisdiction of the Court in the native country which has the closest concern and
the most intimate contact with the issues arising in the case, the court may leave the aspects relating
to the welfare of the child to be investigated by the court in his own native country as that could be
in the best interest of the child. The indication given in McKee v. McKee2 that there may be cases in
which it is proper for a court in one jurisdiction to make an order directing that a child be returned
to a foreign jurisdiction without investigating the merits of the dispute relating to the care of the
child on the ground that such an order is in the best interest of the child has been explained in re. L
(minors)6 and the said view has been approved by this Court in Dhanwanti Joshi9. Similar view
taken by the Court of Appeal in re. H5 has been approved by this Court in Elizabeth Dinshaw8.

21. Do the facts and circumstances of the present case warrant an elaborate enquiry into the
question of custody of minor Adithya and should the parties be relegated to the said procedure
before appropriate forum in this country in this regard? In our judgment, this is not required.
Admittedly, Adithya is an American citizen, born and brought up in United States of America. He
has spent his initial years there. The natural habitat of Adithya is in United States of America. As a
matter of fact, keeping in view the welfare and happiness of the child and in his best interest, the
parties have obtained series of consent orders concerning his custody/parenting rights,
maintenance etc. from the competent courts of jurisdiction in America. Initially, on April 18, 2005, a
consent order governing the issues of custody and guardianship of minor Adithya was passed by the
New York State Supreme Court whereunder the court granted joint custody of the child to the
petitioner and respondent no. 6 and it was stipulated in the order to keep the other party informed
about the whereabouts of the child. In a separation agreement entered into between the parties on
July 28, 2005, the consent order dated April 18, 2005 regarding custody of minor son Adithya
continued. In September 8, 2005 order whereby the marriage between the petitioner and
respondent no. 6 was dissolved by the New York State Supreme Court, again the child custody order
dated April 18, 2005 was incorporated. Then the petitioner and respondent no. 6 agreed for
modification of the custody order and, accordingly, the Family Court of the State of New York on

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                  15
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 88 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

June 18, 2007 ordered that the parties shall share joint legal and physical custody of the minor
Adithya and, in this regard, a comprehensive arrangement in respect of the custody of the child has
been made. The fact that all orders concerning the custody of the minor child Adithya have been
passed by American courts by consent of the parties shows that the objections raised by respondent
no. 6 in counter affidavit about deprivation of basic rights of the child by the petitioner in the past;
failure of petitioner to give medication to the child; denial of education to the minor child;
deprivation of stable environment to the minor child; and child abuse are hollow and without any
substance. The objection raised by the respondent no. 6 in the counter affidavit that the American
courts which passed the order/decree had no jurisdiction and being inconsistent to Indian laws
cannot be executed in India also prima facie does not seem to have any merit since despite the fact
that the respondent no. 6 has been staying in India for more than two years, she has not pursued
any legal proceeding for the sole custody of the minor Adithya or for declaration that the orders
passed by the American courts concerning the custody of minor child Adithya are null and void and
without jurisdiction. Rather it transpires from the counter affidavit that initially respondent no. 6
initiated the proceedings under Guardianship and Wards Act but later on withdrew the same. The
facts and circumstances noticed above leave no manner of doubt that merely because the child has
been brought to India by respondent no. 6, the custody issue concerning minor child Adithya does
not deserve to be gone into by the courts in India and it would be in accord with principles of comity
as well as on facts to return the child back to the United States of America from where he has been
removed and enable the parties to establish the case before the courts in the native State of the child,
i.e. United States of America for modification of the existing custody orders. There is nothing on
record which may even remotely suggest that it would be harmful for the child to be returned to his
native country.

22. It is true that child Adithya has been in India for almost two years since he was removed by the
mother--respondent no. 6

--contrary to the custody orders of the U.S. court passed by consent of the parties. It is also true that
one of the factors to be kept in mind in exercise of summary jurisdiction in the interest of child is
that application for custody/return of the child is made promptly and quickly after the child has
been removed. This is so because any delay may result in child developing roots in the country to
which he has been removed. From the counter affidavit that has been filed by respondent no. 6, it is
apparent that in last two years child Adithya did not have education at one place. He has moved
from one school to another. He was admitted in school at Dehradun by respondent no. 6 but then
removed within few months. In the month of June, 2009, the child has been admitted in some
school at Chennai. As a matter of fact, the minor child Adithya and respondent no. 6 could not be
traced and their whereabouts could not be found for more than two years since the notice was issued
by this Court. The respondent no. 6 and the child has been moving from one State to another. The
parents of respondent no. 6 have filed an affidavit before this Court denying any knowledge or
awareness of the whereabouts of respondent no. 6 and minor child Adithya ever since they left in
September, 2007. In these circumstances, there has been no occasion for the child developing roots
in this country. Moreover, the present habeas corpus petition has been filed by the petitioner
promptly and without any delay, but since the respondent no. 6 has been moving from one State to
another and her whereabouts were not known, the notice could not be served and child could not be

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                    16
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 89 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

produced for more than two years.

23. In a case such as the present one, we are satisfied that return of minor Adithya to United States
of America, for the time being, from where he has been removed and brought here would be in the
best interest of the child and also such order is justified in view of the assurances given by the
petitioner that he would bear all the traveling expenses and make living arrangements for
respondent no. 6 in the United Sates of America till the necessary orders are passed by the
competent court; that the petitioner would comply with the custody/parenting rights as per consent
order dated June 18, 2007 till such time as the competent court in United States of America takes a
further decision; that the petitioner will request that the warrants against respondent no. 6 be
dropped; that the petitioner will not file or pursue any criminal charges for violation by respondent
no. 6 of the consent order in the United States of America and that if any application is filed by
respondent no. 6 in the competent court in United States of America, the petitioner shall cooperate
in expeditious hearing of such application. The petitioner has also stated that he has obtained
confirmation from Martha Hunt Elementary School, Murphy, Texas, 75094, that minor son Adithya
will be admitted to school forthwith.

24. The learned Senior Counsel for respondent no. 6 sought to raise an objection regarding the
maintainability of habeas corpus petition under Article 32 of the Constitution before this Court but
we are not persuaded to accept the same. Suffice it to say that in the peculiar facts and
circumstances of the case which have already been noticed above and the order that we intend to
pass, invocation of jurisdiction of this Court under Article 32 cannot be said to be inappropriate.

25. We record our appreciation for the work done by the concerned officers/officials of CBI in
tracing the minor child Adithya and producing him in less than two months of the order passed by
this Court, although, the Police Officers and Officials of different States failed in tracing the child
Adithya and respondent no. 6 for more than two years. But for the earnest efforts on the part of the
CBI authorities, it would not have been possible for this Court to hear and decide this habeas corpus
petition involving the sensitive issue concerning a child of seven years who is a foreign national.

26. In the result and for the reasons stated, we pass the following order :

         (i) The respondent no. 6 shall act as per the consent order dated June 18, 2007
         passed by the Family Court of the State of New York till such time any further order is
         passed on the petition that may be moved by the parties henceforth and, accordingly,
         she will take the child Adithya of her own to the United States of America within
         fifteen days from today and report to that court.

(ii) The petitioner shall bear all the traveling expenses of the respondent no. 6 and minor child
Adithya and make arrangements for the residence of respondent no. 6 in the United States of
America till further orders are passed by the competent court.

(iii) The petitioner shall request the authorities that the warrants against respondent no. 6 be
dropped. He shall not file or pursue any criminal charges for violation by respondent no. 6 of the

Indian Kanoon - http://indiankanoon.org/doc/376248/                                                  17
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 90 of 109
                                   V.Ravi Chandran vs Union Of India & Ors on 17 November, 2009

consent order in the United States of America.

(iv) The respondent no. 6 shall furnish her address and contact number in India to the CBI
authorities and also inform them in advance the date and flight details of her departure along with
child Adithya for United States of America.

(v) In the event of respondent no. 6 not taking the child Adithya of her own to United States of
America within fifteen days from today, child Adithya with his passport shall be restored to the
custody of the petitioner to be taken to United States of America. The child will be a ward of the
concerned court that passed the consent order dated June 18, 2007. It will be open to respondent
no. 6 to move that court for a review of the custody of the child, if so advised.

                 (vi)        The parties shall bear their own costs.




                                                                                               ..................
                            ......J                                                       (Tarun Chatterjee)

                                                                                                  ...................
                                                                                                                .....J
                                                                                                  (R. M. Lodha)



                                                                                     ........................J
                                                                                    (Dr. B.S. Chauhan)



         New Delhi
         November 17, 2009.




Indian Kanoon - http://indiankanoon.org/doc/376248/                                                                      18
Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 91 of 109
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 92 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

Supreme Court of India
United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002
Bench: D.P. Mohapatra, Brijesh Kumar
                    CASE NO.:
         Appeal (civil) 3655-58 of 2002

         PETITIONER:
         UNITED INDIA INSURANCE CO. LTD. ETC. ETC.

         RESPONDENT:
         PATRICA JEAN MAHAJAN AND ORS. ETC. ETC.

         DATE OF JUDGMENT: 08/07/2002

         BENCH:
         D.P. MOHAPATRA & BRIJESH KUMAR

         JUDGMENT:


JUDGMENT 2002 (3) SCR 1176 The Judgment of the Court was delivered by BRIJESH KUMAR, J.
Leave granted.

The above noted four appeals arise out of the proceedings before the Motor Accident Claims
Tribunal Tis Hazari, Delhi in Suit No. 325 of 1995. Since in all the appeals the judgment and order
passed by the Division Bench of Delhi High Court has been challenged and the matters relate to the
same accident, all these appeals have been heard together and they are being disposed of by this
order.

The brief facts are that Dr. Suresh K. Mahajan aged 47-48 years a medical graduate went to America
and established himself in the medical profession and became an American National. He established
his own hospital in Michigan, U.S.A. He was on visit to India and on February 3, 1995 while
proceeding to Jaipur from Delhi in a Maruti Car No. DL-4CB-1926 belonging to one of the two
brothers travelling with him, a truck No. HR-29D-1125 hit the rear part of the Maruti Car. Dr.
Mahajan was sitting on the back seat was injured and succumbed to his injuries. The Dependants of
Dr. Suresh K. Mahajan filed a petition under Section 166 of the Motor Vehicles Act for compensation
on account of death of Dr. Mahajan. According to the claimants Dr. Mahajan had specialized in the
field of Nephrology and had set up his good practice and a hospital in Michigan U.S.A. According to
the claimants, income of the deceased was progressively increasing every year out of his practice and
the hospital and in the year 1994 his income was to the tune of 9 lacs US dollars. At the time of his
death Dr. Suresh K. Mahajan left behind his wife Patrica Jean Mahajan, two daughters, a son and
his parents residing in Delhi. According to the claimants, he was providing good education to his
children and had also been sending a sum of Rs. 8,000 to his parents in Delhi. A compensation for a
sum of Rs. 54 crores was claimed.

The Motor Accidents Claims Tribunal, after appreciation of the evidence and the material on the
record and on detailed discussion therefore, recorded the finding that Dr. Mahajan received injuries
and died because of the rash and negligent driving of the Troller No. HR 29-D-1125. So far the

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  1
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 93 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

amount of compensation is concerned, the Tribunal came to the conclusion that the carry home
income of the deceased was 3,09204 US Dollars. Out of which, 2/3rd amount was set apart on
account of self expenses of the deceased and 1/3rd amount was held to be the amount of dependency
which came to 1,03068 US Dollars. A multiplier of 7 was applied to arrive at the figure of
compensation, the amount came to 7,21,476 US Dollars, out of which deduction on account of
benefits of social security system/LIC was deducted which included an amount of 2,50,000 US
Dollars received by the claimants on account of personal life insurance of Dr. Mahajan. The other
amounts paid to Mrs. Mahajan and two of her children on account of social security coming to a sum
of 51,300 US Dollars were also deducted. The Tribunal deducted a total amount of 3,22,900 dollars.
Applying the exchange rate of Rs. 30 a sum of Rs. 1.19 crores was awarded with interest at the rate of
12% from the date of filing of the petition up to the date of payment, the total amount thus come to
about Rs. 1.62 crores.

The claimants approached the High Court in appeal. The learned Single Judge found that carry
home income of the deceased was 3,39,445 US Dollars and out of the said amount, l/3rd of it
instead of 2/3rd was liable to be deducted on account of self expenditure of the deceased, the
amount of dependency thus, was fixed at 226297 US dollars. The learned Single Judge applied the
multiplier of 10 and disallowed any deductions on account of social security system. The same rate
of interest was maintained as awarded but the rate of exchange at Rs. 47/- was applied being the
current rate as then prevailing. The total amount of compensation thus arrived at, came to Rs. 10.38
crores. The FAO No. 273 of 1998 preferred by the claimants was thus allowed in the manner
indicated above. And the appeal preferred by the United India Insurance company Ltd. FAO No.
366 of 1998 was dismissed with an observation that there was no scope to disturb the finding of the
Tribunal on the question of negligence of offending troller/driver. The parties preferred three
Letters Patent Appeals before the Division Bench, which have been decided by the judgment and
order dated 17.10.2001. The LPA No. 179 of 2001, preferred by Patrica Mahajan, and LPA No. 225 of
2001 and 236 of 2001 had been filed by the United Insurance Company Ltd. challenging the amount
of compensation as awarded by the learned Single Judge and also the order upholding the finding of
rash and negligent driving on the part of driver of the troller. By means of impugned judgment, the
Division Bench maintained the order passed by the learned Single Judge but for application of
multiplier and the exchange rate. In so far it related to exchange rate of Dollar, the Division Bench
observed that it was a closed chapter since the amount awarded by the Tribunal at the exchange rate
of Rs. 30 was withdrawn by the claimants and the exchange rate of Rs. 47 as awarded by the Single
Judge was disallowed. The Division Bench applied the mutiplier of 13 according to second schedule
to the Act referable to Section 163A of the Act. It was found that there was no reason not to follow
the schedule which has been held by the Supreme Court to be safe guide to arrive at the amount of
just compensation. In the result, the total amount i.e. principal with interest came to about Rs. 16.12
crores.

The above noted appeals have been filed against the judgment of the Division Bench, the United
Insurance Company Ltd. raising a grievance against application of multiplier of 13 and disallowance
of deduction on account of social security system. They also feel aggrieved by award of interest at the
rate of 12% per annum. In one of the appeals preferred by the United India Insurance Company the
finding of rash and negligent driving on the part of driver of the troller has also been sought to be

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  2
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 94 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

challenged. In the appeal preferred by the claimants, conversion rate of Dollar in terms of Rupees
has been asked @ Rs. 47 as was awarded by the learned Single Judge.

We may first take up the question of application of appropriate multiplier in the facts and
circumstances of this case. The multiplier of 13, has been applied by the Division Bench of the High
Court strictly following the Second Schedule to the Act referable to Section 163A of the Act. The
Petition was filed by the claimant for award of compensation under Section 166 of the Motor
Vehicles Act. Before adverting to the case law on the point cited by the learned counsel for both the
sides, it may be beneficial to peruse the two provisions indicated above. Section 163A as inserted by
Act 54 of 1994 w.e.f. 14.11.1994 reads as under:-

"163A. Special Provisions as to payment of compensation on structured formula basis.-(1)
Notwithstanding anything contained in this Act or in any other law for the time being in force or
instrument having the force of law, the owner of the motor vehicle of the authorised insurer shall be
liable to pay in the case of death or permanent disablement due to accident arising out of the use of
motor vehicle, compensation, an indicated in the Second Schedule, to the legal heirs or the victim, as
the case may be.

Explanation.-For the purposes of this sub-section, "permanent disability" shall have the same
meaning and extent as in the Workmen's Compensation Act, 1923 (8 of the 1923).

(2) In any claim for compensation under sub-section (1), the claimant shall not be required to plead
or establish that the death or permanent disablement in respect of which the claim has been made
was due to any wrongful act or neglect or default of the owner of the vehicle/ or vehicles concerned
or of any other person.

(3) The Central Government may, keeping in view the cost of living by notification in the Official
Gazette, from time to time amend the Second Schedule."

The noticeable features of this provision are that it provides for compensation in the case of death or
permanent disablement due to accident arising out of use of Motor Vehicle. The amount of
compensation would be as indicated in the Second Schedule. The claimant is not required to plead
or establish that the death or permanent disablement was due to any wrongful act or negligence or
default of the owner of the vehicle or any other person. Award of compensation according to
Schedule under this provision is also known as structured formula.

Section 166 reads as under:-

"Application for compensation-(1) An application for compensation arising out of an accident of the
nature specified in sub-section (1) of section 165 may be made-

         (a)        by the person who has sustained the injury; or

         (b)        by the owner of the property; or



Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  3
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 95 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

         (c)    where death has resulted from the accident, by all or any of the
         legal representatives of the deceased; or

         (d)        by any agent duly authorised by the person injured or all or any of


the legal representatives of the deceased, as the case may be;

Provided that where all the legal representatives of the deceased have not joined in any such
application for compensation, the application shall be made on behalf of or for the benefit of all the
legal representatives of the deceased and the legal representatives who have not so joined shall be
impleaded as respondents to the application.

(2) Every application under sub-section (1) shall be made, at the option of the claimant, either to the
Claims Tribunal having jurisdiction over the area in which the accident occurred or to the Claims
Tribunal within the local limits of whose jurisdiction the claimant resides or carries on business or
within the local limits of whose jurisdiction the defendant resides, and shall be in such form and
contain such particulars as may be prescribed:

Provided that where no claim for compensation under section 140 is made in such application, the
application shall contain a separate statement to that effect immediately before the signature of the
applicant.

(4) The claims Tribunal shall treat any report of accidents forwarded to it under sub-section (6) of
section 158 as an application for compensation under this Act.

It would also be necessary to peruse sub-Section 1 of Section 165 which reads as under:-

165. Claims Tribunals.-(1) A State Government may, by notification in the Official Gazette,
constitute one or more Motor Accidents Claims Tribunals (hereafter in this Chapter referred to as
Claims Tribunal) for such area as may be specified in the notification for the purpose of adjudicating
upon claims for compensation in respect of accidents involving the death of or bodily injury to,
persons arising out of the use of motor vehicles, or damages to any property of a third party so
arising, or both.

Explanation.-For the removal of doubts, it is hereby declared that the expression "claims for
compensation in respect of accidents involving the death of or bodily injury to persons arising out of
the use of motor vehicles" includes claims for compensation under Section 140 and section 163A."

From the provisions quoted above, it is clear that a claim under Section 166 covers cases of all kinds
of bodily injuries or damage to the property of third party or both. Under the explanation to
sub-Section 1 of Section 165 it has been indicated that the provision includes the claims for
compensation under Section 140 and Section 163A but it is nowhere provided that the amount of
compensation is to be assessed or calculated according to the second Schedule. On the other hand,
Section 168 provides the key leading to determination of amount of compensation under Section 166
of the Act. The relevant part of Section 168 reads as under:-

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  4
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 96 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

"168. Award of the Claims Tribunal.-On receipt of an application for compensation made under
section 166, the Claims Tribunal shall, after giving notice of the application to the insurer and after
giving the parties (including the insurer) an opportunity if being heard, hold an inquiry into the
claims or as the case may be, each of the claims and, subject to the provisions of section 162 may
make an award an award determining the amount of compensation which appears to it to be just
and specifying the person or persons to whom compensation shall be paid and in making the award
the Claims Tribunal shall specify the amount which shall be paid by the insurer of owner or driver of
the vehicle involved in the accident or by all or any of them, as the case may be;

Provided that where such application makes a claims of compensation under section 140 in respect
of the death or permanent disablement of any person, such claim and any other claim (whether
made in such application or otherwise) for compensation in respect of such death or permanent
disablement shall be disposed of in accordance with the provisions of Chapter X.

(2) The Claims Tribunal shall arrange shall arrange to deliver copies of the award to the parties
concerned expeditiously and in any case within a period of fifteen days from the date of the award.

(3) When an award is made under this section. The person who is required to pay any amount in
terms of such award shall, within thirty days of the date of announcing the award by the Claims
Tribunal, deposit the entire amount awarded in such manner as the Claims Tribunal may direct."

It thus makes it clear that it is for the Tribunal to arrive at an amount of compensation which it may
consider to be just in the facts and circumstances of the case. This Court however has been of the
view that structured formula as provided under the Second Schedule would be a safe guide to
calculate the amount of just compensation. Deviation though permissible may only be resorted to
for some special reasons to do so. So far structured formula is concerned, it provides for a maximum
multiplier of 18. The application of the multiplier depends upon the age of the deceased, age of his
dependants, number of his dependents, the amount of dependency etc. Again we find that the
structured formula relates to victim whose income is up to a sum of Rs. 40,000 per annum. It may
be clarified that in the present case, it is not in dispute that the multiplier method, which is accepted
and prevalent method, would be applicable and has been applied. The question of setting apart l/3rd
of the income on account of expenditure on the self by the deceased is also not in dispute, i.e. to say
that the amount of multiplicand shall be the 2/3rd of annual income of the deceased. The annual
income of the deceased, as found by the learned Single Judge and the Division Bench namely
$3,39445 is also not in dispute, nor the amount of dependency 2,26297 US Dollars. The only dispute
is about application of 13 as multiplier as applied by a Division Bench of the High Court following
the Second Schedule to the Act.

We may refer to the decision reported in [1994] 2 SCC 176 General Manager, Kerala State Road
Transport Corporation, Trivandrum v. Susamma Thomas (Mrs.) and Ors.

In this case while considering the law on the subject, it was observed in para 13 of the report as
follows:-



Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  5
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 97 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

"The choice of the multiplier is determined by the age of the deceased (or that of the claimants
whichever is higher) and by the calculation as to what capital sum, if invested at a rate of interest
appropriate to a stable economy, would yield the multiplicand by way of annual interest. In
ascertaining this, regard should also be had to the fact that ultimately the capital sum should also be
consumed up over the period for which the dependency is expected to last."

It was reiterated in para 16 that the multiplier method is logically sound and legally well established
as compared to other methods indicated in the other decisions in which different methods of
computation was applied. It was observed that those cases cannot be said to have laid any principle
of computation of compensation. The Court then further observes as follows:-

"The proper method of computation is the multiplier method. Any departure except in exceptional
and extraordinary, cases, would introduce inconsistency of principle, lack of uniformity and an
element of unpredictability for the assessment of compensation. Some judgments of the High Courts
have justified a departure from the multiplier method on the ground that Section 110-B of the Motor
Vehicles Act, 1939 in so far as it envisages the compensation to be just, the statutory determination
of a just compensation would unshackle the exercise from any rigid formula. It must be borne in
mind that the multiplier method is the accepted method of ensuring a just compensation which, will
make for uniformity and certainty of the awards. We disapprove these decisions of the High Courts,
which have taken a contrary view. We indicate that the multiplier method is the appropriate
method, a departure from which can only be justified in rare and extraordinary circumstances and
very exceptional cases."

In another decision reported in [1996] 4 SCC page 362 UP State Road Transport Corporation and
Ors. v. Trilok Chand and Ors., the view taken in the case of Susamma Thomas (supra) has been
reiterated. It has been held that in the case of Susamma Thomas maximum multiplier which could
be applied was found to be 16 which according to this case can now be up to 18, in view of the
Second Schedule. This part of the judgment has also been particularly relied upon by the learned
counsel for the claimants. The Court has also agreed with the observations made in the case of
Susamma Thomas that there should be no departure from the multiplier method, particularly on the
ground of awarding just compensation, as it was provided under Section 110B of the Motor Vehicles
Act 1939 corresponding to the present Section 168 of the Motor Vehicles Act 1988. It is further
observed that multiplier method is accepted method for determining just compensation, which also
brings about uniformity and certainty of award. In paragraph 18 it has however, been observed
about Second Schedule that neither the Tribunals nor the Court can go by the ready recknor, it can
only be used as guide. The Court has emphasized that in no case a multiplier should exceed 18 years
purchase factor. It is however, observed as follows:-

"It can only be used as a guide. Besides the selection of multiplier, cannot in all cases be solely
dependent on the age of the deceased. For example, if the deceased, a bachelor, dies at the age of 45
and his dependents are his parents, age of the parents would also be relevant in the choice of
mutiplier." (emphasis supplied) What thus emerge from the above decisions is that the Court must
adhere to the system of multiplier in arriving at the proper amount of compensation, and also with a
view to maintain uniformity and certainty. Use of higher multiplier has been depricated and it is

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  6
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 98 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

emphasized that it can not exceed

18. The multiplier, as would be evident from the observations quoted earlier, may differ in the
peculiar facts and circumstances of a particular case as according to the example cited where
bachelor dies at the age of 45, the age of his dependent parents may be relevant for selecting a
proper multiplier. Meaning thereby that a multiplier less than what is provided in the schedule
could be applied in special facts and circumstances of a case. In the later cases also this Court has
taken the same view that multiplier system is more appropriate and proper method for calculating
the amount of compensation. [2001] 8 SCC 197 Lata Wadhwa and Ors. v. Stale of Bihar and Ors.
may be referred to. Decision in the case of Sushamma Thomas (supra) and other English decision
considered in the judgments referred earlier namely, Devis v. Tailor (1997) AC 207, Devis v. Paul
Duffryn Associated Limited. 1942 (1) All Er. 657 (HL). Malleett v. Me Monagle (1970) AC 166 have
been referred to.

In Jyoti Kaul and Ors. v. State of Madhya Pradesh, JT (2000) 7 SC page 367 this Court again
referring, to the decision in the case of Susamma Thomas (supra) reiterated that multiplier system
should be applied for the purposes of calculation of amount of compensation. It has also been
observed that the question as to what mutiplier should be applied would depend upon various facts
and circumstances of the case, hence the multiplier may change to some degree.

In the case in hand it is amply clear that it is not the case of any party that proper method of
computing the amount of compensation, namely the multiplier method has not been applied. We
have already seen that in the decisions referred to, in the earlier part of this judgment it is clearly
stated that except in very rare cases, multiplier system should not be deviated from. The other
methods, which were in vogue prior to introduction of multiplier system have been held to be no
more good system. The choice of multiplier may differ to some degree as observed in the case of
Jyoti Kaul (supra) depending upon various facts and circumstances of the case. Though, normally
the multiplier as indicated in 2nd schedule should be applied as it is as found to be a safe guide for
the purpose of calculation of amount of compensation. The Tribunal had applied the mutiplier of 7,
which obviously was very low. While applying the mutiplier of 7, the Tribunal has observed that it
had taken into consideration the age of the deceased and the yield, which, would have come by way
of interest on the amount of compensation. The Tribunal though had also discussed that the two
daughters of the deceased were age of 19 and 17 years and the age of son was 13 years, parents of the
deceased were 69/ 73 years. The Tribunal was of the view that period of dependency may not be
long for the children. Then in consideration of the fact that amount awarded by applying multiplier
of 7 would yield an interest of about 87,000 US Dollars if invested at the rate of 12% per annum. The
learned Single Judge of the High Court considering the age of the deceased and his dependants and
the provisions of the Second Schedule and the decision of this Court in the case of Trilok Chand
(supra) took the view that the application of mutiplier of 10 would be appropriate in the present
case. The Division Bench in appeal has laid much stress on the fact that according to the decision in
Susamma Thomas and Trilok Chand (supra) there should not be any deviation in the method of
working out the amount of compensation applying multiplier method. There is nothing wrong in the
statement of above propositions as indicated by the Division Bench. Different method can be
resorted to only in rare and exceptional cases but the learned Single Judge had applied only

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  7
       Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 99 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

mutiplier method and none-else, however looking to the facts and circumstances of the case, applied
the multiplier of 10 instead of 13 as provided for the victims of the age group of deceased as in this
case between 45 to 50 years. It is true as also noticed by the High Court that the 2nd Schedule
should be taken as a guide, but it does not mean that no deviation in the figure of mutiplier itself,
would be permissible in any case whatsoever. Normally, Second Schedule may provide a guide for
application of multiplier but for valid and proper reasons, different mutiplier can be applied, indeed
not exceeding 18 in any case on the upper side. As indicated in the case of Susamma Thomas (supra)
itself the Court gave an example of a situation where the age of the victim may be 45 years, but who
may be a bachelor with his parents alone as dependents, obviously, meaning thereby that lesser
mutiplier could be applied in such a case. By applying a mutiplier other than the scheduled
multiplier does not mean that any method other than multiplier method has been applied. For some
special reasons some deviation from the scheduled multiplier can be made.

In the present case we find that the parents of the deceased were 69/ 73 years. Two daughters were
aged 17 and 19 years. Main question, which strikes to us in this case is that in the given
circumstances the amount of multiplicant also assumes relevance. The total amount of dependency
as found by the learned Single Judge and also rightly upheld by the Division Bench comes to 226297
Dollars. Applying multiplier of 10, the amount with interest and the conversion rate of Rs. 47 comes
to Rs. 10.38 crores and with multiplier of 13 at the conversion rate of Rs. 30 the amount came to Rs.
16.12 crores with interest. These amounts are huge indeed. Looking to the Indian economy, fiscal
and financial situation, the amount is certainly a fabulous amount though in the background of
American conditions it may not be so. Therefore, where there is so much of disparity in the
economic conditions and affluence of the two places viz. the place to which the victim belongs and
the place where the compensation is to be paid, a golden balance must be struck somewhere, to
arrive at a reasonable and fair mesne. Looking by the Indian standards they may not be much too
overcompensated and similarly not very much under compensated as well, in the background of the
country where most of the dependent beneficiaries reside. Two of the dependants namely, parents
aged 69/73 years live in India, but four of them are in the United States. Shri Soli J. Sorabjee
submitted that the amount of multiplicand shall surely be relevant and in case it is a high amount, a
lower mulitplier can appropriately be applied. We find force in this submission. Considering all the
facts and factors as indicated above, to us it appears that application of multiplier of 7 is definitely
on the lower side. Some deviation in the figure of multiplier would not mean that there may be a
wide difference between the multiplier applied and the scheduled multiplier which in this case is 13.
The difference between 7 and 13 is too wide. As observed earlier, looking to the high amount of
multiplicand and the ages of the dependants and the fact that parents are residing in India in our
view application of multiplier of 10 would be reasonable and would provide a fair compensation i.e.
purchase factor of 10 years, We accordingly hold that multiplier of 10 as applied by the learned
Single Judge should be restored instead of multiplier of 13 as applied by the Division Bench, We find
no force in the submission made on behalf of the claimants that in no circumstances the amount of
multiplicand would be a relevant consideration for application of appropriate multiplier. We have
already given our reasons in the discussion held above.

The court can not be totally oblivion to the realities. The 2nd Schedule while prescribing the
multiplier, had maximum income of Rs. 40,000 p.a. in mind , but it is considered to be a safe guide

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  8
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 100 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

for applying prescribed multiplier in cases of higher income also but in cases where the gap in
income is so wide as in the present case income is 2,26,297$, in such a situation, it can not be said
that some deviation in the multiplier, would be impermissible. Therefore, a deviation from applying
the multiplier as provided in the 2nd Schedule may have to be made in this case. Apart from factors
indicated earlier the amount of multiplicand also becomes a factor to be taken into account which in
this case comes to 226297$ that is to say an amount of around Rs. 68 lacs per annum by converting
it at the rate of Rs .30. By Indian standards it is certainly a high amount. Therefore, for the purposes
of fair compensation, a lesser multiplier can be applied to a heavy amount of multiplicand. A
deviation would be reasonably permissible in figure of multiplier even according to the observations
made in the case of Susamma Thomas where a specific example was given about a person dying at
the age of 45 leaving no heirs being a bachelor except his parents.

The purpose to compensate the dependants of the victims is that they may not be suddenly deprived
of source of their maintenance and as far as possible they may be provided with the means as were
available to them before the accident took place. It will be just and fair compensation, But in cases
where the amount of compensation may go much higher than the amount providing the same
amenities, comforts and facilities and also the way of life, in such circumstances also it may be a case
where, while applying the multiplier system, the lesser multiplier may be applied. In such cases
amount of multiplicand becomes relevant. The intention is not to over compensate.

We therefore hold that ordinarily while awarding comprehension, the provisions contained in the
Second Schedule may be taken as a guide including the multiplier, but there may arise some cases,
as one in hand, which may fall in the category having special feature or facts calling for deviation
from the multiplier usually applicable.

Now we come to the next point raised by Mr. Soli J. Sorabjee, learned senior counsel appearing on
behalf of the Insurance Company, about deductions, from the amount of compensation as received
by the claimants on account of social security system. In this connection. It has been submitted that
admittedly, the claimants had received 2,50,000 Dollars on account of life insurance policy of the
deceased. Apart from that, Patricia Mahajan had also received unemployment allowance for a period
of 8 and 9 months as well as two children out of the three. It may be noted here that the Tribunal
had deducted the said amount, but it was disallowed by the learned Single Judge and upheld by the
Division Bench.

Mr. Soli J. Sorabji submitted that while assessing the amount of compensation, the benefits which
have accrued to the claimants by reason of death must also be taken into account. A kind of
balancing of losses and the gains or benefit by reason of death would be necessary. In support of the
above contention he has referred to a decision reported in [1962] 1 SCR 929 Gobald Motors Service
Limited v. R.M.K. Veluswami and Ors. It is a decision by three judges Bench of this Court, and at
page 938 the observations made by the House of Lords in Davies v. Powell Duffryn Associated
Collieries Ltd., (1942 AC page 601) has been quoted which reads as follows:-

"The general rule which has always prevailed in regard to the assessment of damages under the fatal
Accidents Acts is well settled, namely, that any benefit accruing to a dependant by reason of the

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  9
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 101 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

relevant death must be taken into account. Under those Acts the balance of loss and gain to a
dependant by the death must be ascertained, the position of each dependant being considered
separately."

To further elaborate the above proposition, observations made by Lord Wright in Devies case
(supra) have also been quoted. It reads as follows:-

"The damages are to be based on the reasonable expectation of pecuniary benefit of benefit
reducible to money value. In assessing the damages all circumstances which may be legitimately
placed in diminution of the damages must be considered. The actual pecuniary loss of each
individual entitled to sue can only be ascertained by balancing, on the one hand, the loss to him of
the future pecuniary benefit, and on the other, any pecuniary advantage which from whatever source
comes to him by reason of the death"

The learned counsel laid stress on the last part of observation made to the effect that - for the
purposes of balancing losses and gains any pecuniary advantage which from whatever source come
to them , has to be considered.

It is submitted in Gobald's case the principle of Devies case was referred and taken into
consideration. Reliance has also been placed on a decision reported in [1971] 1 SCC page 785 M\s
Shekhupura Transport Co. Ltd. v. Northern India Transport Company particularly to the
observations made by the Court in paragraph 6 of judgment where the principle in the case of
Gobalds Motors, (supra) has been reiterated. In this connection learned counsel for the Insurance
Company has also drawn our attention to the decision in the case of Susamma thomas, (supra)
particularly on paragraph 8 of the report, where it is observed that the principle in the case of Devies
v. Powell was adopted, in the case of Gobald Motors (supra) It is thus submitted that principle of
balancing of loss and gains, so as to arrive at a just and fair amount of compensation has been
accepted by this court as well, On behalf of the Insurance company 1988 (3) All ER. 870 Hodgson v.
Trapp and Anr. has been relied in which our attention has particularly been drawn to the following
observations made at page 873.

"...........the basic rule is that it is the net consequential loss and expense which the Court must
measure, it, in consequence of the injuries sustained, the plaintiff has enjoyed receipts to which he
would not otherwise have been entitled, prima facie, those receipts are to be set against the
aggregate of the plaintiff's losses and expenses in arriving at the measure of his damages. All this is
elementary and has been said over and over again. To this basic rule there are of course, certain well
established, though not always precisely defined and delineated, exceptions. But the Courts are, I
think, sometimes in danger, in seeking to explore the rationale of the exceptions, of forgetting that
they are exceptions. It is the rule which is fundamental and axiomatic and exceptions to it which are
only to be admitted on grounds which clearly justify their treatment as such"

From the above passage it is clear that the deductions are admissible from the amount of
compensation in case the claimant receives the benefit as a consequence of injuries sustained, which
otherwise he would not have been entitled to. It does not cover cases where the payment received is

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  10
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 102 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

not dependent upon an injury sustained on meeting with an accident. The other observation to
which our attention has been drawn at Page 876 plassitam F also does not help the contention
raised on behalf of the Insurance Company for deduction of amounts in the present case. The Court
was considering a situation where due to the injuries received the victim was claiming cost of care
necessary in future in respect of which statutory provision, provided for attendant's allowance. It
was found that the statutory benefit and the damages claimed were designed to meet the identical
expenses. This is however not so at least not shown, to be so in the case in hand.

Shri Soli J. Sorabjee has also made references from ALR Digests under the heading Damages, From
American Law Report 84 ALR2d. In some cases, depending upon the provisions of the Act, it was
held that the amount of compensation for death by wrongful act should not be diminished on receipt
of social security benefit. In general, such payments have been regarded as being in the same
category as amount paid to a surviving beneficiary on a life or casualty insurance policy or as a
pension, which, it is well settled, are not to be considered in mitigating all damages sustained as a
result of tortious death. (It is extracted from page 765 with reference to 16 Am Jur, Death $$ 222
and 223). In some cases a different view was taken by the American Courts. But it all depended
upon the terms of the provisions of the policies.

A reference was also made to the report of the Royal Commission on civil liability and compensation
for personal injury under the Chairmanship of Lord Pearson Volume-1 At pages 106 and 107 it
recommended for taking into account the benefits which may be deducted from the amount of
damages payable to the claimants. At page 109 it has recommended as follows:-

"Benefits to be offset-

481-We agree with the principle in the 1948 Acts that the benefits deducted should be limited to
those payable to the plaintiff as a result of injury for which damages are awarded. In practice, this
means that such benefits as state retirement pensions, child benefits and maternity benefits should
be disregarded.

482-We recommend that the full value of social security benefits payable to an injured person or his
dependents as a result of an injury for which damages are awarded should be deducted in
assessment of damages."

And at page 118 under para 537 our attention has also been drawn to a passage which reads as
under:-

"537. Under the present law in England, Wales and Northern Ireland, pecuniary benefits derived by
a dependent of a deceased person from his estate are taken into account in assessing damages under
the Fatal Accidents Acts. Usually, any deduction is unimportant because, if the sum would have
been paid to the plaintiff in any event in the future (for example, under a will), it is not deducted in
full. Instead, an allowance may be made for accelerated payment and certainty of receipt. Nor does
the rule apply to payments under a life insurance policy or to the use of a home or property. A full
deduction is, however, made where the dependant receives a sum awarded to the estate of the

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  11
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 103 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

deceased for non pecuniary loss." A perusal of the recommendations of the Royal Commission
headed by Lord Pearson as referred to and relied upon on behalf of the Insurance Company also
does not indicate that, all kinds of receipts or benefits as may be payable to the claimants from
whatever source and under whatever statutory provisions have to be deducted. The
recommendations made specific mention about non deductibility of amount of pension the benefit
on account of Life Insurance. Child benefit and maternity benefit etc. !t is also specifically provided
under para 482 quoted above that the recommendation is for deducting full value of social security
benefits payable as a result of injury for which damages are awarded. That is to say benefits not
related to the injury are not to be taken into account for deductions.

A reference to Mac Grager on damages 16 Edition has also been made in relation to deduction of
social security benefits. Our attention is drawn to page 1065 paragraph 1628 and paragraph 642 at
page 1071 where reference of the decision in Hodgson case (supra) has been made. It is stated that
unless receipts fell within one of the very few exceptions to the basic rules, all benefits received as a
result of injuries should now be deductible in order to achieve the proper compensation, and not
over compensation of the plaintiff. It is further observed that payments by way of social security are
not exceptional for these purposes according to the Hodgson's case.

Shri Soli J. Sorabjee, learned senior counsel also referred to Encyclopedia America page 186(1).
There seems to be social security Act 1935 in force in America, providing for different kinds of social
security. It is also indicated how the social security fund is constituted and utilized for payments
under the social security of unemployed, dependent children, to the needy aged and to the disabled
people etc. Tax is also realizable contributing into social security fund.

Shri P.P. Rao, learned senior counsel appearing for the claimants has submitted that only such
amount received on account of social security can be deducted, which becomes payable by reason of
death by accident and not otherwise. We find force in the submissions of the learned counsel on this
score. It is further submitted that the unemployment allowance or other such social security benefit
under the social security Act etc. are not necessarily dependent upon the accidental death of the
bread earner. Such allowances are payable otherwise even though the victim may not have died and
may be still alive. Therefore, such payments which are unconnected and unrelated with the event of
an accident resulting in injury or death, have to be disregarded for the purposes of deduction from
the amount of damages. He has also referred to some American decisions one of them is 230 S.O.
2(d)(1) 1968 Flaapp Lexis 5073 Marc A. O'NEAL........Appeal No. H-303. The Court of Appeals
Florida first Districts the opinion of judge Carrol was countered by the other judges and the Chief
Justice. He has drawn our attention to the following observation:

"Stated broadly the general Rule founded upon decisional law as well as logic and justice seems to be
that a dependent can not reduce the damages for which there was otherwise be liable by showing
that the plaintiff received compensation from a Collateral source such as benefits received from
welfare and pension funds."

Learned senior counsel appearing on behalf of the claimants also submits that the High Court has
rightly placed reliance upon a decision of this Court reported in [ 1999] 1 SCC page 90 Helen

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  12
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 104 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

Rebellos' case. It is further submitted that this Court has rightly made a distinction between the
claims under the Fatal Accidents Act and the Motor Vehicles Act. Both parties have relied upon and
referred to the above decision. The main question for consideration of the Court was in respect to
the amount of Life Insurance as to whether the same was to be deducted from the amount of
compensation payable to the claimants or not.

Shri P.P. Rao, learned counsel appearing for the claimants submitted that the scope of the
provisions relating to award of compensation under the Motor Vehicles Act is wider as compared to
the provisions of the Fatal Accident Acts, it is further indicated that the Gobald's case (supra) is a
case under the Fatal Accident Acts. For the above contention he has relied upon the observation
made in the Rebello's case. It has also been submitted that only such benefits, which accrued to the
claimants by reason of death, occurred due to an accident and not otherwise, can be deducted. Apart
from drawing distinction between the scope of provisions of the two Acts namely, Motor Vehicles
Act and the Fatal Accident Act, this Court in the Helen Rebello's case accepted the argument that
amount of insurance policies would be payable to the insured, the death may be accidental or
otherwise, and even where the death may not occur the amount will be payable on its maturity. The
insured chooses to have insurance policy and he keeps on paying the premium for the same, during
all the time till maturity or his death. It has been held that such a pecuniary benefit by reason of
death would not be such as may be deductible from the amount of compensation.

It may be useful to quote paragraph 33 of the decision which reads as under:-

"Thus it would not include that which the claimant receives on account of other forms of deaths,
which he would have received even apart from accidental death. Thus, such pecuniary advantage
would have no correlation to the accidental death for which compensation is computed. Any amount
received or receivable not only on account of the accidental death but that which would have come
to the claimant even otherwise, could not be construed to be the "pecuniary advantage" liable for
deduction. However, where the employer insures his employee, as against injury or death arising out
of an accident, any amount received out of such insurance on the happening of such incident may be
an amount liable for deduction. However, our legislature has taken note of such contingency
through the proviso of Section 95. Under it the liability of the insurer is excluded in respect of injury
or death, arising out of and in the course of employment of an employee."

The Court has observed in the last part of the para 34:-

"How can an amount of loss and gains of all one contract be made applicable to the loss and gain of
an other contract."

Similarly, how an amount receivable under a statute has any co-relation with an amount earned by
an individual. Principle of loss and gain has to be on the same line within the same sphere, of
course, subject to the contract to the contrary or any provisions of law. The court has further
referred to receipts of Provident Fund which is a deferred payment out of contribution made by an
employee during tenure of his service Such an amount is payable irrespective of accidental death of
the employee. The same is the position relating to family pension. There is no co-relation between

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  13
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 105 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

the compensation payable on account of accidental death and the amounts receivable irrespective of
such accidental death which otherwise in the normal course one would be entitled to receive. This
Court for taking the above view has also referred to certain English decisions as discussed in
paragraph 18 of the judgment.

We are in full agreement with the observations made in the case of Helen Rebello (supra) that
principle of balancing between losses and gains, by reason of death, to arrive at amount of
compensation is a general rule, but what is more important is that such receipts by the claimants
must have some co-relation with the accidental death by reason of which alone the claimants have
received the amounts. We do not think it would be necessary for us to go into the question of
distinction made between the provisions of the Fatal Accident Act and the Motor Vehicles Act.
According to the decisions referred to in the earlier part of this Judgment, it is clear that amount on
account of social security as may have been received must have nexus or relation with the accidental
injury or death, so far to be deductible from the amount of compensation. There must be some
co-relation between the amount received and the accidental death or it may be in the same sphere,
absence the amount received shall not be deducted from the amount of compensation. Thus the
amount received on account of insurance policy of the deceased cannot be deducted from the
amount of compensation though no doubt the receipt of the insurance amount is accelerated due to
pre-mature death of the insured. So far other items in respect of which learned counsel for the
Insurance Company has vehemently urged for example some allowance paid to the children, and
Mrs. Patricia Mahajan under the social security system no co-relation of those receipts with the
accidental death has been shown much less established. Apart from the fact that contribution comes
from different sources for constituting the fund out of which, payment on account of social security
system is made one of the constituent of fund is tax which is deducted from income for the purpose.
We feel that the High Court has rightly disallowed any deduction on account of receipts under the
Insurance Policy and other receipts under social security system which the claimant would have also
other wise entitled to receive irrespective of accidental death of Dr. Mahajan. If the proposition
"receipts from whatever source" is interpreted so widely that it may cover all the receipts, which may
come into the hands of the claimants, in view of the mere death of the victim, it would only defeat
the purpose of the Act providing for just compensation on account of accidental death. Such gains
may be on account of savings or other investment etc. made by the deceased would not go to the
benefit of wrong doer and the claimant should not be left worse of, if he had never taken an
Insurance Policy or had not made investments for future returns.

We therefore, do not allow any deduction as pressed by the Insurance Company an account of
receipts of Insurance Policy and social security benefits received by the claimants.

We may now pass on to the next question of rate of interest payable on the amount of compensation.
It has been awarded at the rate of 12%.

Learned senior counsel for the respondent Shri P.P. Rao took an objection that the question relating
to rate interest was not under challenge before the High Court. He has referred to the observations
made by the Division Bench in its judgment to the effect "in any case, the rate of interest is not in
dispute before us". Thereafter it is observed that the Tribunal had awarded interest @ 12% per

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  14
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 106 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

annum which was maintained by the learned Single Judge. Consequently, the Division Bench also
did not think it appropriate to interfere with the award of interest @ 12% per annum. It is however
refuted by the learned for the Insurance Company that the rate of interest was not in dispute. The
learned counsel for the respondent has however submitted that the factual position as recorded by
the Court that the rate of interest was not in dispute before the Court, should not be allowed to be
disputed and it should be treated conclusive of the fact that the rate of interest was not is dispute
before the Division Bench. He has in support of his contention referred to decisions of this Court,
reported in [1982] 2 SCC 463; State of Maharashtra v. Ramdas Shrinivas Nayak and Anr. and [1992]
Supp. 1 SCC; Apar (P) Ltd. and Am. v. Union of India and Ors. in which it has been held that
concession made by a party and an observation made to that effect in the judgment, cannot be
allowed to be denied. Only the Court which recorded the statement itself was competent to rectify
the error if the Court recording the statement was approached to consider the matter without delay.
The position as indicated in the above-noted decisions is undoubtedly correct and cannot be
doubted. But in certain cases where a stray remark or observation made by the Court which is not
very clear and is vague, and a different picture emerges from other part of judgment it may be open
for this Court to ascertain the correct position on the basis of totality of the observations made in the
judgment itself. In that light we may see the observations of the Division Bench in its judgment. It is
nowhere indicated that the counsel appearing for the Insurance Company had made any statement
conceding the rate of interest nor it is indicated how the concession was made. Then the observation
that the "rate of interest was not in dispute before the Court" may only lead to an inference that the
rate of interest was not disputed before the Court in the arguments advanced on behalf of the party
concerned. But we, on the other hand, find that, on behalf of the Insurance Company, the learned
counsel had cited the decisions to indicate that the lower rate of interest was awarded in certain
decisions, which had been relied upon by him. This is enough to indicate that the rate of interest was
actually disputed. More than one case, a reference of which has been made in the judgment of the
Division Bench itself, has been relied upon by the counsel for the Insurance Company for reducing
the rate of interest. The Division Bench in its judgment observed as follows:

"It has, however, also been brought to our notice that in A. Roverl v. United Insurance Co. Ltd.,
[1999] 8 SCC 228 the Supreme Court awarded interest at 6% from the date of the application till
actual payment to the claimant. In Kanshnuma Begum (Smt.) and Ors v. United Insurance Co. Ltd.,
[2001] 2 SCC 9 this Court awarded interest at the rate of 9% per annum."

Thereafter the observations made in the case of Kanshnuma Begum (Supra) have been quoted. After
so much of discussion on the point of rate of interest and after mentioning the decisions relied upon
by both the sides on their part, it could not be said that rate of interest was not in dispute before the
Court. As indicated earlier the observation is not indicated to have been made in reference to any
statement of the counsel for the party nor it comes out that the respective parties may not have
advanced arguments for maintaining the rate of interest as awarded and the other party for reducing
the rate of interest. In the light of the position indicated above, we do not think it will be possible to
shut out the Insurance Company from urging before us that lesser rate of interest should have been
awarded in place of 12% as awarded by the High Court. Before us also, learned counsel for the
Insurance Company has referred the decision of this Court reported in [1999] 8 SCC 226-A Robert v.
Insurance Company Limited to indicate that interest at the rate 6% was awarded in that case.

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  15
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 107 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

Another case cited awarding 6% interest is reported in 2001 ACC 540, particularly paragraph 34 has
been referred [1970] All ER 1202 Jefford and Anr. v. Gee has also been referred to indicate that the
amount awarded is on account of loss of future earnings whereas the interest is payable on being
kept out of the money. It is therefore submitted that the interest may not be payable on the loss of
future earning. Another decision which has been referred to is reported in [1995] 1 SCC 551-R.D.
Hattangadi v. Pest Control (India) Pvt. Ltd. and Ors. more particularly Para 18 of the judgment
where it has been held that no interest is awardable on the amount of future expenditure. It is
further observed: "It need not be pointed out that interest is to be paid over the amount which has
become payable on the date of award and not which is to be paid for expenditures to be incurred in
future" But it is not indicated by the learned counsel for the appellant Insurance Company as to
which is that amount out of the amount awarded which is on account of future expenditure yet to be
incurred by the claimants. The interest is to be awarded on the amount which is payable on the date
of the award. It is also to be noted that in some cases interest at the rate of 6% was awarded. This
case however does not help the appellant Insurance Company. The next case which has been cited is
reported in [2001] 2 SCC 9 Kaushnuma Begum (Smt.) and Ors. v. New India Assurance Company
Ltd. In this case interest at the rate of 9% was awarded. The reason indicated in Paragraph 24 of the
Judgment, we quote hereunder:

"Now, we have to fix up the rate of interest. Section 171 of the MV Act empowers the Tribunal to
direct that "in addition to the amount of compensation simple interest shall also be paid at such rate
and from such date not earlier than the date of making the claims as may be specified in this behalf.
Earlier, 12% was found to be the reasonable rate of simple interest. With a change in economy and
the policy of Reserve Bank of India the interest rate has been lowered. The nationalized banks are
now granting interest at the rate of 9% on fixed deposit for one year. We, therefore, direct that the
compensation amount fixed hereinbefore shall bear interest at the rate of 9% per annum from the
date of the claim made by the appellants."

In our view the reason indicated in the case of Kaushnuma Begum (supra) is a valid reason and it
may be noticed that the rate of interest is already on the decline. We therefore, reduce the rate of
interest to 9% in place of 12% as awarded by the High Court.

The next point which remains to be considered is in relation to the exchange rate of the Dollar in
Rupee. The Motor Accident Claims Tribunal allowed the exchange rate of the Dollar at Rs. 30. The
learned Single Judge allowed it at the then current rate of Rs. 47. The Division Bench restored the
exchange rate at Rs. 30 observing that the matter was closed since the claimants had withdrawn the
amount as awarded by the Tribunal and the matter was now on the second stage relating to
enhanced amount of compensation. Shri P.P. Rao, learned senior counsel appearing for the
appellants has vehemently urged that it is only the current rate which should be allowed since the
value of the Rupee has fallen in exchange of Dollar after the application for claim was made and
award was given. Therefore, the amount of Rupees as arrived at the change rate of Rs. 47 should be
allowed. In connection with this submission about rate of conversion, a reference to a case reported
in 1984 Supp SCC 263-Oil and Natural Gas Commission v. Forasal has been made. This Court held
that rate of conversion as on the date of passing of the decree should be taken on the basis of which
conversion should be allowed. We however find that the facts in that case are different. According to

Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  16
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 108 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

the contract itself, a part of the payment was to be made in French currency. The question then
arose as to what rate of conversion should be allowed. The Court was of the view that there would be
three relevant dates for the purpose, namely, the date on which the amount became payable, the
date of the filing of the suit and the date of the judgment and it was further held that it would be
fairer to both the parties to take the latest of these dates, namely, the date of passing the decree as
the relevant date for applying the conversion rate. In the present case since the deceased was an
American citizen, settled there and income accrued to him in America in terms of Dollars, details of
income etc. have been given in Dollars but so far the prayer for passing a decree is concerned, it was
for a sum indicated in Rupees which figure was arrived at by the claimants applying Rs. 30 as the
conversion rate. Therefore, in the present case there is no such dispute as to what rate of conversion
was to be applied. As a matter of fact, whatever rate may have been applied by claimants, the fact
remains that the decree in terms of Rupees specified for a sum of Rs. 54 crores was prayed for. In
terms of the prayer whatever amount in rupee was found to be payable to the claimants was decreed.
In the present case the exchange rate of Dollar against Rupee was relevant for the purpose of
arriving at a fair assessment of the loss of the dependency of the claimants at the relevant time. In
such a situation we are of the view that no such question as in the case of Oil and Natural Gas
Commission (supra) is involved. The decree was for a definite sum it terms of Rupees, a part of
which was found admissible which amount was decreed. There is no occasion to convert the amount
of decree in Rupees into Dollars applying Rs. 30 as rate of conversion and then re- convert it in
Rupees at the rate of Rs. 47 The claimants cannot ask for more than what was prayed for in the
claim petition. We are therefore not inclined to accede to the request made for calculation of the
amount of award at the conversion rate of Rs. 47.

Shri T.R. Rajagopalan, learned senior counsel appearing for the Insurance Company in SLP (c)
20874/2001 preferred on the question of rash and negligent driving against the driver of the Trailer
advanced some arguments but we do not think that the finding of fact recorded by the Courts of fact
namely the Motor Accident Claims Tribunal and upheld by the learned Single Judge as well as the
Division Bench can be re-opened to re-assess the evidence on the point.

In view of the discussion held above, we partly allow the appeals of the Insurance Company (SLP c
Nos. 20875 and 21858/2001) and set aside the part of the judgment of the Division Bench of the
High Court by which it applied the multiplier of 13 in accordance with 2nd Schedule of the Motor
Vehicles Act. We restore the order of the learned Single Judge to the extent it applied the multiplier
of 10. The amount of compensation shall be calculated and be payable accordingly. So far rate of
interest on the enhanced amount is concerned, we set aside the order passed by the High Court
awarding interest at the rate of 12% per annum and we reduce it to 9% per annum. The appeal of the
Insurance Company challenging the award against the finding of negligence (S.L.P. c 20874/2001)
on the part of the driver of the Troller is dismissed. So far the appeal of the claimants (SLP c No.
22304/2001) for applying the conversion rate at Rs. 47 is concerned, it is dismissed and the order
passed by the Division Bench for applying conversion rate at Rs. 30 is upheld. The appeal for
allowing the deduction on account of receipt of the sums received by the claimants on social security
system is dismissed and the order passed by the High Court dis- allowing any deduction is upheld.




Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  17
      Case 1:20-cv-01237-NBF Document 17 Filed 05/26/21 Page 109 of 109
                      United India Insurance Co. Ltd. ... vs Patrica Jean Mahajan And Ors. Etc. ... on 8 July, 2002

The Motor Accident Claims Tribunal Tis Hazari, Delhi shall calculate the amount of compensation
in accordance with the Judgment passed above that is to say it shall take the dependency amount as
$ 226297 and shall apply the multiplier of 10. The conversion rate shall be @ Rs. 30. The amount
shall bear interest @ 9% per annum as awarded instead of 12%.

Parties to bear their own costs.




Indian Kanoon - http://indiankanoon.org/doc/1259215/                                                                  18
